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                                                                  Page 1
                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


        -------------------------------- §
        IN RE: XARELTO (RIVAROXABAN)     § MDL NO. 2592
        PRODUCTS LIABILITY LITIGATION    §
                                         § SECTION L
        THIS DOCUMENT RELATES TO:        §
        -------------------------------- § JUDGE ELDON E. FALLON
                                         §
        Dora Mingo V. Janssen Research & § MAG. JUDGE NORTH
        Development, et al.,             §
                                         §
        Civil Case No. 2:15-cv-03469     §
        -------------------------------- §



         ** PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW **


                                      - - -
                         Thursday, February 16, 2017
                                      - - -


                 Videotaped deposition of RANDY ROTH, M.D.,
            held at Hilton Garden Inn, 2703 Denny Avenue,
            Pascagoula, Mississippi, commencing at 3:58 p.m.,
            on the above date, before Susan D. Wasilewski,
            Registered Professional Reporter, Certified
            Realtime Reporter, Certified Realtime Captioner.




                                      - - -
                          GOLKOW TECHNOLOGIES, INC.
                      877.370.3377 ph | 917.591.5672 fax
                               deps@golkow.com




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                                                              Page 2                                                    Page 4
   1   APPEARANCES:                                                     1               EXHIBITS
   2                                                                    2            (Attached to transcript)
        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
   3    BY: JOSEPH G. VANZANDT, ESQUIRE
                                                                        3    ROTH DEPOSITION EXHIBITS                     PAGE
        218 Commerce Street                                             4   Exhibit 7 Article: Point-of-Care Warfarin   29
   4    Montgomery, Alabama 36104                                                   Monitoring in the ROCKET AF Trial
        (334) 269-2343                                                  5
   5    joseph.vanzandt@beasleyallen.com                                    Exhibit 8 ICMJE Forms for Disclosure of          30
        Representing Plaintiffs
   6                                                                    6           Potential Conflicts of Interest
   7                                                                    7   Exhibit 9 Article: Rivaroxaban versus       32
        SCHWABE, WILLIAMSON & WYATT                                                 Warfarin in Nonvalvular Atrial
   8    BY: MARGARET HOFFMANN, ESQUIRE                                  8           Fibrillation
        1211 SW 5TH Avenue, Suite 1900                                              Manesh R. Patel, MD
   9    Portland, Oregon 97204
        (503) 222-9981                                                  9
  10    mhoffmann@schwabe.com                                               Exhibit 10 Article: Rivaroxaban - Once daily, 34
        Representing Defendants Janssen and                            10           oral, direct factor Xa inhibition
  11    Johnson & Johnson                                                           Compared with vitamin K antagonism
  12                                                                   11           for prevention of stroke and
  13    IRWIN, FRITCHIE, URQUHART & MOORE, LLC
        BY: CLAIRE NOONAN, ESQUIRE                                                  Embolism Trial in Atrial
  14    400 Poydras Street, Suite 2700                                 12           Fibrillation: Rationale and Design
        New Orleans, Louisiana 70130                                                of the ROCKET AF study
  15    (504) 310-2146                                                 13           The Executive Steering Committee, on
        cnoonan@irwinllc.com                                                        behalf of ROCKET AF Study
  16    Representing Defendants Janssen and
        Johnson & Johnson                                              14           Investigators
  17                                                                   15   Exhibit 11 Xarelto Prescribing Information    91
  18                                                                                Initial US Approval: 2011
        MITCHELL WILLIAMS SELIG GATES & WOODYARD, PLLC                 16
  19    BY: ADRIA W. CONKLIN, ESQUIRE                                  17
        425 West Capitol Avenue, Suite 1800
  20    Little Rock, Arkansas 72201                                    18
        (501) 688-8869                                                 19
  21    aconklin@mwlaw.com                                             20
        Representing Defendant Bayer                                   21
  22
  23
                                                                       22
       ALSO PRESENT:                                                   23
  24                                                                   24
  25    MELISSA BARDWELL, Videographer                                 25


                                                              Page 3                                                    Page 5
   1                 ---                                                1                  ---
   2                INDEX
   3                 ---                                                2        THE VIDEOGRAPHER: We are now on the record.
   4   Testimony of: RANDY ROTH, M.D.   PAGE                            3     My name is Melissa Bardwell, videographer, here for
   5    DIRECT EXAMINATION BY MR. VANZANDT............. 6
   6                                                                    4     Golkow Technologies. The date today is February
   7                                                                    5     16th, 2017 the time is approximately 3:58 p.m.
                   EXHIBITS
   8                                                                    6        This videotaped deposition is being held in
   9
       ROTH DEPOSITION EXHIBITS                             PAGE
                                                                        7     Pascagoula, Mississippi, in reference to the
  10                                                                    8     Xarelto (Rivaroxaban) Products Liability
       Exhibit 1 Plaintiffs' Notice with Subpoena       8
  11           Duces Tecum of Oral Videotaped
                                                                        9     Litigation.
               Deposition of Randy Roth, MD                            10        The deponent today is Randy Roth, MD.
  12
       Exhibit 2 Responses and Objections to            8              11        Would counsel present please introduce
  13           Plaintiff's Notice with Subpoena                        12     themselves and state their affiliations for the
               Duces Tecum of Oral Videotaped
  14           Deposition of Randy Roth, MD                            13     record.
  15   Exhibit 3 2/13/2017 Invoice                  9                  14        MR. VANZANDT: Joseph VanZandt for plaintiff
               Randy C. Roth, MD
  16                                                                   15     Dora Mingo.
       Exhibit 4 12/12/2016 Invoice              9
  17           Randy C. Roth, MD
                                                                       16        MS. HOFFMANN: Margaret Hoffmann for the
  18   Exhibit 5 Expert Report of Randy C. Roth, MD,         12        17     Janssen defendants.
               FHM
  19                                                                   18        MS. CONKLIN: Adrian Conklin for Defendant
       Exhibit 6 Efficacy and safety of rivaroxaban     25             19     Bayer.
  20           in patients with diabetes and
               nonvalvular atrial fibrillation:                        20        MS. NOONAN: Claire Noonan for the Janssen
  21           The Rivaroxaban Once-daily, Oral,                       21     defendants.
               Direct Factor Xa Inhibition Compared
  22           with Vitamin K Antagonism for                           22        THE VIDEOGRAPHER: The court reporter today is
               Prevention of Stroke and Embolism                       23     Susan Wasilewski and she will now swear in the
  23           Trial in Atrial Fibrillation (ROCKET
               AF Trial)                                               24     witness.
  24           Sameer Bansilal, MD
  25
                                                                       25        THE COURT REPORTER: Would you raise your


                                                                                              2 (Pages 2 to 5)
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   1      right hand?                                            1   assumed that if you answer a question, that you
   2         Do you solemnly swear or affirm the testimony       2   understand the question; is that fair?
   3      you're about to give will be the truth, the whole      3     A. Yes, sir. Yes, sir.
   4      truth, and nothing but the truth?                      4     Q. Okay.
   5         THE WITNESS: Yes, ma'am, I do.                      5         (Roth Exhibit 1 was marked for
   6         THE COURT REPORTER: Thank you.                      6   identification.)
   7         RANDY ROTH, M.D., called as a witness by the        7   BY MR. VANZANDT:
   8   Plaintiffs, having been duly sworn, testified as          8     Q. Doctor, I'm going to hand you what I'm marking
   9   follows:                                                  9   as Exhibit Number 1 to your deposition. This is a
  10                DIRECT EXAMINATION                          10   copy of the notice to your deposition.
  11   BY MR. VANZANDT:                                         11         MS. HOFFMANN: We'll mark as Exhibit 2 the
  12      Q. Good afternoon, Doctor. Would you please           12     objections to the document request that's attached
  13   state your name?                                         13     to it.
  14      A. Randy Roth, R-o-t-h.                               14         (Roth Exhibit 2 was marked for
  15      Q. Okay. We met briefly off the record but I          15   identification.)
  16   will reintroduce myself. My name is Joseph VanZandt.     16   BY MR. VANZANDT:
  17   I'm one of the lawyers for Ms. Dora Mingo, and do you    17     Q. Doctor, have you ever seen that document
  18   understand that you've been identified as an expert      18   before today?
  19   witness on behalf of one of the defendants in this       19     A. I don't think so.
  20   litigation?                                              20     Q. Okay. If you could, turn to page 2 of the
  21      A. Yes, sir.                                          21   notice for me.
  22      Q. Okay. And we're here today to take your            22         Page 2 is labeled as Plaintiff Exhibit A.
  23   deposition. Do you understand that?                      23   Have you ever seen this document before today?
  24      A. Yes, sir.                                          24     A. No, sir.
  25      Q. Okay. And you understand that you're under         25     Q. Doctor, did you bring any documents with you


                                                 Page 7                                                        Page 9
   1   oath today?                                               1   to the deposition today?
   2     A. Yes, sir.                                            2     A. Not related to this. This is medical stuff
   3     Q. All right. Have you ever given a deposition          3   from a previous patient.
   4   before?                                                   4        MS. HOFFMANN: But let the record reflect
   5     A. One or two probably six, seven, eight, nine          5     we've provided invoices to plaintiffs' counsel.
   6   years ago, but none in the last four or five years.       6        (Roth Exhibit 3 was marked for
   7     Q. Okay. All right. Well, I'll walk through             7   identification.)
   8   just some of the ground rules --                          8        (Roth Exhibit 4 was marked for
   9     A. Sure.                                                9   identification.)
  10     Q. -- for depositions and if you have any              10   BY MR. VANZANDT:
  11   questions, you can certainly let me know.                11     Q. Doctor, I'm going to mark -- I'm going to mark
  12         First off, we were told before we started that     12   as Exhibit 3 and 4 two invoices that Counsel handed me
  13   you have a patient that, you know, may need your         13   right before the deposition, if you could review those
  14   attention, so if your phone rings, feel free to let us   14   documents.
  15   know at any time and, obviously, you can step outside    15     A. Yes, sir.
  16   and take care of that.                                   16     Q. Okay. Are those invoices that you have
  17     A. Thank you.                                          17   prepared in relation to your work in this case?
  18     Q. If you need to take a break at any other time,      18     A. They are.
  19   just let us know. I would just ask that we answer        19     Q. Okay. And let's look at the first invoice,
  20   whatever question we're on at the time before --         20   Exhibit 3. Is that the one with the total of $6,000?
  21     A. Sure.                                               21     A. That's one of them, right. That's 3.
  22     Q. -- before we take a break. If I ask a               22     Q. Okay. Exhibit 3, could you go over and
  23   question that you do not understand, please let me       23   basically tell me what work this invoice covers?
  24   know and I will rephrase that question however I best    24     A. Six hours of chart review, which is mainly the
  25   can so that you could understand it, but it will be      25   medical record of your client. It also included the


                                                                                      3 (Pages 6 to 9)
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   1   depositions of the plaintiff, the gastroenterologist,     1   until today, this is consistent.
   2   the hospitalist.                                          2     Q. Okay. And you will -- do you plan on
   3        We had a phone conference concerning this            3   submitting an additional invoice after the deposition
   4   right around New Year's Eve and I met with Counsel two    4   today?
   5   times at our hospital to discuss that, and then I         5     A. Not right after the deposition for sure.
   6   spent some time looking at some product PIs that were     6     Q. Right. But you will at some point after the
   7   provided.                                                 7   deposition?
   8     Q. Okay. And does Exhibit 3 represent any of the        8     A. Yes, sir.
   9   time you spent preparing your expert report in this       9     Q. Okay. And what is -- the work that you did
  10   case?                                                    10   prior to the deposition, what was your hourly rate for
  11     A. No.                                                 11   that work?
  12     Q. Okay. And does it include any time for your         12     A. For what work?
  13   deposition here today?                                   13     Q. All the work that you did prior to today.
  14     A. No, sir.                                            14     A. It says here $500.
  15     Q. Okay. All right. If we look at Exhibit 4,           15     Q. $500. Okay. And what is your hourly rate for
  16   the total of that invoice is $8,250. Does this           16   today for testifying?
  17   invoice reflect the time that you spent preparing your   17     A. It's whatever I provided to them when they
  18   report in this case?                                     18   engaged me. I don't know the number, to be honest
  19     A. Yes.                                                19   with you.
  20     Q. Okay. And what's the total amount of time           20     Q. Okay.
  21   that you spent preparing your report?                    21         (Roth Exhibit 5 was marked for
  22     A. Probably two hours, hour and a half, two            22   identification.)
  23   hours.                                                   23   BY MR. VANZANDT:
  24     Q. Okay. What indication on the invoice here           24     Q. Doctor, I'm handing you what I've marked as
  25   does it indicate -- in which part of that is you         25   Exhibit 5. Could you identify that document for the


                                               Page 11                                                       Page 13
   1   preparing your report in this case?                       1   record?
   2     A. I probably included that with the review of          2     A. This is the document that I worked on, put
   3   the medical records. I probably should have separated     3   together, with some qualifications and a very brief
   4   them out, but that's probably what that is.               4   report of my findings of the case.
   5     Q. Okay. And so you're saying that it took you          5     Q. Okay. And on the first page of Exhibit 5, is
   6   approximately two hours to prepare your report that       6   that your signature?
   7   you've provided in this case?                             7     A. Yes, sir.
   8     A. That's the expert report, correct, yes, sir.         8     Q. And what's the date there beside your
   9     Q. Yes, sir. Okay. And these two invoices, do           9   signature?
  10   these invoices represent all the work that you've done   10     A. It's bad handwriting. I assume it's 12/5.
  11   on this case up until today?                             11     Q. Okay. And is that the day that you signed
  12     A. Yes, sir.                                           12   this document?
  13     Q. Okay.                                               13     A. To the best of my recollection, yes, sir.
  14        THE WITNESS: Up until today?                        14     Q. Okay. And have you made any amendments or
  15        MS. HOFFMANN: Do you have unbilled time?            15   changes to your report since that date?
  16        THE WITNESS: If I do, it's not much.                16     A. No, sir.
  17        MS. HOFFMANN: Okay.                                 17     Q. All right. If you could, let's turn to the
  18        MR. VANZANDT: Okay.                                 18   very last page of your report. This is labeled in
  19        THE WITNESS: I mean, maybe --                       19   your report as Exhibit B to your report. Do you see
  20        MS. HOFFMANN: I'm sorry. I just wanted it to        20   that?
  21     be clear.                                              21     A. Yes, sir.
  22        MR. VANZANDT: Oh, that's fine. No, I                22     Q. Could you identify what that page -- what that
  23     appreciate it.                                         23   page is or shows?
  24     A. No, no. Up until today, I mean, I may have          24     A. It shows what I reviewed prior to today.
  25   spent 30 minutes last night looking at something, but    25     Q. Okay. Are there any other documents or


                                                                                 4 (Pages 10 to 13)
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   1   materials that you have reviewed in your work in this     1         MS. HOFFMANN: You can look in your report if
   2   case that is not listed on this page?                     2      need be.
   3     A. No, sir.                                             3         I mean, do you want him to do that?
   4     Q. Okay. Did you prepare this page, Exhibit B to        4         MR. VANZANDT: Well, I mean, if he needs to to
   5   your report?                                              5      refresh his recollection.
   6     A. No.                                                  6      A. She went there 1/16 of '15.
   7     Q. Okay. Who prepared that?                             7      Q. Okay. And so did you review the label that
   8     A. I'm sure Counsel.                                    8   would have been in effect in January of 2015?
   9     Q. Okay. Looking at the deposition transcripts          9      A. No, sir.
  10   that you've reviewed, you have listed Dora Mingo,        10      Q. Have you reviewed the deposition transcript of
  11   Jileta Mingo, Stephen Keith and Renie Jordon, both       11   any other expert that has testified in this
  12   doctors. Have you reviewed any other deposition          12   litigation?
  13   transcripts in this case?                                13      A. No, sir.
  14     A. No, sir.                                            14      Q. And have you reviewed any other expert reports
  15     Q. Have you -- did you review the deposition           15   other than the case-specific Mingo report of Dr. Henry
  16   transcript of Dr. Henry Rinder that he gave in this      16   Rinder?
  17   case?                                                    17      A. No.
  18     A. Yes. That's the case-specific report or his         18      Q. You have listed all medical records for Dora
  19   deposition?                                              19   Mingo. Were those records provided to you by Counsel?
  20     Q. Right. Well, you have his report listed             20      A. Yes, sir.
  21   there, but did you -- did you review his deposition?     21      Q. Have you ever reviewed medical reports of Dora
  22     A. No.                                                 22   Mingo outside of the context of this litigation?
  23     Q. Okay.                                               23      A. No, sir.
  24     A. Sir.                                                24      Q. Okay. Did you bring any of Ms. Mingo's
  25     Q. I'm definitely not a sir.                           25   medical records with you today?


                                               Page 15                                                       Page 17
   1     A. I know you could be my son, I'm sure.                1     A. I did not.
   2     Q. You also have two Xarelto product labels             2     Q. You list all medical records for Dora Mingo.
   3   listed on this document, labels from August 2013 and      3   What do you mean by that?
   4   then January 2014; is that correct?                       4     A. I reviewed not only her hospitalization that I
   5     A. Yes.                                                 5   think started at St. Dominic's in Jackson, but I
   6     Q. Okay. Did you review those documents in              6   reviewed some of her outpatient clinic records that
   7   relation to your work in this case or just in your        7   were provided.
   8   work as a practicing physician?                           8     Q. Okay.
   9     A. Both.                                                9     A. That preceded her hospitalization for her
  10     Q. Both. Okay. Why specifically did you review         10   surgery.
  11   those two labels?                                        11     Q. So, I mean, did you review all of Ms. Mingo's
  12     A. I initially reviewed them years ago, when the       12   medical records that she's ever had?
  13   product came out, and that's not how I practice, but,    13     A. I would doubt that.
  14   you know, I do have a special interest in                14     Q. Okay. You reviewed the records that were
  15   anticoagulation, so I went through it for that reason,   15   given to you by Counsel?
  16   and then when they are presented to prepare, I           16     A. That were provided, yes, sir.
  17   reviewed them also.                                      17     Q. Okay. Doctor, do you agree that in preparing
  18     Q. Okay. Did you review the label that would           18   a scientific or medical opinion, it's important to
  19   have been in effect at the time Ms. Mingo was            19   review information that would be considered both pro
  20   prescribed Xarelto?                                      20   and con to the position that you were taking?
  21     A. I reviewed what was provided.                       21     A. Sure.
  22     Q. Okay. Are you aware of when Ms. Mingo was           22         MS. HOFFMANN: Objection.
  23   prescribed Xarelto?                                      23     Q. I mean, because if you don't look at
  24     A. I'm sure it was on the case. I don't remember       24   everything, then you may not get the full picture of
  25   the date.                                                25   all the information that's out there; is that correct?


                                                                                  5 (Pages 14 to 17)
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   1     A. Sure. Yes, sir.                                      1   on using or referring to in your work in this case?
   2     Q. Okay. And the only information that you              2     A. Anything that -- that I would use in my
   3   reviewed and relied on in preparing your report and in    3   regular daily practice, nothing specific to this case.
   4   forming your opinions in this case are the documents      4         I had a patient today that is, you know,
   5   that are listed on Exhibit B of your report; is that      5   related to a similar product that I will use, you
   6   correct?                                                  6   know, whatever I need to use but not as to this.
   7     A. That's what I've reviewed for this case. I           7     Q. So I'm just trying to get a, you know, idea
   8   certainly have reviewed and studied things that have      8   of --
   9   come out since 2015, but not in particular for this       9     A. Sure.
  10   case.                                                    10     Q. -- everything that your opinion is based on.
  11     Q. Okay. Have you studied and reviewed                 11     A. That's fine. I understand.
  12   additional materials related to anticoagulants?          12     Q. So I'm just, you know -- my job is to make
  13     A. Unrelated to this, sure. That's one of the          13   sure that I know everything that you relied on.
  14   mainstays of my practice.                                14     A. I understand. I understand.
  15     Q. Okay. But those other documents that you've         15     Q. So, you know, when -- if you testify at trial
  16   reviewed in your practice were not relied on in          16   in a few months, are there additional documents that
  17   forming your opinions in this case?                      17   you know of, medical journals, medical articles,
  18         MS. HOFFMANN: Objection.                           18   scientific data that you would refer to in your -- to
  19         MS. CONKLIN: Objection.                            19   express your opinions in this case?
  20     A. Say it again.                                       20     A. You know, up to the months, UpToDate, things
  21     Q. The other documents that you are referring to       21   that I would use would be New England Journal, JAMA,
  22   that you said you've reviewed since 2015 just as part    22   Lancet, as it pertains to this, things I come across
  23   of your general practice, have those documents played    23   in CMEs, conferences that I would go, but
  24   any part in forming your opinions in this case?          24   specifically, that's kind of where I go. It's all
  25     A. Just in terms of basic medical knowledge, but       25   computer based. It's really not in paper anymore.


                                               Page 19                                                               Page 21
   1   not in terms of the outcomes of this case.                1   You know, there is Medsurg, there is UpToDate, there's
   2     Q. Are there any specific data or -- well, let's        2   other things like that, but that's kind of where --
   3   just say that. Is there any specific data that you        3   that's kind of how I base my CME and education on, is
   4   rely on from other medical literature to form your        4   the patient presents with this, I may read up on that,
   5   opinions in this case that are not -- that's not          5   and I'll read the most up-to-date stuff to that effect
   6   listed in documents contained on this page?               6   and I will apply it to my daily practice.
   7     A. It's mainly what I would call continuing             7     Q. So that would be in relation to your daily
   8   medical education. You know, there is a speaker at a      8   practice and not your work in this case?
   9   conference that talks about NOACs or DOACs or DVT/PE,     9     A. Right.
  10   things like that.                                        10     Q. Okay. All right. You listed four medical
  11         MS. CONKLIN: Joe, can we get an agreement          11   literature articles on Exhibit B to your report. How
  12     that an objection by one defendant goes to both of     12   did you come about obtaining these articles?
  13     them?                                                  13     A. They were provided by Counsel but I actually
  14         MR. VANZANDT: Absolutely. Absolutely.              14   had reviewed them years ago, when they first came out.
  15     A. That's a good sign.                                 15   This was a huge paradigm shift of how we can treat
  16         MR. VANZANDT: Let's go off the record real         16   disease processes, so I won't say that I delved into
  17     quick.                                                 17   the ROCKET and EINSTEIN trials for hours, but when you
  18         THE VIDEOGRAPHER: Okay. Sorry. Time now is         18   have a paradigm shift like this, I think it's
  19     4:13 p.m. We are off the record.                       19   important that you at least familiarize yourself with
  20         (Recess from 4:13 p.m. until 4:14 p.m.)            20   the original studies.
  21         THE VIDEOGRAPHER: Time is 4:14 p.m. We are         21     Q. When you were provided these documents by
  22     back on the record.                                    22   Counsel, did you re-review those documents?
  23   BY MR. VANZANDT:                                         23     A. Yes, sir.
  24     Q. Doctor, are there additional medical                24     Q. And did you rely on these four documents in
  25   journal -- medical literature articles that you plan     25   forming your opinions in this case?


                                                                                      6 (Pages 18 to 21)
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   1      A. I think EINSTEIN clearly much more than             1   them on a daily basis.
   2   ROCKET, but yes.                                          2         So, you know, in preparing for a talk I'm
   3      Q. Did you review EINSTEIN, data on EINSTEIN in        3   giving at the end of the month, you know, I may look
   4   forming your opinions in this case?                       4   at the Journal of Thrombosis or the Journal of, you
   5      A. I've reviewed data on EINSTEIN since '12,           5   know, Hematology just to prepare, but not with the
   6   since 2012, so I'm pretty knowledgeable about that        6   intent of tapping what I said today.
   7   trial.                                                    7     Q. Okay. You said given materials preparing for
   8      Q. Did you re-review that information in -- when       8   a presentation. What are you talking about? What are
   9   you were preparing this report or preparing for this      9   you referring about?
  10   deposition?                                              10     A. Like I'll -- there may be a -- like the other
  11      A. I reviewed a lot of meta-analysis of several       11   day there was an article in the Journal of Thrombosis
  12   of the anticoagulation studies, but I can't say that I   12   that talks about some of the implications of NOAC and
  13   actually reviewed word for word the EINSTEIN study       13   DOAC therapy, and I'm going to use that for my talk in
  14   that was in the New England Journal of Medicine.         14   March. So that article, I use that article and base
  15      Q. Did you review any medical journal or any          15   maybe a slide for a talk I'm giving.
  16   other peer-reviewed articles regarding the EINSTEIN      16     Q. Okay. What kind of talk are you going to be
  17   study in your work in this case?                         17   giving in March?
  18      A. No.                                                18     A. Actually, I'm going to be giving a talk on
  19      Q. Did you do any research to find medical            19   NOACs and DOACs to a bunch of hospitalists and family
  20   journal articles or data that may be relevant to your    20   practice doctors.
  21   opinion in this case?                                    21     Q. Okay. Where will that be at?
  22      A. No, sir.                                           22     A. Destin, Florida.
  23      Q. Okay. So the only medical articles that you        23     Q. Okay. Is Janssen paying you to give that
  24   have relied on in preparing your opinions in this case   24   presentation?
  25   were those given to you by Counsel?                      25     A. No, sir.


                                               Page 23                                                       Page 25
   1     A. That and anything I would read in my practice        1     Q. What are you -- who are you giving that
   2   as it relates to anticoagulation, DVT/PE, which           2   presentation for?
   3   happens for me weekly and monthly. So there are lay       3     A. It's a -- I'm the Chief Medical Officer of our
   4   journals or throwaway journals all the time that have     4   organization, I'm also in charge of continuing medical
   5   articles on PE, DVT, anticoagulation, NOACs and DOACs     5   education, so it's a CME for primary care doctors in
   6   that I read it on a daily basis. Were they done with      6   the community.
   7   the intent to just using it for this situation? The       7         (Roth Exhibit 6 was marked for
   8   answer to that is no.                                     8   identification.)
   9     Q. Okay. Were they -- I mean, did they influence        9   BY MR. VANZANDT:
  10   your opinions at all in this case?                       10     Q. All right. Doctor, I'm going to hand you what
  11     A. No. They enhanced my knowledge base or they         11   I'm marking as Exhibit 6. I'll represent to you this
  12   may have presented something to me, but it didn't        12   is one of the articles that was listed on your report.
  13   affect what I'm going to talk about I think today with   13   And I won't say the entire title of this article --
  14   you.                                                     14     A. Please.
  15     Q. Did -- I mean, can you tell me the last             15     Q. -- but it's the "Efficacy and safety of
  16   article regarding --                                     16   rivaroxaban in patients with diabetes and nonvalvular
  17     A. There was a very simple article in the Journal      17   atrial fibrillation." Is that correct?
  18   of Thrombosis that I was asked to look at because I'm    18     A. Yes.
  19   giving the talk in a couple months that I looked at      19     Q. And this is one of the documents that you were
  20   two or three weeks ago. That was provided as I           20   provided by Counsel and reviewed in preparation for
  21   prepared for my talk. I didn't -- I used that            21   your work in this case?
  22   knowledge base but I'm not going to use that -- that's   22     A. Yeah. I'm familiar with the trial prior to
  23   not what I'm here to talk about, but there are tons of   23   that, but yes.
  24   articles that surround the literature in the space of    24     Q. Okay. All right. Now, this particular
  25   NOACs and DOACs and we use those on a daily -- I use     25   article deals with atrial fibrillation, correct?


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   1     A. Yes, sir.                                          1   documents?
   2     Q. Okay. Does it deal with EINSTEIN or DVT at         2     A. Yes.
   3   all?                                                    3     Q. Okay. Do you see the Manesh R. Patel, MD?
   4     A. No. This is a noninferiority trial comparing       4   He's on the second line.
   5   the vitamin K antagonist, Coumadin, and the lead-in     5     A. I do now, yes.
   6   drug, Lovenox, to Xarelto. I like -- it's easier to     6     Q. Okay.
   7   say than rivaroxaban.                                   7     A. He's by "b."
   8     Q. Now, this is -- I mean, this is the ROCKET AF      8     Q. And are you aware that Manesh Patel is a paid
   9   trial, right?                                           9   consultant for Janssen and on the advisory board for
  10     A. That's correct.                                   10   Janssen?
  11     Q. So it's just comparing Xarelto to just            11        MS. HOFFMANN: Objection.
  12   warfarin?                                              12     A. No.
  13     A. That's right. There are no studies that           13     Q. Okay. And just below Manesh Patel,
  14   compare the NOACs and DOACs head-to-head. They are     14   Christopher C. Nessel, do you see that name?
  15   all compared to the standard of care, which is the     15     A. Yes.
  16   Lovenox and warfarin.                                  16     Q. And that's Christopher C. Nessel, MD. Are you
  17     Q. Okay. But this one is not comparing Xarelto       17   aware that Christopher Nessel is an employee of
  18   to Lovenox and warfarin; it's comparing it just to     18   Janssen Pharmaceuticals?
  19   warfarin, right?                                       19     A. No.
  20     A. Yeah, to -- well, there is -- sure. There is      20     Q. And just two names over from Nessel there is
  21   -- you're right. There is not a lead-in with this      21   Scott Berkowitz, MD. Do you see that?
  22   trial.                                                 22     A. Yes.
  23          THE COURT REPORTER: There's not a --            23     Q. And are you aware or were you aware before
  24          THE WITNESS: Lead-in, Lovenox anticoagulation   24   today that Scott Berkowitz is employed by Bayer?
  25     lead-in.                                             25     A. No.


                                              Page 27                                                    Page 29
   1     Q. And when you talk about a lead-in, that would      1     Q. Okay.
   2   be referring to --                                      2         (Roth Exhibit 7 was marked for
   3     A. Giving a dose of heparin --                        3   identification.)
   4     Q. -- for the DVT indication?                         4   BY MR. VANZANDT:
   5     A. That's right. Before you started the               5     Q. Doctor, I'm handing you what I'm marking as
   6   Coumadin.                                               6   Exhibit 7. This is an article titled "Point-of-Care
   7     Q. Okay.                                              7   Warfarin Monitoring in the ROCKET AF Trial."
   8         MS. HOFFMANN: One of the things that we have      8         MR. VANZANDT: I know you want extra copies of
   9     to do, Doc, is let him finish his question before     9     those.
  10     you give your answer.                                10     Q. Is that one of the articles that was listed in
  11         THE WITNESS: Sure.                               11   Exhibit B to your report? I'm not sure what happened
  12         MS. HOFFMANN: Otherwise, poor Susan is going     12   to that.
  13     to go crazy. So I tell people, since we're in        13     A. It's in here.
  14     Mississippi, just go "one Mississippi" after he      14     Q. There it is. There's your report. Yeah, if
  15     finishes his question. That allows me a chance, if   15   you can just keep that handy there.
  16     I need it, to make an objection.                     16     A. I'm not sure that it is. I don't think --
  17         THE WITNESS: Sure.                               17   this appears to be a letter to the editor concerning
  18         MR. VANZANDT: And I'm sorry, Susan. That's       18   the ROCKET trial.
  19     my job to make sure we're not talking over each      19     Q. So that's not the actual article that you
  20     other.                                               20   referred to?
  21         THE WITNESS: No problem.                         21         MS. HOFFMANN: It's listed in your reference.
  22             (Discussion off the record.)                 22     A. Okay. Yes, it is. Yes.
  23   BY MR. VANZANDT:                                       23     Q. Okay.
  24     Q. Okay. Referring back to Exhibit 6, do you see     24     A. Okay. Obviously, I didn't get too familiar
  25   the list of co -- of authors there on the top of the   25   with it.


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   1     Q. And this was one of the articles that was            1      A. Yes.
   2   provided to you by Counsel; is that correct?              2      Q. And he also marked that he received personal
   3     A. Yes.                                                 3   fees from both Bayer and Janssen; is that correct?
   4     Q. Okay. And this article also deals with the           4      A. Yes.
   5   ROCKET AF trial, correct?                                 5      Q. Okay.
   6     A. Yes.                                                 6         (Roth Exhibit 9 was marked for
   7     Q. Okay. Does it address EINSTEIN or DVT at all?        7   identification.)
   8     A. No.                                                  8   BY MR. VANZANDT:
   9     Q. All right.                                           9      Q. I'll hand you Exhibit 9, which is an article
  10        MR. VANZANDT: Margaret, I've got a document         10   from the New England Journal of Medicine titled
  11     here I want to show him. I don't have extra            11   "Rivaroxaban versus Warfarin in Nonvalvular Atrial
  12     copies. Is that okay? I mean, y'all can review it      12   Fibrillation."
  13     beforehand, so I apologize for that.                   13         And is this one of the documents that you
  14        MS. HOFFMANN: That's okay.                          14   listed on Exhibit B of your report?
  15        (Roth Exhibit 8 was marked for                      15      A. It mentions the dates, yes.
  16   identification.)                                         16      Q. And is this one of the -- I'm sorry. I didn't
  17   BY MR. VANZANDT:                                         17   mean to talk over you.
  18     Q. Doctor, I'm going to mark this as Exhibit 8,        18      A. I'm sorry. Yes.
  19   and this is -- I'll represent to you this is the         19      Q. And is this one of the documents that you
  20   disclosure of conflicts for the article that we've       20   reviewed in preparation of your report in this case?
  21   marked as Exhibit 7 that you relied on -- relied on in   21         MS. HOFFMANN: Objection.
  22   your report.                                             22      A. From -- yeah, I've reviewed the article. In
  23        MS. HOFFMANN: Objection.                            23   preparation for this, that was provided. I reviewed
  24     Q. And if you could turn to the first half of          24   it when it first came out also.
  25   that document -- you're welcome to review as much of     25      Q. Okay. Now, this article that we've labeled as


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   1   it as you would like, but -- and do you see at the top    1   Exhibit 9, this is an article also regarding atrial
   2   there that is for a disclosure form for Keith Fox, who    2   fibrillation, correct?
   3   is one of the authors of this document?                   3     A. Yes.
   4         MS. HOFFMANN: Objection.                            4     Q. And anywhere in there does it address EINSTEIN
   5      A. Yes.                                                5   or DVT?
   6      Q. Okay. And then down where it lists if there         6     A. No.
   7   are any potential conflicts of interest, do you           7     Q. And if you look at the list of the authors
   8   indicate where he marked yes?                             8   there, the very first author listed is Manesh Patel,
   9      A. Yes.                                                9   who we've seen from the two prior articles; is that
  10      Q. Okay. And then do you see below that where he      10   correct?
  11   marked that he had received grants and personal fees     11     A. Yes.
  12   from both Janssen and Bayer?                             12     Q. Okay. And the fourth listed article is -- and
  13      A. Yes.                                               13   I can't pronounce his first name but it starts with a
  14      Q. Okay. And if you could turn to the next tab I      14   G, last name is Pan. Do you see that?
  15   have marked there, and this is a similar form for        15         MS. HOFFMANN: Objection.
  16   Dr. Manesh Patel. Is that correct, or is that what       16     Q. Guohua Pan.
  17   the document says?                                       17     A. Yes.
  18      A. Yes.                                               18     Q. Okay. And are you aware that he was at that
  19      Q. It says -- okay. Sorry about that.                 19   time employed by Johnson & Johnson?
  20         And he also indicates that he has conflicts of     20         MS. HOFFMANN: Objection.
  21   interest; is that correct?                               21     A. No.
  22      A. He marked the box, yes.                            22     Q. Okay. And then we see also Christopher
  23      Q. Okay. And so he indicates that he received         23   Nessel, and do you recall that he was employed by
  24   grants from both Johnson & Johnson and Janssen; is       24   Johnson & Johnson?
  25   that correct?                                            25     A. From the previous -- yes.


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    1     Q. Okay. And then a Dr. John F. Paolini, do you         1   doesn't surprise me.
    2   see that name?                                            2      Q. And then if you would, turn to the very last
    3     A. I do.                                                3   page of that document. I'm sorry.
    4     Q. Okay. And are you aware that he was employed         4      A. That's okay. Okay.
    5   by Bayer?                                                 5      Q. And you see that on Appendix A, which lists
    6     A. No, sir.                                             6   the executive steering committee members, do you see
    7     Q. Okay. And then the very next thing is a              7   the second name listed there is Scott Berkowitz?
    8   Dr. Scott Berkowitz, and as we recall from the past       8      A. Yes.
    9   documents, do you recall that I pointed out that he       9      Q. Bayer HealthCare Pharmaceuticals?
   10   was employed by Bayer?                                   10      A. Uh-huh.
   11        MS. HOFFMANN: Objection.                            11      Q. Okay. And then the next to the last name is
   12     A. Yes.                                                12   Christopher Nessel, Johnson & Johnson Pharmaceutical
   13     Q. Okay.                                               13   Research & Development; is that correct?
   14        (Roth Exhibit 10 was marked for                     14      A. Yes.
   15   identification.)                                         15      Q. Okay. So are there any articles or scientific
   16   BY MR. VANZANDT:                                         16   literature that you relied on to form your opinions in
   17     Q. I'm handing you Exhibit 10, which is the last       17   this case that were not coauthored by individuals who
   18   one of the articles I will be handing you, and this is   18   are employed by either Janssen or Bayer?
   19   an article that was listed on Exhibit B to your report   19         MS. HOFFMANN: Objection.
   20   and it's titled "Rivaroxaban - Once daily, oral,         20         MS. CONKLIN: Objection.
   21   direct factor Xa inhibition..." and I'll stop there      21      A. That's impossible to answer, and I'm sure I
   22   instead of saying the rest of it.                        22   have reviewed several articles in my practice and
   23        Is this one of the documents that was listed        23   daily practice of hospital medicine that were written
   24   on Exhibit B of your report?                             24   or coauthored by physicians or Ph.D.s that were not
   25     A. In a different form, yes. I think the format        25   employed or associated with pharma companies, but -- I


                                                Page 35                                                       Page 37
    1   was actually from -- right from the American Heart        1   mean, I can't testify to that. I'd have to go back
    2   Journal.                                                  2   and look at everything I've read in the last eight
    3     Q. Okay.                                                3   years, since these drugs became FDA approved.
    4     A. It may have looked different on the front.           4     Q. But the articles that you indicated to us on
    5     Q. But it would be the same content, just a             5   your expert report, those four articles that you
    6   different format, right?                                  6   stated, according to Exhibit B, that you reviewed,
    7     A. (Nodding head.)                                      7   relied and/or considered in preparing your opinions in
    8     Q. Okay. Is -- I mean, did you review and rely          8   this case, were all coauthored by individuals employed
    9   on this document in forming your opinions in this         9   by either Janssen and Bayer; is that correct?
   10   case?                                                    10         MS. HOFFMANN: Objection.
   11        MS. HOFFMANN: Objection. He's testified he          11     A. Yes. They were part of the investigational
   12     reviewed these.                                        12   team, yes, sir.
   13     A. I reviewed them.                                    13     Q. They were not only part of the investigational
   14     Q. Okay. And this article also deals with the          14   team, but they were authors of those articles,
   15   ROCKET study and atrial fibrillation; is that correct?   15   correct?
   16     A. Yes.                                                16     A. Right. Yes, sir. Agree.
   17     Q. Okay. Does it mention EINSTEIN or DVT               17     Q. Have you ever been shown any internal company
   18   anywhere in the article?                                 18   documents from anyone at Bayer or Janssen?
   19     A. I do not think so.                                  19     A. No, sir.
   20     Q. And do you see on the bottom of the first page      20     Q. I want to ask if you've either met any of
   21   here that one of the authors listed again is a           21   these individuals or communicated with them in any
   22   Dr. Manesh Patel?                                        22   way, via telephone, e-mail, written communication
   23     A. I'm sure -- I don't see his name on the front       23   or met in --
   24   page but I'm sure it is. He's a pretty published         24     A. What individuals?
   25   gentlemen from Duke, from what I remember, so that       25     Q. I'm about to go through a list of names.


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    1     A. Oh, I'm sorry.                                       1         MS. HOFFMANN: We had to have met before you
    2     Q. I'm sorry. I want to know if you just -- if          2     signed your report. That's okay.
    3   you've ever met them in person --                         3         THE WITNESS: I guess I didn't bill for that
    4     A. Sure.                                                4     one.
    5     Q. -- or if you've ever communicated with them in       5   BY MR. VANZANDT:
    6   any way. Okay?                                            6     Q. Sounds like they owe you some money.
    7         The first one is a Tom Wensing?                     7     A. We did, but I'm not the best keeper of records
    8     A. No, sir.                                             8   but, clearly, I --
    9     Q. Frank Misselwitz?                                    9         MS. HOFFMANN: If you have a best estimate,
   10     A. No, sir.                                            10     you can tell him. If you don't know the dates,
   11     Q. Dagmar Kubitza?                                     11     that's fine.
   12     A. No.                                                 12     A. It was November, December.
   13     Q. Wolfgang Meuck?                                     13     Q. Okay. I mean, the date on your report, again,
   14     A. No.                                                 14   I mean, is that January 5th, 2017, is that what that
   15     Q. Christopher Nessel?                                 15   is?
   16     A. No.                                                 16     A. It's either a 1 or a 12.
   17     Q. Scott Berkowitz?                                    17     Q. It's got to be a 1, I guess, if it's 2017. So
   18     A. No.                                                 18   that's January 5th, 2017. Okay.
   19     Q. And Manesh Patel?                                   19         So your best estimate is that you first met
   20     A. No.                                                 20   with counsel in November or December of 2016; is that
   21     Q. Okay. When were you first contacted about           21   correct?
   22   working as an expert in this litigation?                 22     A. Yes. Yes.
   23         MS. HOFFMANN: You can refer to your invoices       23     Q. How many times have you met in person with
   24     if that's helpful.                                     24   counsel for either of the defendants?
   25     Q. They're probably on the bottom there. Sorry.        25     A. Three, to the best of my recollection, three.


                                                Page 39                                                       Page 41
    1     A. I would, based on my invoice, I would say            1     Q. Okay. How many times did you meet with them
    2   probably October of '16, maybe September or October of    2   before preparing -- or, I'm sorry, before submitting
    3   '16.                                                      3   your report in this case?
    4     Q. And who first contacted you?                         4     A. In person, maybe once.
    5     A. I would imagine someone from the law firm            5     Q. And did you have meetings over the telephone
    6   that's being used. I don't remember who the person        6   with them as well?
    7   was.                                                      7     A. It looks like we had one for sure on December
    8     Q. Was it anyone that you had ever met or dealt         8   29th.
    9   with before?                                              9     Q. And have you had any meetings with counsel for
   10     A. No.                                                 10   Bayer since the time that you've submitted your report
   11     Q. How were you first contacted, by e-mail,            11   in January?
   12   phone?                                                   12        MS. HOFFMANN: You mean Bayer or Janssen?
   13     A. Phone.                                              13        MR. VANZANDT: What did I say?
   14     Q. When is the first time that you had -- that         14        MS. HOFFMANN: You said just Bayer.
   15   you met with counsel from either Bayer or Janssen?       15     Q. Oh, sorry. Bayer or Janssen.
   16     A. Met with?                                           16     A. Yes. We have met January 17 and February 4.
   17     Q. Met in person, yes, sir.                            17     Q. How long did you meet on January 17th?
   18     A. Probably December 29th, on the phone call we        18     A. Looks like one hour.
   19   talked, and then the first meeting probably face to      19     Q. And then how long did you meet on
   20   face was January '17.                                    20   February 4th?
   21         MS. HOFFMANN: No.                                  21     A. Looks like about two.
   22     Q. And that would be December 29th of 2016?            22     Q. Okay. And is the February 4th meeting the
   23         THE WITNESS: Do you --                             23   last meeting that you've had before today with counsel
   24         MS. HOFFMANN: Can we stop for a minute?            24   from either Bayer or Janssen?
   25         MR. VANZANDT: Sure.                                25     A. Yes.


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    1     Q. Have you had any telephone conversations with        1   license in those three states, correct?
    2   counsel from either Bayer or Janssen between February     2     A. Yes.
    3   4th and today?                                            3     Q. Okay. Have you ever had a medical license in
    4     A. Other than maybe logistics of where this is          4   any other state other than Alabama, Mississippi or
    5   going to take place and the hotel and the conference      5   Texas?
    6   room. That's about it.                                    6     A. No.
    7     Q. What did you do to prepare for your                  7     Q. And have you ever had your medical license
    8   deposition?                                               8   revoked or suspended for any reason?
    9     A. Reviewed the documents here and rode across          9     A. No.
   10   the street to sit down with you guys.                    10     Q. I'm going to refer to your CV in your report,
   11     Q. Did you review any or re-review any of              11   which is attached as Exhibit A to your report, and you
   12   Ms. Dora Mingo's medical records?                        12   list there in your CV that your primary specialty is
   13     A. Not in sole preparation for today, no. I            13   in internal medicine; is that right?
   14   mean, I reviewed them initially just to get the gist     14     A. Yes.
   15   of the case, but to say I reviewed them yesterday or     15     Q. And you are board certified in internal
   16   the day before, no, not -- not her medical records.      16   medicine?
   17     Q. Okay. And you -- the last two meetings that         17     A. I was boarded in '96 and again in '06.
   18   you had with counsel, I think you said January 17th      18     Q. Okay. And when will you have to review your
   19   and then February 4th, would those have been to          19   board certification?
   20   prepare for your deposition?                             20     A. April.
   21     A. Yes.                                                21     Q. I'm sorry?
   22     Q. And have you reviewed any other documents in        22     A. April.
   23   preparation for your deposition that are not listed on   23     Q. Okay. So coming up soon.
   24   Exhibit B of your report?                                24         Have you ever been board certified in any
   25         MS. HOFFMANN: Objection; asked and answered.       25   other specialty?


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    1     Q. Is that a no? I'm sorry.                             1     A. No, sir.
    2     A. No.                                                  2     Q. And according to your CV, you are currently
    3     Q. Okay. Sorry. You were just shaking your              3   the Chief Medical Officer at Singing River Health
    4   head.                                                     4   System; is that correct?
    5     A. That's fine.                                         5     A. Yes, sir.
    6     Q. I need to get a verbal answer.                       6     Q. And is that -- is that the hospital that's
    7     A. That's fine.                                         7   just right across the street?
    8     Q. Doctor, you have a bachelor's degree from            8     A. It's one of them. The other one is in Ocean
    9   Rhodes College in biology; is that right?                 9   Springs.
   10     A. Yes.                                                10     Q. Okay. And so you are the Chief Medical
   11     Q. And other than medical school, did you attend       11   Officer for the entire system; is that correct?
   12   any other postgraduate schools?                          12     A. Yes.
   13     A. No.                                                 13     Q. Not just that one hospital across the street?
   14     Q. Okay. And you attended medical school at both       14     A. (Nodding head.)
   15   LSU and UAB; is that right?                              15     Q. How many hospitals are in that system?
   16     A. Yes. I went to LSU the first year and then I        16     A. Two.
   17   got married to a current medical student at UAB and I    17     Q. Two. And you've held that position since
   18   transferred, did my last three years at UAB.             18   March 2014?
   19     Q. And then you did your internship and residency      19     A. Yes.
   20   at Baylor University Medical Center, correct?            20     Q. So what are your duties and responsibilities
   21     A. Yes.                                                21   in that role as Chief Medical Officer?
   22     Q. Okay. And are you currently licensed in             22     A. So I'm directly over supervision of all of our
   23   Alabama, Mississippi and Texas?                          23   employed physicians, which includes neurologists,
   24     A. Yes.                                                24   thoracic surgeons, primary care, psychiatry,
   25     Q. And I say licensed. You have a medical              25   hematology, oncology, and the hospitalists group, and


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    1   the intensive -- the intensivists or the pulmonary and    1     Q. It's not a private company outside --
    2   critical care doctors.                                    2     A. No, sir.
    3         I also am responsible for the peer review           3     Q. So what are your roles in that position?
    4   process and the credentialing process. I'm also on        4     A. I'm a hospitalist, so I have patient contact.
    5   our -- obviously, our board of trustees, and I'm          5   I oversee our hospitalists. Do you know what a
    6   directly responsible for the hospitalist program also,    6   hospitalist is?
    7   and there's a lot of other stuff but that's -- that's     7     Q. Why don't you explain it to me.
    8   the bulk of what I do.                                    8     A. So we were the second hospitalist group in the
    9     Q. Okay. When you say you supervise doctors             9   state and what we do is we admit patients from the
   10   and -- I mean, what exactly --                           10   primary care physicians and we guide them through the
   11     A. So I'm directly responsible for their               11   hospitalization, and then we hand them back over to
   12   contracts, their quality, their core measures, their     12   the primary care doctors in our community. We find
   13   productivity, and how they perform and how they do       13   that that's just a better, more efficient way to take
   14   their job. That's the employed physicians, not the       14   care of patients.
   15   doctors in the private sector. There is -- probably      15         I've branched that out that we also provide
   16   one-third of our doctors in our community hospital       16   admission services for orthopaedics, neurology and GI,
   17   system are employed, the other two-thirds are in the     17   other service lines, because we're in the hospital
   18   private sector.                                          18   24/7 and have no outpatient clinic responsibilities,
   19     Q. And the employed physicians, would those be         19   and we just found it's a better, safer, more efficient
   20   referred to as hospitalists?                             20   quality way to take care of patients and what we do.
   21     A. The hospitalists and -- but there is also the       21         It's gotten very complex in the hospital. You
   22   other subspecialties that I mentioned. We employ,        22   are under regulations from the feds, whether inpatient
   23   like, cardiovascular surgeons, we employ our             23   status, observation status, length of stay, quality
   24   neurologists. We don't employ any of our general         24   markers, and this movement started back in '96 with
   25   surgeons, so would have no supervision or jurisdiction   25   Bob Wachter from UCSF. He coined the term


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    1   over them, or with them, I should say.                    1   "hospitalist" and it's been a very successful movement
    2     Q. So when are you supervising those doctors, I         2   within the industry.
    3   mean, are you involved in their daily care for            3     Q. And so you -- I mean, you've served as a
    4   patients?                                                 4   hospitalist since 1999; is that correct?
    5     A. Clearly the ICU intensivists and hospitalists,       5     A. That's correct.
    6   yes. Directly, I can't oversee a cardiothoracic           6     Q. And you still do that today?
    7   certain but I review his STS data. I review their         7     A. Yes, sir.
    8   outcomes, mortality and morbidity with them.              8     Q. Okay. You also listed a consultant in
    9     Q. You were previously the Clinical Director of         9   hospitalist medicine, May 2002 to present. How is
   10   Hospital Services. Was that for the entire health        10   that different?
   11   system as well?                                          11     A. What that is, is I'll get -- well, let's just
   12     A. Correct, so about 20 hospitalists that cover        12   clarify something. Since the CMO job I've been
   13   our inpatient admissions at both hospitals 24/7.         13   swamped, I haven't done any of that, but when we
   14     Q. So in that role would you have been                 14   started the hospitalist group here, it was wildly
   15   supervising those hospitalists?                          15   successful and I would be asked to go to Jackson or
   16     A. And participating.                                  16   Birmingham and spend boots-on-the-ground time there to
   17     Q. And participating. Okay. You also list that         17   help them develop a hospitalist program. So I would
   18   you've been the Medical Director For Inpatient           18   -- I may have done seven or eight of those at
   19   Physician Services since 1999; is that correct?          19   different places in the southeast United States.
   20     A. That's the hospitalist group, that's correct.       20     Q. All right. You do not currently maintain a
   21   IPS, that's the hospitalist group that I founded in      21   private medical practice, correct?
   22   1999.                                                    22     A. That's correct.
   23     Q. Okay. And is that hospitalist group part of         23     Q. Okay. When is the last time you've had a
   24   the Singing River Health System?                         24   private medical practice outside of the hospital?
   25     A. Yes, sir.                                           25     A. 1999.


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    1     Q. Okay. And I think this is obvious from the           1     A. Yes.
    2   answers you've been giving me, but you still are          2     Q. But as far as go into a medical school,
    3   currently treating patients, correct?                     3   lecturing, teaching as a professor, do you do that?
    4     A. Yes, sir.                                            4     A. You know, I've done that. I will do grand
    5     Q. Okay. So in addition to your role as a chief         5   rounds when invited to UAB. I think I have some of
    6   medical officer, you treat patients on a daily basis      6   those on my CV, but that's not a very large part of my
    7   or -- I mean, how often are you actually treating         7   practice.
    8   patients?                                                 8     Q. That's something I've seen, "grand rounds."
    9     A. Sure. I guess I would be considered what             9   What is that referring to?
   10   would be called a .5 FTE in terms of the volume.         10     A. So grand rounds is when the whole department
   11   That's very dependent upon my workload as CMO, but       11   of medicine meets and they will bring in what they
   12   today I admitted three patients and wrote on two other   12   would call a distinguished professor and he or she
   13   ones. Hospitalists work shift work, so it's kind of      13   would present either recent research or maybe present
   14   what you hear about the seven on/seven off. Clearly,     14   two or three cases and then they would present it to
   15   I can't work that schedule, so I'm working pretty much   15   the entire department of medicine. It's pretty
   16   every day at a much lower threshold of patient care,     16   ceremonial and it's educational, but it's a nice
   17   but, yeah, it's -- I'm still an active hospitalist.      17   thing.
   18     Q. Okay. What would be your best estimate of           18         So I think I listed one at UAB I've done, one
   19   percentage of time spent between your various roles?     19   at the med school, but it's more of a -- it's not a
   20     A. My last -- very fair. The last three months         20   one-on-one teaching. It's an auditorium level
   21   we've been swamped with other things. It's probably      21   question-and-answer thing.
   22   been 18, 19, 15 percent clinical, 70 percent             22     Q. Okay. The research that you listed on your
   23   administrative.                                          23   CV, you indicated research with you and a Dr. Henry
   24         That varies on patient load, do I have a           24   Rothchild: "Clinical Interviewing: a computer
   25   doctor who is out, do I have a doctor who is sick, do    25   program for Medical Students."


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    1   I have a doctor who left, but my contractual              1         And that was in 1990; is that correct?
    2   obligations are based on .5 FTE.                          2     A. Correct. So that was my first year of med
    3     Q. Okay. What's that mean, .5 FTE?                      3   school and I probably should take it off, it's not
    4     A. .5 full-time equivalent in terms of clinical.        4   very meaningful, but it looked good when I applied to
    5     Q. Could you explain that a little more?                5   a fellowship.
    6     A. So if I have one full-time hospitalist who           6     Q. Yeah. I mean, have you -- have you conducted
    7   does nothing else but hospital-based care, he's           7   any additional research since 1990?
    8   considered a 1 or 1 FTE.                                  8     A. No, sir.
    9     Q. Okay.                                                9     Q. Okay. And I understand you do your reading --
   10     A. Because of all my other duties and                  10     A. Sure, but not bench research, no, sir.
   11   responsibilities, clearly, my CEO says I need you to     11     Q. Okay. Have you ever conducted research on
   12   do other things to make us better, so I've reduced my    12   anticoagulants?
   13   clinical loads. Instead of seeing 22 patients a day,     13     A. No, sir.
   14   which is the average number our hospitalists do, I may   14     Q. And what about Xarelto specifically, have you
   15   reduce that to four or five a day.                       15   ever conducted research on it?
   16     Q. Okay. All right. Thank you.                         16     A. No, sir.
   17         Do you currently have any teaching                 17     Q. All right. Have you ever received any kind of
   18   responsibilities in any kind of medical school or        18   grant or grants for research?
   19   university?                                              19     A. No.
   20     A. On the rare occasion, UMC in Jackson and            20     Q. On publications, you have a publication listed
   21   William Carey Osteopathic School will send students      21   from 1989. Is that the last publication that you've
   22   and they will rotate with us, maybe -- maybe three to    22   had?
   23   five weeks a year.                                       23     A. Yes.
   24     Q. Okay. And you would be directly involved in         24     Q. Doctor, this litigation is not -- it's the
   25   that?                                                    25   first time that you've worked with Janssen in relation


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    1   to Xarelto, is it?                                        1      Q. Okay. And you said that you -- you spoke for
    2      A. No.                                                 2   Janssen on Xarelto twice that you recall?
    3      Q. Okay. You've been paid by Janssen to give           3      A. That I can recall.
    4   presentations about Xarelto in the past; is that          4      Q. Okay.
    5   right?                                                    5      A. It may have been one or two more, or it maybe
    6      A. I was on their speakers bureau in I think '10       6   just have been one, but clearly I remember one because
    7   or '11.                                                   7   it was a group of people who I had worked with that --
    8      Q. And can you describe to me what a speakers          8   that worked for me prior that had left to go to
    9   bureau is?                                                9   Meridian and I remember that was one of the reasons
   10      A. Sure. You speak on behalf of the product.          10   they wanted me to go up there, so I do remember that
   11   They provide you with a slide set and if you believe     11   one for sure.
   12   in the slide set and believe in the data and             12      Q. Okay. Do you recall how much you got paid to
   13   literature, I may have -- I know for sure I did two      13   speak at those events?
   14   because I remember one in particular in Meridian. You    14      A. It was based on the mileage away that you
   15   speak to a group of people, practitioners, physicians,   15   traveled. It was variable, between $1500 and $2,000,
   16   NPs, PAs, about the on-label use for these drugs and     16   and that could be off by a hundred or two, depending
   17   you're compensated for that, that's correct.             17   on whether it was X number of miles from where your
   18      Q. Did you also receive training from Janssen in      18   home base was.
   19   relation to the speakers bureau?                         19      Q. I mean, if I've got a document showing that
   20         MS. HOFFMANN: Objection.                           20   you were paid $2500 for a speaking engagement, would
   21      A. There was a training program and I'm not sure      21   that --
   22   whether I completed it online or in person, but they     22      A. That wouldn't surprise me.
   23   did provide training.                                    23      Q. Would you have any reason to disagree with
   24      Q. Okay. How many training events would you have      24   that?
   25   attended?                                                25      A. No.


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    1         MS. HOFFMANN: For Xarelto?                          1     Q. And you mentioned that Janssen would provide a
    2      Q. For Xarelto.                                        2   slide deck for you for those presentations?
    3      A. Probably only one.                                  3     A. (Nodding head.)
    4      Q. And when is the last time that you attended a       4     Q. Were you able to present your own information
    5   training event provided by Janssen in relation to         5   or did you have to present the information that they
    6   Xarelto?                                                  6   provided to you?
    7      A. To be honest, I don't know the exact date but       7     A. You were asked to present the information that
    8   I would say it was in '11 probably, '10, '11, or '12.     8   -- they were provided to you, probably to keep you on
    9   Nothing in the last four or five years.                   9   label. You know, if you were asked questions outside
   10      Q. And were you also paid for your time in the        10   of the slide deck when the presentation was over, you
   11   training program?                                        11   were able to give your personal opinion, but they
   12      A. In fairness, I don't know the answer to that.      12   kept -- they would like you to stay to key with their
   13      Q. Okay.                                              13   slides, that's correct.
   14      A. I mean, clearly, your expenses, if I travel to     14     Q. Okay. So you were presenting information that
   15   it, your expenses are paid, but whether or not I was     15   was provided to you by Janssen to other doctors; is
   16   paid to attend, in fairness, I don't know the answer     16   that correct?
   17   to that.                                                 17     A. Yes.
   18      Q. And as you sit here today, do you remember if      18     Q. Okay. Do you remember the specific topics
   19   you traveled for training?                               19   that you spoke on?
   20      A. I went to a training session, but again, it        20     A. I'm sure I was trained to do AFib and DVT. I
   21   was -- I'm just not sure whether it was for Xarelto.     21   will tell you that I'm much more adept to do the DVT
   22   I did some speaking on behalf of Lovenox way prior,      22   and PE. That's kind of an area that I feel good
   23   around Hurricane Katrina time, and it's kind of          23   about.
   24   getting mixed in, but if I did, it was -- it was one     24     Q. Okay.
   25   training session.                                        25     A. And I treat -- and I treat that more in my


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    1   practice. AFib is an internal medicine disease, but       1      A. We did -- we were one of the first
    2   to be honest with you, it's -- if you have 12             2   hospitalists groups that did a big project to decrease
    3   cardiologists in your community, that's where most of     3   the rate of hospital-acquired DVTs, and we not only
    4   the AFib ends up.                                         4   put it in a standardized form, we also incorporated it
    5     Q. What was involved with the training that you         5   into our electronic medical record. I'm not saying it
    6   underwent from Janssen?                                   6   was published or, you know, super advanced, but it was
    7     A. They would bring in speakers and speakers            7   pretty good for Pascagoula.
    8   would address the trials, they would address the side     8         So I think they recognized that, and they
    9   effect profiles, they would address compliance, things    9   recognized the strength of the group and the decrease
   10   like that.                                               10   of hospital-acquired DVTs that we saw. It wasn't
   11     Q. I mean, do you know who those speakers were?        11   published. It was just anecdotal. You know, you have
   12   Were they doctors, researchers?                          12   eight percent orthopaedic history and then we get it
   13     A. Oh, I'm -- I mean, I don't know their names         13   down to two, and I guess that got their attention and
   14   but several of them were physicians. I mean, I'm sure    14   they asked me about it.
   15   there were legal counsel, there was legal counsel, but   15      Q. When you say got their attention, are you
   16   I would imagine they were physicians who were familiar   16   referring to Janssen?
   17   with the data they were presenting.                      17      A. Or Lovenox or any of the companies. You know,
   18     Q. Did you ever receive any training from              18   it's not very often that you have a community-based
   19   marketing personnel from Janssen?                        19   hospital that's our size that, you know, will tackle a
   20     A. Training or information?                            20   quality-based issue. We did it for heart failure, we
   21     Q. Training.                                           21   did it for a lot of our top 5 DRGs, where we have
   22     A. No, sir.                                            22   what's called Care Pass.
   23     Q. Do you recall where you may have traveled for       23         You know, there is only really one or two ways
   24   these training programs?                                 24   to treat the top 10 diseases that we see. You know,
   25     A. I went to Dallas for a meeting of some sort,        25   you should be on Antibiotic A or B for


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    1   and that may have been where this one was.                1   community-acquired pneumonia; you should receive this
    2     Q. Okay. And your travel expenses would have            2   for anticoagulation.
    3   been covered for you going to Dallas; is that correct?    3         And we kind of streamlined that to take away
    4     A. Yes.                                                 4   the variability within our group.
    5     Q. And would you have also been paid for that           5     Q. Okay. So what did your group do differently
    6   training session in Dallas?                               6   in relation to DVT to decrease the hospital-onset DVT?
    7         MS. HOFFMANN: Objection; asked and answered.        7     A. We did two things. We made you address why or
    8     A. I don't remember whether you actually got paid       8   why not you did not prophylax your patient before
    9   for attending. I know your expenses were paid, and        9   you're allowed to move on.
   10   that's just -- that's an honest answer.                  10         So before we had our EMR, we used a system
   11     Q. How did you get involved with that speakers --      11   called EPIC.
   12   did you say speakers bureau, is that what you called     12         THE WITNESS: Electronic medical record.
   13   it?                                                      13     A. It was a paper and it said: Dear Dr. X, your
   14     A. That's what they were called then, yes.             14   patient has been hospitalized. They have these risk
   15     Q. Okay. How did you get involved with that? Is        15   factors for DVT. What would you like to treat them
   16   that something you signed up for or did someone          16   with for DVT prophylaxis?
   17   approach you about doing it?                             17         And if the physician marked nothing, then they
   18     A. I was probably approached by someone in the         18   had to give an explanation why they did not choose to
   19   pharma industry because of what I do and how we, I       19   prophylax this patient.
   20   guess, treat DVTs and PEs and AFib, and I don't know     20         Once we moved to EPIC -- we're paperless
   21   who reached out to me initially but I'm sure it was      21   now -- it's a hard stop. It's a stop sign that says:
   22   probably through one of their reps.                      22   (Indicating.) "You used an older set. This patient
   23     Q. Okay. And when you say because of what you do       23   is not on DVT prophylaxis. Can you tell us why?"
   24   and how you treat DVT and PE and AFib, what do you       24         And there are some contraindications:
   25   mean by that?                                            25   Intracranial bleed, allergic to heparin, HIT.


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    1        So we were early in that space of getting our        1     Q. Doctor, when is the last time that your CV has
    2   community of doctors involved with that.                  2   been updated?
    3     Q. Does -- does your hospital group, I mean, is         3     A. Two-and-a-half years, because my oldest
    4   there a -- do you have a certain protocol for treating    4   daughter will be 20 in March.
    5   acute DVTs in patients?                                   5     Q. Okay. Does your CV indicate anywhere your
    6     A. Yes.                                                 6   prior work with Janssen prior to your involvement in
    7     Q. Okay. And what is that protocol?                     7   this litigation?
    8     A. It gives options. We do not have a closed            8     A. No, sir. And I guess, unless you would say
    9   formulary. So DVT, you are given the option of IV         9   from '99 to 2005, the 100 hours of CME that I
   10   heparin, which we rarely use anymore; low molecular      10   presented, but a lot of that was just CMEs like I'm
   11   weight heparin, which we can use long-term or            11   doing next week and not for Janssen.
   12   short-term; vitamin K antagonists; and now we have the   12     Q. Okay. Have you ever worked for any other
   13   NOACs or DOACs, and if they are FDA approved, they're    13   pharmaceutical companies?
   14   all on the formulary. So it's not a -- blinders, you     14     A. Yes, I did some speakers bureau for -- I don't
   15   have to use Product A or B, but the products that are    15   know what the company was but it was for enoxaparin.
   16   FDA approved are options for that physician or           16     Q. Okay. And that would be Lovenox; is that
   17   practitioner to choose.                                  17   right?
   18     Q. Okay. So is there any kind of formulary or          18     A. Yes.
   19   guidelines in your hospital group that indicate which    19     Q. Okay. When was that? How long ago was that?
   20   particular product the physician should use?             20     A. That was probably for the two years
   21     A. No.                                                 21   post-Katrina, so '06 and '07 were probably the years.
   22     Q. For -- well, let me -- let me finish.               22   That was when it just came out and we were using it
   23        The ones they should use for particular             23   fairly aggressively for prophylaxis.
   24   circumstances or situations?                             24     Q. Have you ever been retained as an expert
   25     A. No.                                                 25   witness in any other lawsuit or litigation?


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    1    Q. Okay.                                                 1     A. Yes.
    2        MS. HOFFMANN: And I'm sorry, can we get              2     Q. How many times before have you been --
    3    clarification? I missed it. Are you talking about        3     A. Once or twice. I went to court once for sure.
    4    for prophylaxis for DVT or treatment?                    4     Q. Okay.
    5        THE WITNESS: For treatment.                          5     A. And they were internal
    6        MR. VANZANDT: Yeah, treatment of acute DVT.          6   medicine/hospitalist-based cases.
    7        MS. HOFFMANN: Treatment. Okay.                       7     Q. Okay. What do you mean by that? What -- were
    8    A. There are options that you pull up and, you           8   they medical malpractice cases?
    9   know, you will put in diagnosis, DVT, and it will spit    9     A. Yes, they were medical malpractice cases.
   10   out, you know: Do you want IV heparin drip? Do you       10     Q. And you were -- I mean, were you an expert
   11   want weight-based Lovenox? Do you want apixaban? Do      11   witness in those cases?
   12   you want -- or, you know, choices.                       12     A. I was an expert witness for the defense,
   13    Q. Okay.                                                13   correct.
   14        MS. HOFFMANN: Can we take a break?                  14     Q. In both cases?
   15        MR. VANZANDT: Yeah. I was going to say we've        15     A. Yes.
   16    been going an hour.                                     16     Q. All right. Are those the only two cases you
   17        MS. HOFFMANN: I'm going to see if I can quiet       17   recall testifying as an expert?
   18    this down.                                              18     A. I'm pretty sure. I know for a fact only one
   19        THE VIDEOGRAPHER: The time is 5:04 p.m. We          19   went to court. I may have been asked to review some
   20    are off the record.                                     20   charts and nothing really ever happened with it,
   21        (Recess from 5:04 p.m. until 5:09 p.m.)             21   but --
   22        THE VIDEOGRAPHER: This begins Disk 2 of             22     Q. And what's your best -- your best guess about
   23    today's deposition. The time now is 5:09 p.m.           23   how long ago that was?
   24        We are back on the record.                          24     A. I can tell you, maybe. Their expert was
   25   BY MR. VANZANDT:                                         25   actually the guy that I worked with when I did


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    1   research at LSU, Henry Rothchild. It was pre-Katrina,     1   speak on DVT management?
    2   so I would say it was '03 maybe, '04.                     2     A. No.
    3     Q. Okay.                                                3     Q. All right. Have you ever met Ms. Dora Mingo?
    4        MS. HOFFMANN: You mean 2003 or 2004?                 4     A. No.
    5        THE WITNESS: Yes, 2003 or 2004.                      5     Q. All right. And have you ever treated her as a
    6     Q. And have you ever testified in any type of           6   patient?
    7   lawsuit via at trial or deposition when you were not      7     A. No.
    8   an expert, just as a treating physician?                  8     Q. Do you know -- well, I'm going to -- I'm going
    9     A. No, sir.                                             9   to go through a list of Ms. Mingo's doctors --
   10     Q. Or as any other type of witness in a trial          10     A. Sure.
   11   other than an expert witness?                            11     Q. -- and just would like to know if you know
   12     A. Not to my knowledge.                                12   these doctors personally or through your work. What
   13     Q. And have you ever worked as a litigation            13   about Dr. Renie Jordon, have you ever met Dr. Jordon?
   14   consultant for either Bayer, Janssen or Johnson &        14     A. No.
   15   Johnson prior to this Xarelto litigation?                15     Q. Dr. Stephen Keith, have you ever met
   16     A. No.                                                 16   Dr. Keith?
   17     Q. Okay. On page 2 of your report, in the middle       17     A. No.
   18   of the page you have "Presentations" listed. Do you      18     Q. And when I say met, I mean, have you ever met
   19   see that?                                                19   them personally or communicated with them in any way?
   20     A. Uh-huh. Yes.                                        20     A. You know, if they were at the same meeting I
   21     Q. And you have DVT management listed as a, I          21   was at, maybe, but I have no recollection and no name
   22   guess, a topic that you presented on. It should be       22   recognition.
   23   page 2, about halfway down of your CV. Is it not         23     Q. Okay. And what about Dr. Jennifer Gholson?
   24   showing up on there?                                     24     A. No.
   25     A. Yeah. Sure. Yes, I've got it. It's in               25     Q. Dr. Clifton Williams?


                                                Page 67                                                      Page 69
    1   capital letters, yes.                                     1     A. No.
    2     Q. Okay. Yes. Sorry.                                    2     Q. Dr. Gabriel Zevallos?
    3         But the DVT management presentations, I mean,       3     A. No.
    4   how many times -- well, let me ask you this. What do      4     Q. Dr. David Casey?
    5   you mean by DVT management presentations, what would      5     A. No.
    6   that include?                                             6     Q. Dr. Dany Haddad?
    7     A. So because hospitals are so integral to how we       7     A. No.
    8   manage and prophylax for DVTs, I may get -- I may have    8     Q. Dr. Ajagbe?
    9   gotten asked five or six times to present our strategy    9     A. No.
   10   in management of this to maybe, like, the Southeast      10     Q. Dr. David Gandy?
   11   Alabama Association of Hospitalists or -- our regional   11     A. No.
   12   chapter is the Gulf States Hospitalists Association,     12     Q. Dr. Donald Netherland?
   13   Southern Hospitalists Association, and they would ask    13     A. No.
   14   me to come and present my angle or view upon how we      14     Q. Dr. Peter Hercules?
   15   manage that here, and I would say probably, you know,    15     A. No.
   16   eight, 10, 12 times I would give a CME based on that     16     Q. And you haven't spoken with any of those
   17   topic.                                                   17   doctors in relation to your work in this case?
   18     Q. Were those in addition to the work you did for      18     A. No.
   19   Janssen in relation to Xarelto?                          19     Q. Do you know what reagent Southwest Mississippi
   20     A. Yes, they were. And a lot of these were also        20   Regional Medical Center uses to measure PT?
   21   given for new nurses at orientation about how we         21     A. No.
   22   implement the program. It was educational to our         22     Q. Okay. And have you attempted to find out in
   23   staff, not just our physicians but our nurses, PTs,      23   relation to your work in this case?
   24   OTs.                                                     24     A. No.
   25     Q. Have you ever traveled internationally to           25     Q. When is the last time that you've spoken to


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    1   anyone who is an employee of either Bayer or Janssen,     1          MR. VANZANDT: Okay. I'm just tying a knot on
    2   other than their lawyers?                                 2    it.
    3      A. Probably in the last two months. No. I'm            3        MS. HOFFMANN: Got it.
    4   trying to think. Maybe not. That was a different --       4   BY MR. VANZANDT:
    5   they may have a retail person that comes in and calls     5     Q. Have you ever been involved as an -- or have
    6   on our hospitalists group, but to be honest with you,     6   you ever been employed as an advisor to the FDA?
    7   I don't spend a whole lot of time. I don't know           7     A. No.
    8   whether it was a apixaban representative or argatroban    8     Q. Ever been involved with drafting, interpreting
    9   or whatever, so -- but probably in the last two months    9   or enforcing FDA regulations?
   10   it would have been in the form of a rep, retail.         10     A. No.
   11      Q. Were any employees of Bayer or Janssen present     11     Q. So you don't hold yourself out as an expert on
   12   at any of the meetings that you had preparing for this   12   FDA regulations?
   13   deposition?                                              13     A. No.
   14      A. No.                                                14     Q. And do you intend to offer any opinions as to
   15      Q. And have you spoken with any employee of Bayer     15   whether Janssen or Bayer complied with FDA regulations
   16   or Janssen regarding this litigation?                    16   in regards to Xarelto?
   17      A. No.                                                17     A. Not my area of expertise.
   18      Q. And as you sit here today, can you recall the      18     Q. Is that a no?
   19   names of any of the sales representatives from Janssen   19     A. No.
   20   who have called on you?                                  20     Q. Okay.
   21      A. No.                                                21     A. Yes, that's a no.
   22      Q. Have you ever --                                   22     Q. And have you ever been involved with
   23      A. A big tall guy from Mobile. His son goes to        23   designing, manufacturing, or marketing pharmaceutical
   24   Bayside Academy, you can look him up, but that's all I   24   products?
   25   know.                                                    25     A. No.


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    1     Q. That's about all you know?                           1     Q. And you're not holding yourself out as an
    2     A. That's about all I know.                             2   expert in any of those fields?
    3     Q. Have you ever been involved in conducting            3     A. No, sir.
    4   clinical trials for a pharmaceutical product?             4     Q. Have you ever been involved with drafting a
    5     A. No.                                                  5   label for a pharmaceutical product?
    6     Q. Have you ever been involved in designing             6     A. No, sir.
    7   clinical trials?                                          7     Q. Now, you are -- you're not a hematologist,
    8     A. No.                                                  8   correct?
    9     Q. And are you holding yourself out as an expert        9     A. That's correct.
   10   on clinical trials for prescription medications?         10     Q. Okay. Do you have any special training in the
   11         MS. HOFFMANN: In this case?                        11   field of hematology?
   12     Q. In this case.                                       12     A. No, sir.
   13     A. No.                                                 13     Q. And do you hold yourself out as an expert in
   14     Q. Do you consider yourself an expert on clinical      14   the field of hematology?
   15   trials outside of the context of this case?              15     A. No, sir.
   16     A. No.                                                 16     Q. Likewise, you're not a gastroenterologist?
   17     Q. Okay. And do you intend to offer any opinions       17     A. Correct.
   18   regarding Xarelto's clinical trials?                     18     Q. Have you ever performed an EGD on a patient?
   19     A. If asked, I'll talk about my knowledge of the       19     A. Yes.
   20   clinical trials, but I'm not selling myself as an        20     Q. You have?
   21   expert in trial evaluation and p-values.                 21     A. Yes.
   22         MS. HOFFMANN: And, Counsel, just for the           22     Q. How often do you do that?
   23     record, there is nothing in his report that            23     A. Oh, not in 20 years.
   24     addresses those kinds of opinions. We don't            24     Q. Okay.
   25     intended to offer him for those.                       25     A. In residency.


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    1     Q. You did it in residency. Gotcha.                     1     Q. Is that right? Okay.
    2     A. None in my current practice, nor am I insured        2        And how often would you say that you prescribe
    3   to do that.                                               3   anticoagulants?
    4     Q. Okay. And have you ever performed a surgical         4     A. If you include aspirin, Plavix, Lovenox, the
    5   procedure to treat an active gastrointestinal bleed?      5   NOACs, DOACs and Coumadin, on a weekly basis.
    6     A. No.                                                  6        You know, it's not just prescribing.
    7     Q. Okay. And so you do not hold yourself out as         7   Remember, we're hospital -- I'm a hospitalist, so
    8   an expert in the field of gastroenterology; is that       8   actually what I usually would do would be to continue
    9   correct?                                                  9   the medicines that they may be taking as an outpatient
   10     A. That's correct.                                     10   when they come, so it's managing their existing
   11     Q. Doctor, did you personally draft the report         11   medications.
   12   that you signed in this case?                            12     Q. If a patient comes in on one anticoagulant,
   13     A. My opinion part?                                    13   would you keep them on that same anticoagulant or
   14     Q. Yes, sir. Your -- the report, the entirety of       14   would you switch them to a different one? What would
   15   your report --                                           15   be your general practice in that area?
   16     A. Yes.                                                16     A. Sure. If a patient is doing well on a certain
   17     Q. -- did you personally draft that?                   17   anticoagulant, in my opinion, and it's the standard of
   18     A. Yeah, I wrote it and I may have had somebody        18   care, I think there is no reason to change.
   19   transcribe it in any office for me, but yes.             19        If a patient comes in and I think that their
   20     Q. Okay. You prepared the -- well, let me -- let       20   side effect risk/benefit ratio of let's say them being
   21   me -- let's do this.                                     21   on warfarin, but they also take three blood pressure
   22        If you could turn to page 7 of your report,         22   medicines that interact with that, I may suggest
   23   please, that's the page that has your opinions and       23   changing them to a different anticoagulant, but I'm a
   24   conclusions. Did you prepare and draft that page of      24   simple country doctor, and if it's working, I usually
   25   the report?                                              25   don't try to fix it.


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    1      A. Yes.                                                1        The other thing in hospitalists is, you know,
    2      Q. Okay. And the information leading up to that,       2   I don't want to upset the primary care doctor's
    3   on the first six pages of the report, did you prepare     3   applecart. If they have somebody on Coumadin for
    4   and draft the information that's in your report?          4   AFib, I trust that they are monitoring their time in
    5      A. Yes.                                                5   therapeutic range and that they think that's the best
    6      Q. Okay. Did counsel for Janssen or Bayer draft        6   medicine for them, but on occasion I will see a
    7   or edit any portions of your report?                      7   patient that I think needs to be on a different agent
    8         MS. HOFFMANN: Objection. You don't have to          8   and I will make that change.
    9      answer that.                                           9     Q. Okay. You've referred to vitamin K
   10      Q. Doctor, did you have any help preparing this       10   antagonist. Warfarin, Coumadin, those are all the
   11   report?                                                  11   same --
   12      A. Minimum. I mean, I did the -- if I had a           12     A. Yes, sir.
   13   misspelled word, they crossed it out, but no, there      13     Q. -- agent; is that correct?
   14   was -- this is my work.                                  14     A. Yes.
   15      Q. Okay. Based on what we've discussed so far,        15     Q. Okay. Have you prescribed warfarin to
   16   it's obvious that you prescribe anticoagulants in your   16   patients?
   17   practice; is that correct?                               17     A. Yes.
   18      A. Today.                                             18     Q. Do you still prescribe warfarin to patients?
   19      Q. Today. You prescribed an anticoagulant today?      19     A. Yes.
   20      A. Today.                                             20     Q. So you have -- do you have personal experience
   21      Q. Okay. What did you prescribe today?                21   with managing patients who are on warfarin?
   22      A. Apixaban.                                          22     A. Yes.
   23      Q. Apixaban. And that would be the name brand         23     Q. Okay. Do you have personal experience
   24   Eliquis?                                                 24   managing the, I guess, INR rates and ensuring that the
   25      A. Yes.                                               25   patient is within the proper therapeutic range; is


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    1   that correct?                                             1   surprise me if that's what a lot of folks are at when
    2     A. Yes.                                                 2   they take Coumadin or warfarin.
    3     Q. Okay. In your practice, what is -- what's an         3      Q. Do you have a way that you prefer to refer to
    4   acceptable target for percentage of time for a patient    4   it, Coumadin, warfarin?
    5   to be in therapeutic range?                               5      A. I'm a -- I like -- Coumadin is easier for me
    6         MS. HOFFMANN: Objection.                            6   to say.
    7     A. I think an exceptional target for time and           7      Q. Okay.
    8   therapeutic range varies by practice, but I would say     8      A. Just like Lovenox is easier for me to say.
    9   that if you are batting 75 to 80 percent in the           9      Q. All right. I'll try to use that then.
   10   primary care field, that you're doing well.              10         Okay. When you are going -- when you are the
   11         The -- for my job as a hospitalist, it's a lot     11   doctor who is actually going to initiate anticoagulant
   12   easier because I have the patients in the hospital       12   treatment for a patient with an acute DVT, how do you
   13   with me, so I can guarantee them that they are either    13   decide which agent to prescribe, whether that be --
   14   in therapeutic range or they're not because I test       14   well, all of the choices, basically. How do you
   15   them every day, as opposed to a clinician or a           15   decide what to prescribe to that patient?
   16   clinical physician in the primary care setting that      16      A. The first thing you do is you have to look at
   17   sends Ms. Smith home on Coumadin and brings that         17   the clot burden. If a patient has a voluminous amount
   18   patient back. We have the equivalent of DOT, direct      18   of clot in their upper or lower extremity, and you
   19   observed therapy, in our hospital, where they hand you   19   think they are going to need intervention, maybe like
   20   the Coumadin and it's almost 100 percent compliant, so   20   venous-directed thrombolytics, we try to stay away
   21   we're at a little bit of a competitive advantage.        21   from a medicine like a NOAC or a DOAC because you
   22     Q. So in your hospital, your compliant -- I mean,      22   don't want them instantly anticoagulated because we
   23   your patient's time in therapeutic range, are you        23   are going to go in there and poke their femoral vein
   24   saying it's 100 percent?                                 24   and try to give them direct thrombolytics.
   25     A. No, because remember, it takes three or four        25         So you look at the clot burden first.


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    1   days for the INR to get out.                              1        If I have a stable patient, again -- you're
    2      Q. Right.                                              2   just talking about DVT, correct, we're not going to
    3      A. So they could be on Coumadin while we're            3   talk about pulmonary emboli with this question?
    4   overlapping them with Lovenox or heparin product where    4     Q. Yeah, just DVT.
    5   their INR is subtherapeutic but climbing to the           5     A. Okay. So the only -- my main concern about
    6   therapeutic range.                                        6   the DV -- a simple provoked or unprovoked DVT is the
    7      Q. Okay. And for a primary care physician              7   clot burden and am I going to have to do an
    8   outside the hospital, do you believe 75 to 80 percent     8   intervention on this patient, and if I do, I would
    9   would be an acceptable time in therapeutic range?         9   rather do it when their blood is not thin.
   10      A. If you are batting 75 percent, I think -- now,     10        The second thing you do is you look at the
   11   I think if you ask a lot of physicians, they will tell   11   patient's med list and you look at drug-drug
   12   you I'm at 90 or 95, but I think realistically, 75       12   interactions that they're currently -- are they on six
   13   percent is a pretty good mark, in my opinion.            13   medicines that they can interact with.
   14      Q. Okay. Would 55 percent be an acceptable time       14        The third thing is, unfortunately or
   15   in therapeutic range?                                    15   fortunately, you look at their ability to obtain the
   16         MS. HOFFMANN: Objection.                           16   medication. Coumadin is much less expensive than
   17      A. It wouldn't be acceptable but it wouldn't          17   warfarin, so if I have a gentleman who lives below the
   18   surprise me, because there are so many variables with    18   railroad track who presents with a provoked DVT, I'm
   19   the use of warfarin or Coumadin that affect the INR      19   probably going to get a better chance of getting him
   20   that -- you're dealing with compliance, you're dealing   20   Coumadin than I am going to get him a NOAC or a DOAC.
   21   with dietary restrictions, you're dealing with med-med   21        And then, if I choose to use Coumadin, I
   22   drug interactions, but I know there are a lot of         22   usually will bridge that therapy because the Coumadin
   23   studies out there that they talk about what the true     23   will not knock your INR pro time out probably between
   24   time in therapeutic range is versus what it's not. At    24   48 and 72 hours. So we know that patient has those
   25   55 percent, I hope we can do better but it wouldn't      25   two to three days where they're exposed to propagation


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    1   of clot, if not pulmonary emboli. So for those            1   patients who are on Coumadin.
    2   patients I will overlap them with a heparin product.      2      Q. When is the last time that you've prescribed
    3   I think the standard of care has always been, up until    3   Xarelto to one of your patients? Initiated Xarelto,
    4   10, 12, 14 years ago, IV heparin and you bridge that      4   let me say that.
    5   to Coumadin.                                              5      A. Six, seven months, five, six, seven months.
    6         The low molecular weight heparins have allowed      6      Q. At this point in your practice is there --
    7   us to use them in a much safer environment. So,           7      A. I take that back.
    8   traditionally, what I would do is I would treat that      8      Q. I'm sorry.
    9   patient quickly once I know they are not going to go      9      A. Eight weeks ago I had a patient with portal
   10   to the lab to get intervened with a weight-based dose    10   vein thrombosis. I'm sorry.
   11   of Lovenox, 1 mg per kg twice a day or 1.5 once a day.   11      Q. They had what condition?
   12         And then 12 hours later I would start their        12      A. They had a clot of their liver vein and I
   13   first dose of Coumadin. That way they're covered,        13   chose to use it there, but in terms of presenting --
   14   fully anticoagulated within two or three hours of        14   prescribing it for DVT or PE, it's probably been a
   15   Lovenox, and then, hopefully, by day two or three,       15   couple of months. Now, I've seen it, obviously, as a
   16   their INR gets to 2 or above, where we can safely stop   16   patient coming in and presenting with an unrelated
   17   the Lovenox and discharge that patient on warfarin.      17   problem: "Yes, I had a DVT four months ago but now
   18         Then you look at patients who may be better        18   I'm here for pneumonia."
   19   candidates based on age, comorbidities, for the new      19         I've continued that treatment, but I want to
   20   paradigm shift in anticoagulation, which is in NOACs     20   make sure I'm accurate with telling about initiating
   21   and DOACs. So you talk to those patients about the       21   it.
   22   risks and benefits of this drug. Cost is obviously an    22      Q. Okay. In your practice currently, what
   23   issue, especially in our community, and BID dosing       23   anticoagulant do you prescribe the most?
   24   versus Q day dosing, dietary restrictions versus         24         MS. HOFFMANN: When he's initiating a
   25   nondietary restrictions, having to get coagulation       25      prescription?


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    1   tests versus not having to get coagulation tests, and     1     Q. When you are initiating patients on
    2   with your patient you should make an educated decision    2   anticoagulant therapy.
    3   about what's best for them long-term.                     3     A. That's a great question. Probably Lovenox,
    4         The last thing I'll talk about is the duration      4   because that's the initial bridge that we start a lot
    5   of the treatment, and that's not what you asked but       5   of patients on, because, remember, when we admit
    6   that's part of the equation too, is how long will this    6   somebody at the hospital with a PE or a DVT, the first
    7   patient be on an anticoagulant.                           7   12 hours I'm trying to figure out what their risk
    8      Q. Okay. For a patient that's on warfarin, you         8   factors are and what the best medicine for them is, so
    9   mentioned coagulation studies. Could you just --          9   probably Lovenox.
   10   well, let me ask you this. That's -- I mean, that's      10         In terms of my prescribing patterns for the
   11   part of managing a patient, the patient that's on        11   NOACs and DOACs, I don't know what the percentages
   12   warfarin, correct?                                       12   are. I couldn't give you really an honest answer on
   13      A. Yes.                                               13   that.
   14      Q. And you would run blood tests to measure their     14     Q. Okay. When you say you prescribe Lovenox, I
   15   INR and their PT; is that right?                         15   mean, is that just initially and then they would go on
   16      A. INR is a much more standardized test. I mean,      16   warfarin, or --
   17   pro time is nice. What the pro time will give me when    17     A. Right. So initially, you know, while we're
   18   I order it on the patient is it gives me a baseline of   18   digging through the clot burden and whether -- because
   19   what their coagulation cascade is. So a patient with     19   Lovenox's half-life is obviously shorter, while we're
   20   cirrhotic liver disease, their pro time may be           20   digging through the patient's insurance status, and
   21   prolonged but it's not because they took Coumadin.       21   that's a nasty thing to talk about but it is what it
   22   It's because they can't produce the clotting products    22   is, Lovenox is generic and it's inexpensive and it
   23   that keep their pro time normal.                         23   buys me some time to get to the right -- this
   24         So the International Normalization Ratio, or       24   is patients with huge clot burden.
   25   INR, is what I use 99.9 percent of the time for          25         Clearly, if somebody comes in and they have a


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    1   provoked DVT that barely extends above the knee and       1   some of the trials had a Lovenox bridge.
    2   they work at the shipyard and their wife is a             2     Q. Right.
    3   pharmacist, it's very clear that I think the best drug    3     A. I think Pradaxa did.
    4   for that patient, after talking to them, is probably a    4     Q. Right.
    5   NOAC or a DOAC. But I really couldn't tell you what       5     A. The trials that I'm familiar with, the
    6   percent I do for the two or three FDA approved agents.    6   EINSTEIN, did not have a Lovenox bridge, but I think
    7     Q. Why -- why do you say that would be clear that       7   that's the way it happens sometimes.
    8   a NOAC would be --                                        8         Sometimes our patients are admitted by the
    9     A. Because a lot of it depends on their --              9   emergency department and I will give a verbal order to
   10     Q. I'm sorry.                                          10   start on Lovenox because I'm busy, tied up in a
   11     A. I was alluding to the fact that they have           11   meeting or on the floor, and by the time I see the
   12   insurance, the fact that they are educated and the       12   patient, I realize that they may be a better candidate
   13   fact that they are compliant, alluding to the fact       13   for something different.
   14   that they can really understand a risk/benefit ratio.    14     Q. Okay. Let me ask it this way. What's -- what
   15         Here is a lot different practicing than            15   anticoagulant do you prescribe most for continued
   16   Austin, Texas, in terms of what we have to take into     16   treatment of the DVT? So kind of take Lovenox out of
   17   consideration when I treat -- you know, we call them     17   the picture.
   18   blood clots. Hey, blood clots, I'm going to know what    18     A. Sure.
   19   that is. "My grandmother died of a blood clot." They     19     Q. So if you start a patient on Lovenox, you
   20   know what that is.                                       20   know, after that, are -- if you're going to go to
   21         We have to -- we've got to take a lot of           21   warfarin or one of the NOACs -- I mean, between
   22   different things into consideration. Do I really         22   warfarin and one of the NOACs, what do you prescribe
   23   think that this patient that I'm going to prescribe      23   most for your patients?
   24   Coumadin to is going to show up next week to get their   24     A. I would say -- and this is just a guess, so
   25   INR drawn? They live in a tent or they're a shrimper     25   don't subpoena my prescription writing, but I would


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    1   that goes offshore for two weeks. I'm not sure --         1   say it's probably fifty-fifty between the NOACs and
    2   you've got to take all that into consideration.           2   DOACs and warfarin. And that's initiating therapy,
    3      Q. Okay. And so when I asked which anticoagulant       3   because I want to make it clear that if someone is
    4   you initiate patients on the most, you said -- you        4   successfully anticoagulated on warfarin and they come
    5   said Lovenox?                                             5   into the hospital for an unrelated illness, I'm not
    6      A. I would say, in fairness, probably so.              6   going to change the management of that patient.
    7      Q. Okay. And -- but that would include -- I            7     Q. And among -- among the NOACs, which agent do
    8   mean, that's Lovenox and warfarin; is that right?         8   you prescribe the most?
    9      A. Lovenox -- well, depends. It's Lovenox to be        9         MS. HOFFMANN: Objection.
   10   bridged to Coumadin.                                     10     A. I couldn't tell you. It's pretty -- it's
   11      Q. Okay.                                              11   pretty -- I would imagine pretty close between Xarelto
   12      A. If I think that's the best drug for them. Or       12   and -- you know, I used Pradaxa when it first came out
   13   it can be Lovenox for the first day and then I get to    13   because it was the first one that had some
   14   the patient and I realize that they had taken Coumadin   14   indications. I use Eliquis, I would say, you know, a
   15   before and they had no problems with their               15   fair amount of the time, but again, a lot of these
   16   anticoagulant status and that's a great drug to use.     16   patients I'm managing already come into me on these
   17   Maybe they have a recurrent DVT.                         17   agents, and in fairness to the patient, and the
   18         Or maybe I go in and see the patient six hours     18   primary care guys, I usually don't change their
   19   after the hospitalist that worked the night shift        19   management unless there is a reason.
   20   initiated Lovenox and I think they are a good            20     Q. Okay. And so as you sit here today, I mean,
   21   candidate in terms of whatever agent you want to         21   can you say one way or another which NOAC you
   22   choose, apixaban or Eliquis or Xarelto, and I feel       22   prescribe the most in your practice?
   23   very comfortable starting that.                          23         MS. HOFFMANN: Objection.
   24      Q. Okay. So after the initial Lovenox?                24     A. I think if you looked historically, I think it
   25      A. It's not -- yeah, some of the -- obviously,        25   would be Xarelto and Eliquis. Pradaxa, if you go back


                                                                                 23 (Pages 86 to 89)
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    1   real far, where they were the first one that was out,     1        MR. VANZANDT: It wasn't a question.
    2   I mean, that may have been up front.                      2        MS. HOFFMANN: I'll object to the statement.
    3      Q. Okay. Within the last year, which NOAC have         3        MR. VANZANDT: Okay.
    4   you prescribed the most?                                  4   BY MR. VANZANDT:
    5      A. Probably Xarelto.                                   5     Q. Doctor, are you aware -- are you aware of what
    6      Q. Are you aware of any laboratory tests that can      6   Xarelto label would have been in effect at the time
    7   measure Xarelto's anticoagulation effect on a             7   Ms. Mingo was prescribed Xarelto?
    8   patient's blood?                                          8     A. No.
    9      A. There is no clinical data to support a              9     Q. Okay. What I've handed you is the January
   10   correlation of anticoagulant with pro time and INR.      10   2015 Xarelto label.
   11   Obviously, there is a anti-X -- factor X test that you   11     A. So this is a PI?
   12   can get that's out there, and to be honest with you, I   12     Q. Yes, sir.
   13   don't know how long it takes for that lab to come back   13     A. Okay.
   14   in our organization, but -- I've really never ordered    14     Q. Yes, sir. Have you ever reviewed that version
   15   it but I know it's out there.                            15   of that label before?
   16      Q. Okay. Are you aware of whether or not pro          16     A. You know, I -- I may have. Not -- I didn't go
   17   time can be used to measure a Xarelto anticoagulation    17   out of my way to look at this label.
   18   level?                                                   18     Q. What's the most recent Xarelto label that you
   19         MS. HOFFMANN: Objection.                           19   have reviewed?
   20      Q. Strike that.                                       20     A. I mean, I'm sure I reviewed it, but to tell
   21         Are you aware of whether or not pro time,          21   you I reviewed it in detail would be -- may not be
   22   prothrombin time, can be used to measure Xarelto's       22   consistent.
   23   anticoagulant effect on a patient's blood?               23     Q. Okay. All right. If you could, turn to page
   24      A. In my experience and training and knowledge,       24   10 of that label, Section 5.7.
   25   there is not a direct correlation between the            25     A. "Risk of Pregnancy-Related Hemorrhage"?


                                                Page 91                                                       Page 93
    1   prothrombin time and the anticoagulative effect of        1     Q. Yes, sir.
    2   Xarelto.                                                  2     A. Okay.
    3     Q. Regardless of which reagent is used to               3     Q. Do you see the second full sentence in that
    4   measure pro time?                                         4   paragraph there? It states: "The anticoagulant
    5     A. To be honest, I'm not going to sell myself as        5   effect of Xarelto cannot be monitored with standard
    6   a reagent expert because that wouldn't be fair to you     6   laboratory testing nor readily reversed."
    7   or anybody else in the room. Am I aware of a              7         Did I read that correctly?
    8   Neoplastine reagent? Yes, I am. That's not what we        8     A. Yes.
    9   use in our organization. I'm the CMO, but, you know,      9     Q. Okay. Is that your understanding as to
   10   the thing that I think I'm the most aware of with the    10   whether or not the anticoagulant effect of Xarelto can
   11   Xa's is the antifactor Xa level, and I think those do    11   be monitored?
   12   have significant clinical relevance to your              12     A. Yes.
   13   anticoagulation state. I just don't think it's           13     Q. Okay. If you could, turn to page 18, Section
   14   readily available.                                       14   8.1. The third --
   15         (Roth Exhibit 11 was marked for                    15     A. She wasn't pregnant. I didn't miss anything,
   16   identification.)                                         16   did I?
   17   BY MR. VANZANDT:                                         17     Q. That may be a whole different case if she was.
   18     Q. Doctor, I'm going to show you what I'm marking      18         The third sentence of the first paragraph
   19   as Exhibit 11, which is the January 2015 Xarelto         19   states: "The anticoagulant effect of Xarelto cannot
   20   label. This is the label that would have been in         20   be reliably monitored with standard laboratory
   21   effect at the time that Ms. Mingo was prescribed         21   testing."
   22   Xarelto.                                                 22         Did I read that correctly?
   23         MR. VANZANDT: Do y'all want a copy?                23     A. Yes, sir.
   24         MS. HOFFMANN: Sure, and I'll object to the         24     Q. Okay. And does that, again, represent your
   25     question.                                              25   understanding as to whether or not the anticoagulant


                                                                                24 (Pages 90 to 93)
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    1   effect of Xarelto can be monitored?                       1     Q. Okay. Did Janssen test that in Xarelto's
    2         MS. HOFFMANN: With standard laboratory              2   clinical trials?
    3     testing.                                                3     A. I'm not aware of it.
    4     A. Yes. The only test that I'm aware of in my           4     Q. Are you aware of any data that was generated
    5   knowledge that would be an accurate reflection or a       5   in the ROCKET AF trials regarding correlation between
    6   better reflection of true anticoagulant status of a Xa    6   PT and Xarelto's anticoagulant level?
    7   inhibitor is antifactor Xa assay. I'll be honest with     7     A. Not my expertise level, so no.
    8   you, I never ordered that before, because it's a          8     Q. Have you ever reviewed the Xarelto label from
    9   send-out for us. So for me, if I'm worried about          9   Canada?
   10   that's going -- that's not going to affect how I take    10     A. No. I never practiced there.
   11   care of the patient. It may be available at UAB or       11     Q. What about the Xarelto product label or
   12   Ochsner or one of the big guys, but --                   12   information from Europe?
   13     Q. So you wouldn't consider factor Xa to be a          13     A. No.
   14   standard laboratory test?                                14     Q. Okay. What about New Zealand?
   15     A. No.                                                 15     A. No.
   16     Q. Okay. And when you say you have to send out         16     Q. Okay. Okay. Anywhere in your report have you
   17   for it, you have to send it outside of the hospital      17   stated that any doctor, nurse, or other healthcare
   18   for another company to do it?                            18   provider who treated Ms. Mingo departed from the
   19     A. Yeah. It's kind of like some of the other lab       19   standard of care?
   20   tests, that they are drawn and they're prepared, but     20     A. In her entire medical record?
   21   they are sent out to the place that has the right        21     Q. In her treatment related to her DVT, Xarelto,
   22   tubes or testing or whatever to run that test, as        22   and the treatment of her --
   23   opposed to like a simple blood test, like a chemistry    23     A. They were things --
   24   level potassium that's back in six minutes that we       24     Q. I'm sorry. Let me finish that.
   25   run.                                                     25     A. Go ahead.


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    1      Q. How long would it take to get a factor Xa test      1     Q. Any of her treatment related to the issues in
    2   back if you sent out for one?                             2   this case, so from the DVT prophylaxis that she had
    3      A. You know, I can't answer that question, I           3   after hip surgery, the treatment of her DVT, and
    4   don't know, but I would --                                4   leading up to her GI bleed and the treatment of the
    5         MS. HOFFMANN: Don't guess.                          5   bleed.
    6      A. From what I've read, it's three to four hours       6         MS. HOFFMANN: Just a minute. I want a
    7   even if you do it in-house, but I don't know how long     7     clarification. You started the question out,
    8   it would take if I have to send it to the AEL lab. I      8     Counsel, I think if we read it back, by saying is
    9   don't know.                                               9     there anywhere in your report.
   10      Q. Okay. Where would that lab be that you would       10         So your question -- I just want to make sure
   11   send that out to here?                                   11     your question and his answer are the same.
   12      A. I'm not sure where our reference lab is. We        12         You're asking if in his report he has rendered
   13   have two contracts with -- I don't know where they       13     an opinion about anybody deviating from the
   14   actually Fed Ex or send the sample to.                   14     standard of care?
   15      Q. Okay. Have you ever seen or reviewed any data      15         MR. VANZANDT: That's correct.
   16   that indicates that PT can be used to measure the        16     A. The answer to that is no, not in my report.
   17   anticoagulant effect of Xarelto?                         17     Q. Okay. Well, outside of your report do you
   18      A. Not reliably, no.                                  18   have an opinion that any of her healthcare providers
   19      Q. Okay. Why do you say that, not reliably?           19   deviated from the standard of care?
   20      A. Any factor Xa inhibitor can affect the             20         MS. HOFFMANN: Objection.
   21   prothrombin time, but whether or not that's a direct     21     A. There are some things that I would have done
   22   correlation to their anticoagulation level has never     22   differently, but to say they are outside the standard
   23   been shown to be effective.                              23   of care, whether or not someone receives a certain
   24      Q. Okay. Do you know if that's ever been tested?      24   duration of DVT prophylaxis versus an aspirin, there
   25      A. No.                                                25   is data to support that as well as data to support


                                                                                25 (Pages 94 to 97)
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    1   what I think is the best. You know, there is more         1   replacing to correct that. So the fact that she had a
    2   than one way to skin a cat.                               2   prothrombin time that was prolonged most probably
    3         So do I think there is a strong deviation from      3   because of the Xarelto and the timing of that dose,
    4   the standard of care? No.                                 4   FFP is not going to be the quickest thing to correct
    5         If you are asking me would I have managed her       5   that.
    6   discharge DVT prophylaxis differently, because of the     6         You know, I just -- in my -- that's not a
    7   protocol we use, yes. Is it outside the standard of       7   standard of practice for us, or for my group.
    8   care? No. It's a 1B recommendation versus a 1A.           8         There is also different transfusion
    9     Q. Okay. And you're referring to the DVT                9   guidelines. Blood is expensive and it's not without
   10   prophylaxis that she had after her hip replacement       10   risks. In fact, if you look at a lot of the Canadian
   11   surgery; is that correct?                                11   and Australian data recently, you are better off the
   12     A. Yes.                                                12   less you are transfused. So we actually have
   13     Q. What would you have done differently?               13   transfusion guidelines for hematocrits. Unless they
   14     A. I would have counseled her because of her --        14   are unstable or below 21, hematocrit of 21, we try not
   15   some of her other risk factors, that -- I would have     15   to utilize that resource.
   16   prophylaxed her for a total of 30 days. I'm an           16         Do I think she needed to be transfused? I
   17   old-timer, so I believe, you know, Lovenox and           17   think so. Do I think she needed four units? Maybe
   18   Coumadin for a goal INR of 2 to 2.5 probably would       18   not. Maybe that would have saved some resources.
   19   have been a good way to start.                           19         But overall, I think she got very good care at
   20         I also would have offered her one of the NOACs     20   King's Daughter. I think that's where she was.
   21   or DOACs as an inpatient for the orthopaedic             21     Q. Is it your opinion that her PT was prolonged
   22   prophylaxis for total hips and total knees. I don't      22   because of Xarelto?
   23   remember exactly what she got but I think it was         23     A. I would have to assume. I mean I --
   24   Lovenox for a couple days after discharge and then       24     Q. Well, let me phrase this, I'm sorry, because I
   25   aspirin after that, and, you know, that's just not my    25   don't want to ask a vague question.


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    1   protocol that I think is the best protocol for certain    1         When she comes in on January 23rd for the GI
    2   patients.                                                 2   bleed --
    3     Q. Okay. Are there any other areas of her               3         MS. HOFFMANN: No. You've got your dates
    4   treatment that you disagree with or would have done       4     wrong. Start over.
    5   differently?                                              5         MR. VANZANDT: You're right, February 13th.
    6     A. This is -- I don't want to be critical of the        6     Q. When she comes in on February 13th for the GI
    7   care. I think she got great care from McComb,             7   bleed, is it your opinion that on that day her PT was
    8   Mississippi, and she would have got the same care         8   prolonged due to the Xarelto?
    9   here. You know, I probably wouldn't have ordered the      9         MS. HOFFMANN: Objection.
   10   bleeding scan and I probably wouldn't have used fresh    10     A. I think her PT could be prolonged for numerous
   11   frozen plasma, because that's not the mechanism of why   11   reasons. I have no evidence to think that she had
   12   her prothrombin time was out. So she got some FFP she    12   cirrhosis or underlying liver disease, but that PT
   13   may not have needed.                                     13   value in no way, shape or form would have been a
   14         I probably wouldn't have transfused her four       14   direct reflection of her status of anticoagulation,
   15   units because the transfusion criteria, in my opinion,   15   because the mechanism of her prothrombin time being
   16   were a little bit high there.                            16   prolonged is different in factor Xa inhibitors than it
   17         But overall, I think she got very quick care       17   is in warfarin, where an INR is a much more consistent
   18   in all of her visits, and she had very quick             18   test to be done.
   19   turnaround on her ultrasounds. The endoscopist was       19         So if -- first I would have asked, "Do you
   20   skilled and I think their care was standard.             20   take Coumadin?" And, obviously, the answer to that is
   21     Q. When you say that you wouldn't have given her       21   no, I don't think she was exposed to Coumadin, but I
   22   fresh frozen plasma because her -- that's not why her    22   would ask that question even if that wasn't on her
   23   PT was out --                                            23   medication list, because the most common thing to
   24     A. The mechanism of why you give someone fresh         24   prolong your INR or PT is Coumadin or underlying liver
   25   frozen plasma is based on what factors you're            25   disease.


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    1     Q. All right. So to your knowledge, she didn't          1   opinions and conclusions, if you will look at C, you
    2   have any underlying liver disease?                        2   say: "Ms. Mingo's slowly oozing gastric ulcer..."
    3     A. To my knowledge, no.                                 3         And what are you referring to when you say
    4     Q. Okay. So what other factors could have caused        4   that?
    5   her PT to be elevated to 26.2 on February 13th?           5     A. So in looking at her records and looking at
    6        MS. HOFFMANN: Objection.                             6   her progression, I think that she had a gastric ulcer
    7     A. There is a condition called shocked liver.           7   for a while. I don't think that it all of the sudden
    8   When a patient comes in, trauma, low blood pressure,      8   blew up on the day that she presented with the
    9   sepsis, infection, and they have blood pressures in       9   endoscopy visit.
   10   the 60s and 70s over 50s, and normal is 120 or 130,      10         She had a presentation when she was hemo
   11   where you could have some hepatic ischemia or lack of    11   positive, although her hematocrit or hemoglobin hadn't
   12   blood flow, which can prolong your pro time or your      12   changed very much, and -- hemo positive is a stool
   13   INR. And then you get to the really rare things, like    13   test that tested positive for blood. And they did a
   14   Tylenol ingestion.                                       14   bleeding scan that was negative, but they did a rectal
   15        Could any patient -- I'm not -- and I'm             15   exam, I assume, and she was seen positive. That's
   16   insinuating that Ms. Mingo took a bunch of Tylenol,      16   when she got referred to gastroenterology.
   17   but, you know, Tylenol has a direct effect on            17         So I would have to assume that unless she had
   18   prothrombin INR and Tylenol toxicity.                    18   a nosebleed that we didn't know about, that that
   19        I don't think she ate a bunch of mushrooms.         19   was -- that ulcer was probably maybe slowly oozing at
   20   That's another thing that can cause prolonged PT.        20   that time.
   21        And then hepatic ingestion or heart failure,        21     Q. Okay. So, I mean, when you say "slowly oozing
   22   where your liver is actually filled up with fluid, can   22   gastric ulcer," I mean oozing means bleeding, right?
   23   affect your liver's ability to metabolize those          23     A. Yes, and there's a clinical difference between
   24   proteins.                                                24   a ulcer that's present and it has a sheen of blood
   25        But I would ask the obvious question first:         25   over it, versus an ulcer that has a vessel that's


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    1   "What medicines are you on?"                              1   spitting out blood every time your heart beats. So
    2     Q. Are there any indications or evidence in             2   there is a big distinction between what I call a
    3   Ms. Mingo's records that she took Tylenol or that any     3   gastrointestinal hemorrhage, that makes you think
    4   of those other factors that you just described were in    4   blood is shooting everywhere, versus a GI bleed.
    5   play for her?                                             5   There are GI bleeds that people live with for months.
    6     A. Other than the fact that I think she was             6     Q. Okay. So although you've referred to
    7   taking Norco, which contains acetaminophen, the answer    7   Ms. Mingo's bleed as a slowly oozing gastric ulcer, I
    8   to that is no.                                            8   mean, you agree that she did have a GI bleed?
    9        MS. HOFFMANN: Can we take a break?                   9     A. Yes.
   10        MR. VANZANDT: Yeah. Sure.                           10     Q. Okay. Where did you get the language "slowly
   11        MS. HOFFMANN: It's about time.                      11   oozing gastric ulcer," I mean where in Ms. Mingo's
   12        THE VIDEOGRAPHER: It's 5:55 p.m. We are off         12   records?
   13     the record.                                            13     A. That's my words. I see patients like her
   14        (Recess from 5:55 p.m. until 6:01 p.m.)             14   routinely and her presentation is not atypical.
   15        THE VIDEOGRAPHER: This begins Disk 3 of             15   Ulcers don't happen overnight and there are certain
   16     today's deposition. The time now is 6:01 p.m.          16   causative factors that she had risk factors for and
   17        We are back on the record.                          17   that's kind of where I used the term, or how I used
   18   BY MR. VANZANDT:                                         18   the term, I should say.
   19     Q. Dr. Roth, does the term "GI bleed" or               19     Q. Okay. If you look at page 2 of your report,
   20   "gastrointestinal bleed" appear anywhere in your         20   at the very last sentence before you get to the venous
   21   report in this case?                                     21   thromboembolism section, it says: "I offer the
   22     A. Now, I commented on Ms. Gas -- Ms. Mingo's          22   opinions in this report to a reasonable degree of
   23   gastric ulcer, but not the term "gastrointestinal        23   medical certainty."
   24   bleed."                                                  24         What do you mean by that statement,
   25     Q. Okay. On page 7 of your report, with your           25   "reasonable degree of medical certainty"?


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    1     A. That my opinions will be based on what I think      1   information come from?
    2   a reasonable physician with my similar training would    2     A. From my knowledge, but I'm pretty sure that's
    3   do and prescribe and authorize this patient to be        3   the latest from the ACCP guidelines, which I'm very
    4   taken care of. I think this is about comparing them      4   familiar with. Did I review them for this? No, but
    5   to what I think is a reasonable degree of certainty      5   that's probably where I got that from.
    6   and compatible to my training.                           6         So what that says or what that means is
    7     Q. And is that term, reasonable degree of medical      7   patients who have total hips or total knees that are
    8   certainty, something that you use in your clinical       8   appropriately thromboprophylaxed, it's very
    9   practice?                                                9   statistically significant that they are not going to
   10     A. I think it's almost interchangeable with           10   have morbidities associated with pulmonary emboli if
   11   standard of care.                                       11   they're prophylaxed appropriately.
   12     Q. If you could turn to page 3, the top               12     Q. Okay. Those ACCP guidelines, are you relying
   13   paragraph, the first full sentence on the page,         13   on those guidelines in forming your opinions in this
   14   starting with "Ninety percent," it says: "Ninety        14   case?
   15   percent of the cases of acute pulmonary emboli are      15     A. It's just part of my knowledge base and
   16   emboli that started in the proximal basal lower         16   practice.
   17   extremities."                                           17     Q. If you could turn to page 4, the last sentence
   18     A. Right. There may be one type, basal, but           18   of the first paragraph: "Anticoagulation therapy is
   19   basilar, but bottom line is -- so ask your question.    19   indicated for patients with proximal, symptomatic deep
   20   I'm sorry.                                              20   vein thrombosis, because pulmonary embolism will occur
   21     Q. Okay. Where -- what's your source for that         21   approximately 50 percent of the time if the individual
   22   information?                                            22   remains untreated."
   23     A. That's probably either from Harrison's             23         Where did you -- where does that data come
   24   Textbook of Medicine, it could be from just my          24   from, that pulmonary embolism will occur approximately
   25   experience in knowing those numbers. I have a           25   50 percent of the time?


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    1   subscription to several things on the Internet, but      1     A. Probably the same thing, I mean, one of the
    2   that's -- that's just the data. I think you'd look       2   textbooks that I had in my office, maybe from the
    3   -- you could Google it. You could look at, you know,     3   ACCP, my own experience, but that number is a pretty
    4   Harrison's. You could look at John Fordtran's book on    4   standard number. I mean, it may be 48 percent in one
    5   GI medicines, another book that I use often.             5   book and 52 percent in UpToDate, which is a -- but
    6      Q. Okay. I mean, as you -- as you sit here            6   that's a pretty standard number.
    7   today, do you know exactly where that data came from?    7     Q. Okay. But that data is not included in any of
    8      A. Probably either Fordtran's GI book, he was my      8   the documents that you list on Exhibit B of your
    9   department chair when I trained at Baylor, I have his    9   report?
   10   book; UpToDate. I really can't tell you but I think     10     A. Because I didn't use that data to --
   11   it's a pretty standard number.                          11   specifically with this case. I use that data to take
   12      Q. Okay. And those -- and those items where the      12   care of patients like whatever -- Ms. Mingo every day.
   13   information may have come from is not listed on         13     Q. Okay. And if you turn to page 6 of your
   14   Exhibit B of your report, is it?                        14   report now, the third full paragraph that starts
   15      A. Well, it's because it's based on my knowledge     15   with "On February 12," the second sentence reads: "On
   16   that I've used for 20 years of practicing               16   February 13, 2015, nurse practitioner Zachary of
   17   hospital-based medicine and not preparing for this      17   Dr. Gholson's office arranged for Ms. Mingo to have
   18   document.                                               18   medical admission to Southwest Mississippi Regional
   19      Q. Bottom of page 3, next to last paragraph, the     19   Medical Center."
   20   last sentence says: "Without thromboprophylaxis,        20         What do you mean by that the nurse
   21   perioperative mortality from pulmonary embolus occurs   21   practitioner arranged for Ms. Mingo to have medical
   22   in 2-3 percent of patients. With thromboprophylaxis,    22   admission?
   23   that percentage drops to 0.1."                          23     A. If my memory is right, I think her hematocrit
   24      A. Yes.                                              24   and hemoglobin dropped prior to when she was going to
   25      Q. Where -- I mean, what does that data and          25   see the gastroenterologist, and that triggered them to


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    1   contact Ms. Mingo that her blood level had dropped,      1     Q. Okay. Then you say, in Section A, that:
    2   and I would imagine that this nurse practitioner         2   "Xarelto, in a therapeutic dose, was an appropriate
    3   called the ER and said this patient is coming over       3   choice for treatment of Ms. Mingo's deep vein
    4   with a low H & H.                                        4   thrombosis."
    5     Q. Okay. So, I mean, Ms. Mingo did go to the           5         What is your basis for that opinion?
    6   emergency room, correct?                                 6     A. Personal experience.
    7     A. Yes. Yes.                                           7     Q. What is -- what is a therapeutic dose of
    8     Q. And then she ended up being admitted into the       8   Xarelto?
    9   ICU, correct?                                            9     A. I guess maybe I should have said an
   10     A. Correct.                                           10   appropriate or FDA-approved dose. Believe it or not,
   11     Q. Okay. And you don't disagree with either one       11   people will write medicines all the time and use the
   12   of those statements?                                    12   wrong dose, and, you know, Xarelto's -- and as well as
   13     A. No, sir.                                           13   apixaban, their dosing interval is different for DVT
   14     Q. Okay. Let's turn to page 7, the page with          14   versus AFib, versus prophylaxis, versus treatment. So
   15   your opinions and conclusions.                          15   I guess I meant more of an appropriate dose, the dose
   16        In Section A there you state -- and I'm not        16   that's -- was FDA approved, which was what she was
   17   going to read the entire statement there, but the       17   prescribed.
   18   second sentence there says: "This regimen failed."      18     Q. Okay. So your Opinion A, you're saying that
   19        And are you -- are you referring to the            19   Xarelto -- I mean, she received an -- a proper
   20   prophylaxis of Lovenox and aspirin 325?                 20   FDA-approved dose of Xarelto?
   21     A. Yes, should be considered a treatment failure.     21     A. Yes, sir.
   22     Q. Okay. And is there any evidence that               22     Q. Is that what you mean?
   23   Ms. Mingo developed a DVT while she was taking          23     A. Yeah.
   24   Lovenox?                                                24     Q. Okay. Well, I mean, since you used the word
   25     A. No.                                                25   "therapeutic dose," what is a therapeutic dose of


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    1      Q. Okay. And so is there any evidence that the        1   Xarelto?
    2   Lovenox failed?                                          2         MS. HOFFMANN: As opposed to a prophylaxis
    3      A. Her clear provoking factor for her DVT was her     3     dose?
    4   orthopaedic surgery, and the regimen that they chose,    4     Q. I just want to know what a therapeutic dose of
    5   for whatever reason, did not prevent the embolism --     5   Xarelto is.
    6   I'm sorry, the DVT from happening.                       6         MS. HOFFMANN: Okay.
    7         So whether it was a Lovenox failure versus an      7     A. So, you know, Xarelto has different
    8   aspirin failure -- because you can't pinpoint when       8   indications. So the dose of Xarelto for DVT
    9   this DVT began to propagate. Was it post-discharge       9   prophylaxis status post-hip or knee is a different
   10   Day 6, 7, 10, 12? We don't know that, unless you know   10   dose than it is for DVT with or without PE.
   11   something I don't know.                                 11     Q. Okay. So for someone with an acute DVT like
   12         So to say it was an aspirin or a Lovenox          12   Ms. Mingo, what is a therapeutic dose of Xarelto?
   13   failure, I think both would be inaccurate. To say       13     A. The appropriate dose that's FDA approved is 20
   14   that whatever they were given did not work to prevent   14   twice a day for the first 21 days.
   15   it would be accurate.                                   15         THE WITNESS: Is that right?
   16         MS. HOFFMANN: Doctor, just a clarification:       16         MS. HOFFMANN: No.
   17      You said "inaccurate"?                               17     A. It's 15, 15 twice a day and then 20 a day
   18         THE WITNESS: Correct.                             18   after day 21.
   19         MS. HOFFMANN: Okay. I just wanted to make         19         MS. HOFFMANN: Let's do it again.
   20      sure.                                                20     A. And then you've got 5 milligrams for apixaban,
   21   BY MR. VANZANDT:                                        21   2.5 -- there you go.
   22      Q. Well, a patient can, I mean, develop a DVT        22         MS. HOFFMANN: You need your Hippocrates or
   23   even if they are being treated with an anticoagulant;   23     whatever it is. Let's -- let's do that again.
   24   is that correct?                                        24     What is --
   25      A. Yes.                                              25   BY MR. VANZANDT:


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    1     Q. The -- right. So you said the FDA-approved           1     Q. Okay. I mean, as a doctor who prescribed
    2   dose of Xarelto for a patient with acute DVT --           2   Xarelto to patients, how can you ensure that the
    3     A. Is 15 milligrams twice a day for the first 21        3   dosage you prescribe to that patient is a proper
    4   days, which was what she was prescribed.                  4   dosage for that specific patient?
    5     Q. That's the FDA-approved dose that's in the           5         MS. HOFFMANN: Objection.
    6   label, correct?                                           6         MS. CONKLIN: Objection.
    7     A. Yes.                                                 7     A. I practice based on the guidelines that are
    8     Q. But is that a therapeutic dose for Ms. Mingo?        8   put in front of me and I'm held to the standard of a
    9         MS. HOFFMANN: Objection.                            9   community-based internist who practices hospital-based
   10     A. I think it's the right dose.                        10   medicine, and the trial -- I'm not going to get into
   11     Q. Okay. And what's that based on?                     11   that because -- but it's clear to me that this lady's
   12     A. The FDA's data that says that's the dose that       12   dose of Xarelto for her condition was appropriate.
   13   was tested for this lady or this condition.              13         I guess, to answer your question too,
   14     Q. I mean, is that a therapeutic dose for anyone?      14   therapeutic as opposed to nontherapeutic would tell me
   15     A. It's the FDA-approved dose for this patient.        15   that I underdosed or overdosed somebody. She had --
   16     Q. Okay. I mean, would that same dosage be a --        16   she was given the appropriate dose for her diagnosis,
   17   be therapeutic for a 30-year-old male who weighs 250     17   both in duration and in milligrams. Those are the two
   18   pounds?                                                  18   parameters.
   19         MS. HOFFMANN: Objection.                           19     Q. She was given the dosage that is FDA approved
   20     A. Yes.                                                20   and is included in Xarelto's label; is that correct?
   21     Q. And that same exact dose would be therapeutic       21     A. Correct.
   22   for a 67-year-old female who weighs 90 pounds?           22     Q. How can you as a prescribing physician
   23         MS. CONKLIN: Objection.                            23   determine whether that dosage sufficiently
   24     A. As long as there is no other comorbidities or       24   anticoagulates a patient's blood or overanticoagulates
   25   reasons to change the dose, the answer to that is yes.   25   a patient's blood?


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    1      Q. I mean, are there certain populations, certain      1         MS. HOFFMANN: Objection.
    2   people who respond differently to Xarelto?                2         MS. CONKLIN: Objection.
    3         MS. HOFFMANN: Objection.                            3     A. We, as prescribing physicians, are quite aware
    4      A. I mean, that's not what I came here to talk         4   that there is not a reliable or accessible way to
    5   about, but, you know, there are very few reasons I        5   evaluate the anticoagulation effect of the factor Xa
    6   would not use this drug: In dialysis patients, a          6   drugs, but the fact that every meta-analysis that
    7   600-pound bariatric patient may need a different dose,    7   compared all these drugs showed the bleeding to be
    8   but I think -- I never met this patient but she           8   less when you look at it across the trial, then there
    9   appeared to fall within the two parameters that -- I      9   can -- then Coumadin, not head-to-head the NOACs and
   10   think the dose that was prescribed to her for her DVT    10   DOACs, but comparing the warfarin, I think we feel
   11   was the appropriate dose.                                11   very safe as a prescribing physician that's not
   12      Q. Now, you said two parameters. What are those       12   involved in clinical trials that the FDA has done
   13   parameters?                                              13   their homework and I'm going to write that drug as
   14      A. I meant treatment and the dosing. So, you          14   outlined by them and that's what I think this
   15   know, in the -- there are cases I've seen in my own      15   practitioner probably did.
   16   group where it's prescribed incorrectly, where           16     Q. Certain patients respond to certain
   17   somebody will say, "Well, it's 20 milligrams. I'll       17   medications differently; is that correct?
   18   just give it once a day," or "I'm just going to give     18         MS. HOFFMANN: Objection.
   19   the 15 milligrams."                                      19         MS. CONKLIN: Objection.
   20         We know that those first 21 days, these            20     A. I'm sure they do.
   21   patients need the dose that's FDA approved. They did     21     Q. I mean, do they? Can one patient have a
   22   it for a reason. Those patients are more likely to       22   different response to a particular medication?
   23   extend and propagate their clot in those first 21        23     A. Sure. Some bodies are allergic to penicillin
   24   days. So that's the appropriate dose for this            24   and some people aren't. That's a true statement.
   25   patient.                                                 25     Q. Okay. And is that the case for warfarin? So


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    1    do patients' blood respond differently to warfarin?        1   DOACs. If you stop them, within X number of hours
    2       A. You know, if they have severe underlying liver       2   they will not be anticoagulated anymore. They are at
    3    disease or they have taken medicine that interacts         3   risk.
    4    with them, but usually it's pretty consistent. So I        4     Q. So you said you would just remove the patient
    5    can get somebody's INR out in about the same time          5   or stop warfarin for that patient?
    6    frame whether I'm treating you or you.                     6     A. I would tell them to hold your Coumadin today
    7       Q. Right. And how do you get them in a                  7   and tomorrow, repeat your INR and let's see where
    8    particular INR range with warfarin?                        8   you're going.
    9       A. You know, I start them at a certain dose,            9     Q. Okay. And would you reinitiate the warfarin
   10    let's say it's 5 milligrams or 7 milligrams. Warfarin     10   at any point?
   11    doesn't have clearly defined dosing parameters like       11     A. Sure.
   12    the NOACs or DOACs, at least two agents do, Eliquis       12     Q. Or just remove them completely?
   13    and Xarelto. A lot of that is dependent on the            13     A. No. I would get them back on once I thought
   14    patient's response and their medicines, are they on       14   -- you know, I'd look into why they all the sudden
   15    anything else that could prolong their INR or their       15   bounced their INR out. I mean, you know, did you
   16    pro time.                                                 16   change your diet? Did you get put on Cipro? What did
   17       Q. So for a patient on warfarin, you would             17   you do to bounce it up?
   18    measure their INR and based on that result -- I mean,     18         But, yeah, if it's -- if they were having no
   19    if -- say that their INR was below the therapeutic        19   problems with it, I could put them back on.
   20    range. What would you do for a patient on warfarin?       20     Q. When you put them back on it, would you put
   21       A. Well, it depends. If it's Day 2, nothing.           21   them back on it at a lower dose?
   22       Q. Okay.                                               22     A. Depends. If they come back in the therapeutic
   23       A. If it's Day 20 and they are still not out,          23   range and they tell me that, you know, they took two
   24    then I would increase the dose.                           24   pills a day or I find other reason, that same dose may
   25       Q. Okay. And if it's Day 20 and a patient is           25   be fine.


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    1   above the therapeutic range for warfarin, what would        1     Q. Okay.
    2   you do?                                                     2     A. Or, obviously, I could reduce it too, but I
    3     A. Depends what range they are in. I mean, if             3   don't think that's always the thing to do.
    4   they are 3, I would do nothing. If they are 22, then        4     Q. I mean, is there ever a situation to where you
    5   I would do something. That's totally patient to             5   reduce a patient's dosage of warfarin?
    6   patient.                                                    6         MS. HOFFMANN: Objection.
    7     Q. If a patient is above the therapeutic range to         7     A. Yes.
    8   an extent that it concerns you, what -- how do you --       8     Q. Okay. And what -- what circumstances would
    9   how do you respond for that?                                9   lead you to do that?
   10        MS. HOFFMANN: Objection.                              10         MS. HOFFMANN: Objection.
   11     A. I'd probably --                                       11     A. If a patient comes in with, you know, an INR
   12        MS. HOFFMANN: Go ahead.                               12   that's extended and I think they're at risk, then I
   13     A. I'd probably discontinue the drug for a day or        13   will just tell them, you know, we're going to -- we're
   14   two, repeat the INR later, you know, repeat the INR at     14   going to hold it or we're going to decrease your dose,
   15   a different -- at a set time.                              15   but that's based on, you know, very standardized lab
   16     Q. Would you continue the patient on the same            16   testing of the drug that's not out there with some of
   17   exact dose?                                                17   the other anticoagulants.
   18     A. I said I'd -- I said I'd discontinue it.              18     Q. And so for Xarelto, for instance, you don't
   19     Q. Discontinue the medication altogether?                19   have that ability to test the patient's anticoagulant
   20     A. Uh-huh, because they are already                      20   level to see if they are within the proper range; is
   21   anticoagulated. It's different with Coumadin, as           21   that correct?
   22   opposed to the NOACs and DOACs. Coumadin will -- they      22     A. There is not a consistent and accessible
   23   will remain therapeutic for two or three days if           23   parameter that we can track with the factor Xa
   24   they're super therapeutic, so they are not exposing        24   inhibitors, but the beauty of the drugs is the studies
   25   them to any more risk, as opposed to the NOACs and         25   were done that you don't have to track them. I mean,


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    1   they're much more consistent, they're much cleaner       1    you have at your hospital, if you had information
    2   drugs, there is much less drug interactions, and I       2    indicating that PT measurements with those tests could
    3   think the FDA had the confidence to approve the drug     3    be used to indicate whether a patient is properly
    4   without it having a, quote, unquote, monitoring          4    anticoagulated on Xarelto, would you have used those
    5   system, and that's how we prescribe it.                  5    tests to do that?
    6      Q. But as a prescriber, you prescribe Xarelto at      6          MS. HOFFMANN: Objection.
    7   the dosage indicated on the label and that's the only    7          MS. CONKLIN: Objection.
    8   way you know if that patient is in a therapeutic         8      A. I would be much better off if it was more like
    9   range?                                                   9    an INR, which was standardized across the labs, and
   10      A. If they are compliant. You know, obviously,       10    not a prothrombin time.
   11   if, you know, if they present 10 days after their       11      Q. I mean, would you -- would you use pro time to
   12   treatment and they are having nosebleeds, I want to     12    measure a patient if --
   13   know how they're taking their medicine. The same        13      A. Probably not. I'd probably want -- I'd want
   14   thing is if they would present 10 days after therapy    14    the standardization across the threshold of an INR
   15   with an extension of their DVT, I'd want to know if     15    before a prothrombin time, but if there was a
   16   they are being compliant.                               16    consistent way that showed a linear correlation
   17         So you monitor them. You monitor them             17    between the anticoagulative effect of any drug that's
   18   clinically: How are you doing? How do you feel? Are     18    been through the rigorous processes to get approved,
   19   you coughing up any blood?                              19    would I use it? Yes.
   20         I mean, you don't have to have a lab test to      20      Q. If Xarelto's label included -- I'm sorry. Do
   21   tell whether somebody is responding to the medicine.    21    you need to take that?
   22   Maybe you repeat the ultrasound and the clot is         22      A. Nope. It's about basketball.
   23   dissipating, then you'd have to presume they are in     23      Q. If Xarelto's label included instructions on
   24   therapeutic range, it's doing its job.                  24    how to use PT to measure the anticoagulation rate of
   25      Q. So the only way you could tell if a patient is    25    Xarelto, along with the range of what the PT should be


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    1   having a problem with Xarelto, if they are too --        1   for a patient to be properly anticoagulated on
    2   overanticoagulated would be if they show up with some    2   Xarelto, would you order PT tests for your patients on
    3   kind of adverse event?                                   3   Xarelto?
    4        MS. HOFFMANN: Objection.                            4        MS. HOFFMANN: Objection. Objection.
    5        MS. CONKLIN: Objection.                             5     A. There is no clear data to support that
    6     A. Or I could send a -- what I think is only a         6   following a prothrombin time is going to give you an
    7   reliable test, which would be an antifactor Xa, which    7   accurate reflection of a patient's anticoagulation
    8   would not come back to give me, really, any real help    8   status on a factor X inhibitor, so, you know, maybe
    9   in my practice for a day or two or three.                9   you need to ask somebody who is smarter than me, but
   10     Q. If PT measurements with any reagent were           10   in my practice, and in my opinion, they're -- those
   11   suggested in Xarelto's label, it was suggested that     11   two are not clinically correlated to those patients'
   12   you use PT to measure Xarelto, would you do that in     12   level of anticoagulation.
   13   your practice?                                          13        So I would use it if it was a standardized
   14        MS. HOFFMANN: Objection.                           14   test across labs across the United States, like an INR
   15        MS. CONKLIN: Objection.                            15   is. That's not what's out there. That's not what's
   16        MS. HOFFMANN: I don't know what you mean by        16   available. So I feel very confident in using the
   17     suggested.                                            17   NOACs and DOACs when they are indicated without having
   18     A. If there was a consistent way to measure the       18   a knee jerk test out there to tell me what their
   19   correlation or the anticoagulation effect of the        19   anticoagulation level is.
   20   factor Xa's, I think we would use it. There is no       20     Q. So, I mean, does it interest you at all to
   21   data to show that. They are somewhat inaccessible       21   know what the anticoagulation level is for that
   22   currently, in my practice.                              22   specific patient as opposed to the thousands of
   23     Q. Right. If you had information indicating that      23   patients that were in a clinical trial?
   24   pro time testing, the testing that's available at       24        MS. HOFFMANN: Objection.
   25   almost every hospital, at your hospital, the reagents   25        MS. CONKLIN: Objection.


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    1     A. There is no data -- again, we can sit here all       1     Q. You haven't seen that?
    2   night and talk about it. There is no data to show         2     A. (Shaking head.)
    3   that it's an accurate reflection at this time. So to      3     Q. You haven't seen the New Zealand label that
    4   me, it's clinically irrelevant what a prothrombin time    4   lays out parameters for measuring Xarelto's
    5   is four hours after someone takes a factor Xa             5   anticoagulant effect using PT?
    6   inhibitor, because four hours later, it's going to        6         MS. HOFFMANN: Objection. Counsel, you asked
    7   decrease; as opposed to Coumadin, whose half-life is      7     all these questions.
    8   much longer, that that INR may have a very subtle         8     A. I don't have a license in New Zealand or
    9   shift.                                                    9   Canada.
   10         I mean, that's what the INR is. N is for           10     Q. Okay. But you haven't seen those labels?
   11   normalization. It was normalized across labs. That's     11     A. No. I have no reason to.
   12   why I think the INR is a much better test for Coumadin   12     Q. Okay.
   13   and its anticoagulation effect than a pro time.          13     A. Nor do -- never mind. Go ahead.
   14     Q. An INR can't be used to measure the                 14     Q. Are you aware of any populations that
   15   anticoagulant effect for a patient with Xarelto,         15   respond -- when I say populations, age, patient
   16   correct?                                                 16   populations that respond differently to Xarelto.
   17     A. Neither can PT.                                     17         MS. HOFFMANN: Objection.
   18     Q. P -- it can't?                                      18     A. Creatinine clearance, renal failure, I would
   19     A. It's not indicated nor is it shown to be            19   dose it differently or not use it, but, you know,
   20   clinically consistent with the anticoagulation level     20   there is no specific weight-based guidelines that I'm
   21   of these drugs. I mean, that's -- that's not my area     21   aware of, or African American versus Indian versus
   22   of expertise. My area of expertise is how do I treat     22   Canadian versus New Zealand.
   23   somebody with a DVT. So we can beat this up forever,     23     Q. What about -- what about the elderly, is
   24   but that's -- that's not my wheelhouse.                  24   Xarelto safe to use in elderly patients?
   25     Q. Okay. Have you ever -- have you reviewed any        25     A. Sure. You know, with any anticoagulant, it's


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    1   medical -- peer-reviewed medical journal articles         1   -- you have to be fearful because a fall or something
    2   regarding whether PT can be used to measure the           2   in the elderly could be something -- on anticoagulant,
    3   anticoagulant effect of Xarelto?                          3   that would be detrimental, but, you know, I may not
    4      A. No.                                                 4   use it on an 87-year-old feeble patient, but I've used
    5      Q. You haven't?                                        5   it in 70-something-year-old patients.
    6      A. Other than the trials that I've reviewed. I         6      Q. How would you describe a feeble patient?
    7   mean, the first line in the -- you know, the second       7      A. You know, like on a walker, can't walk,
    8   sentence of several of these trials say that there is     8   wheelchair bound.
    9   not a consistent reliable way to follow the               9      Q. Okay. Are you aware of whether or not Xarelto
   10   anticoagulation effect of factor Xa inhibitors. I        10   has been shown to increase the bleeding events in
   11   mean, that's -- that's -- they don't try to hide that.   11   elderly patients?
   12   It's in the opening paragraph on several articles.       12      A. No.
   13          I mean, DOACs cannot be followed by               13      Q. You're not aware of that?
   14   prothrombin times. Period. I --                          14      A. (Shaking head.)
   15      Q. Okay. I mean, do patients that live in Canada      15      Q. Okay. If you could, grab the Xarelto label I
   16   respond to Xarelto differently than patients that live   16   handed you earlier. Turn to page 19, Section 8.5 on
   17   in the United States?                                    17   page 19, under "Geriatric Use."
   18          MS. HOFFMANN: Objection.                          18      A. Okay.
   19          MS. CONKLIN: Objection.                           19      Q. The last sentence of that paragraph says that:
   20      A. I don't practice in Canada.                        20   "Both thrombotic and bleeding event rates were higher
   21      Q. Okay. So you haven't seen Canada's label that      21   in these older patients, but the risk-benefit profile
   22   lays out how you can measure Xarelto's anticoagulation   22   was favorable in all age groups."
   23   level with PT?                                           23         So the first part of that sentence, I mean, is
   24          MS. HOFFMANN: Objection; asked and answered.      24   that indicating that the bleeding events rates were
   25      A. No.                                                25   higher in older patients?


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    1     A. Sure. I mean, that's -- I think that's common        1         MS. CONKLIN: Objection.
    2   sense. I mean, they have more comorbidities and they      2     A. That's fine. I'll take your word for it.
    3   probably take more medications than someone who is 30.    3     Q. Okay. And so for elderly patients, the total
    4   So does it surprise me that an elderly patient has a      4   drug exposure over time is approximately 50 percent
    5   higher bleeding event rate with any anticoagulant, no,    5   higher according to that paragraph; is that correct?
    6   that would not surprise me.                               6         MS. HOFFMANN: Objection. In your definition
    7     Q. Okay. Have you ever reviewed that portion of         7     of AUC means.
    8   Xarelto's label that we just looked at?                   8         MR. VANZANDT: Right, that he just accepted.
    9     A. No.                                                  9         MS. HOFFMANN: No. He said he was -- all
   10     Q. Do you know how old Ms. Mingo was when she was      10     right.
   11   prescribed Xarelto?                                      11         MR. VANZANDT: No, I'm not saying he accepted
   12     A. I think she was in her sixties, but you can         12     it to be truth, but for purposes of this
   13   tell me. How old was she, 60 something?                  13     deposition, he's taking my word for it, and we can
   14     Q. She was 67.                                         14     do that.
   15     A. Okay. I'm not sure what the definition of           15         MS. HOFFMANN: That's fine. I'm sorry. Then
   16   geriatric is, but probably 75 or 70.                     16     why don't you repeat your question. I apologize.
   17     Q. Okay. Well, I mean, can you look at that            17         MR. VANZANDT: Can you please read back the
   18   paragraph there and tell me how it's defined?            18     question?
   19     A. My guess, looking at this without -- is             19         (The question was read by the reporter: And
   20   greater than 75 years of age appears to be what's        20   so for elderly patients, the total drug exposure over
   21   there.                                                   21   time is approximately 50 percent higher according to
   22     Q. And it also, for specifically the third             22   that paragraph; is that correct?)
   23   sentence there: "In the EINSTEIN DVT, PE and             23         MS. HOFFMANN: Objection.
   24   Extension clinical studies approximately 37 percent      24     A. Again, this is not what my area of expertise
   25   were 65 years and over, and 16 percent were greater      25   is, so, you know, I would base the fact that that


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    1   than 75. In clinical trials, the efficacy of Xarelto      1   statement is more age-related would be consistent with
    2   in the elderly" -- and indicates 65 or older -- was       2   other comorbidities and renal function more than age.
    3   similar to that seen than younger than 65.                3     Q. Okay. Well, I mean, this is -- I mean, this
    4          So based on that sentence, would you agree         4   is coming directly from Xarelto's label, right?
    5   that they are defining "elderly" at 65 years or older?    5     A. I understand.
    6          MS. HOFFMANN: Objection.                           6     Q. And you prescribe Xarelto to elderly patients?
    7      A. I guess they are, but either way, it's similar      7     A. I do.
    8   to seeing patients that are younger, so I don't think     8     Q. Is that right? Okay. And you don't
    9   it's statistically significant.                           9   understand what this paragraph is saying when it says
   10      Q. Doctor, could you turn to page 23? And it          10   AUC values?
   11   doesn't have a number but it's just listed in the        11     A. I understand what it says. You asked me if I
   12   middle of the page "Elderly."                            12   knew what AUC -- I understand what plasma levels of a
   13          It says: "In clinical studies, elderly            13   drug are.
   14   subjects exhibited higher rivaroxaban plasma             14     Q. Okay.
   15   concentrations than younger subjects with mean AUC       15     A. But, I mean --
   16   values being approximately 50 percent higher, mainly     16     Q. Have you ever reviewed that paragraph before
   17   due to reduced total body and renal clearance."          17   today?
   18          What does the term "AUC values" mean?             18     A. If -- I mean, I'm sure I reviewed the study,
   19          MS. HOFFMANN: Objection.                          19   but, I mean, do I remember reading the elderly
   20      A. It's not my specialty area.                        20   sentence about AUC? No.
   21      Q. So you don't know what AUC value means?            21     Q. And that sentence goes on to say -- or that
   22      A. No.                                                22   paragraph that: "Age-related changes in renal
   23      Q. You don't understand that AUC value means          23   function may play a role in this age effect."
   24   total drug exposure over time?                           24         Can you describe really how -- why -- what's
   25          MS. HOFFMANN: Objection.                          25   the connection between renal function and age?


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    1          MS. HOFFMANN: Objection.                          1   correct?
    2      Q. I mean, I'm trying to understand that. Let         2        MS. HOFFMANN: Objection.
    3   me -- do elderly patients have decreased renal           3     A. In reviewing her records, I would not have
    4   function?                                                4   classified her as -- she had minimal, if any, renal
    5          MS. HOFFMANN: Objection.                          5   disease based on her glomerular filtration rate and
    6      A. Wear and tear after years, years of                6   her creatinine level. She was on several medicines
    7   hypertension, years of diabetes. They may have           7   that would have needed to be adjusted if everyone was
    8   decrease in renal function as opposed to someone who     8   so concerned about her creatinine, like the metformin,
    9   is diagnosed at 20. I think their kidneys are            9   the aspirin, the Anaprox, the nonsteroidals that
   10   probably in better shape than someone who is 67 and     10   affect kidney function.
   11   has had diabetes for 20 years.                          11        Did she have a degree of kidney malfunction
   12      Q. So if someone -- if someone has decreased         12   based on diabetes? I'm sure she probably did. But
   13   renal function, how does that affect Xarelto?           13   was it enough that I would have adjusted her dose of
   14      A. It's renally excreted, so at a certain            14   this medication? No.
   15   creatinine clearance, then that's when you have to      15     Q. Well, I mean, are you aware that she had
   16   make dosing adjustments or discontinuation of the       16   previously been diagnosed with stage 2 chronic kidney
   17   drug, and that's seen pretty much on any drug that's    17   disease?
   18   renally excreted versus hepatically metabolized.        18        MS. HOFFMANN: Objection.
   19      Q. So if someone has decreased renal function,       19        MS. CONKLIN: Objection.
   20   does that mean that they are exposed to more of the     20     A. I've reviewed those medical records.
   21   drug, less of the drug? I mean, what effect does that   21     Q. I mean, were you aware of that?
   22   have?                                                   22     A. Yeah.
   23          MS. CONKLIN: Objection.                          23     Q. Okay.
   24      A. It means -- it means it extends the half-life     24     A. Yes, sir.
   25   if it can't be cleared.                                 25     Q. And were you aware that on January 7th, 2015,


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    1     Q. Okay. I mean, does that mean that they're           1   her eGFR reading was 55?
    2   exposed to the drug longer? I'm just trying to           2        MS. HOFFMANN: Objection.
    3   understand what that -- how that would affect the        3     A. I'll take your word for it. That is nowhere
    4   patient.                                                 4   near the dosing label that I would change the dose
    5     A. It means that it is excreted at a different         5   with a GFR of 55 or 60.
    6   rate than it would be excreted if they had kidney        6     Q. What would -- what would a patient's GFR
    7   function that was normal.                                7   have -- eGFR have to be before you would change the
    8     Q. So if they have -- excuse me.                       8   dose?
    9         If they have decreased renal function, it          9     A. No, I think --
   10   would be descreted -- excreted slower?                  10        MS. HOFFMANN: For which indication?
   11     A. Yes.                                               11        MR. VANZANDT: The one we're talking
   12     Q. Okay. And so the drug would be in their            12     about today, acute DVT.
   13   system longer?                                          13        MS. HOFFMANN: Thank you.
   14     A. Correct.                                           14     A. Thirty.
   15     Q. Okay. And so a patient with decreased renal        15     Q. I'm sorry?
   16   function would be exposed to Xarelto longer than a      16     A. Fifteen or 30.
   17   patient with normal renal function?                     17     Q. Now, is that creatinine clearance or eGFR?
   18         MS. CONKLIN: Objection.                           18     A. That's creatinine clearance.
   19     A. At a certain level.                                19     Q. Okay. So what eGFR would a patient have to
   20     Q. At a certain level?                                20   have to make that called for?
   21     A. At a certain level, meaning at a certain           21     A. I would have to look at the stuff, but in
   22   creatinine clearance level, not at a certain serum      22   no -- in looking at her medical records, I didn't see
   23   concentration level of Xarelto.                         23   any indication that her kidney function was a factor
   24     Q. Okay. Now, we know, don't we, that Ms. Mingo       24   in the decision to use any anticoagulant. I would
   25   had some degree of compromised renal function,          25   have treated her with any anticoagulant based on her


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    1   kidney function she had at the time of presentation.      1     A. No problem with that.
    2     Q. Okay. I guess I'm trying to understand. You          2     Q. Meeting the definition of "elderly" as set
    3   know, the label gives parameters for, you know,           3   forth in Xarelto's label?
    4   creatinine clearance numbers. What's the abbreviation     4         MS. HOFFMANN: Objection.
    5   for it? C --                                              5     Q. You don't disagree with that?
    6     A. CCR.                                                 6     A. I don't view 67 in my practice as elderly.
    7     Q. Yeah, CCR. But Ms. Mingo's records showed her        7   And does she have kidney disease based upon her risk
    8   kidney function readings in eGFR.                         8   factors? She may, but in my opinion, the amount of
    9     A. That's the glomerular filtration rate.               9   kidney disease she had was irrelevant to the treatment
   10     Q. Okay. And so how do those numbers compare? I        10   that she got.
   11   mean, so if you are measuring a patient using eGFR,      11     Q. Okay. So looking at the elderly section on
   12   how do -- what's the number, the minimum -- the number   12   page 23, I mean, that paragraph sets forth -- and the
   13   that would make you have to do a dose adjustment?        13   previous elderly section we looked at -- that elderly
   14         MS. CONKLIN: Objection.                            14   patients and patients with decreased renal function,
   15     A. For?                                                15   those are two factors that are set forth that may
   16     Q. For Xarelto.                                        16   affect how a patient responds to Xarelto; is that
   17     A. I mean, I'd have to look at the studies but,        17   correct?
   18   again, it's nowhere close to what her renal function     18         MS. HOFFMANN: Objection.
   19   was at the time of her admission for her -- at the       19     A. Say that again.
   20   time of her hospitalization, and I've reviewed it from   20     Q. That was a terrible question.
   21   January to February.                                     21         So we saw how it said elderly subjects
   22     Q. Were you aware that on February 13th, the day       22   exhibited higher rivaroxaban plasma concentrations
   23   that she comes in for the GI bleed, that her eGFR is     23   than younger subjects with mean AUC values being
   24   below 60 on that day?                                    24   approximately 50 percent higher.
   25     A. Yes.                                                25         So elderly patients, that's one factor that


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    1     Q. Okay. And so, I mean, it's your opinion that         1   would maybe lead to a patient being exposed to Xarelto
    2   her kidney -- her kidney function, the labs that were     2   longer than a younger patient?
    3   done to test her kidneys, did not indicate any kind of    3        MS. CONKLIN: Objection.
    4   dose adjustment --                                        4     A. That's not the way that I would approach this
    5     A. Correct.                                             5   patient. Again, I apologize for not saying that I
    6     Q. -- of Xarelto? Okay.                                 6   reviewed this but 67, to me, isn't elderly, and her
    7         That being so, I mean, we do know that she          7   kidney function, to me, for her age and her
    8   had -- I mean, she did have some degree of decreased      8   comorbidities was fine, and I would not have changed
    9   renal function, though, correct?                          9   the dosing based on her kidney function.
   10         MS. HOFFMANN: Objection.                           10     Q. If you could turn to page 19 of the label that
   11     A. Did she -- I mean, based on her values, I was       11   you have in front of you, Section 8.7, Renal
   12   clinically underwhelmed that she had kidney issues       12   Impairment.
   13   that would preclude me from dosing the medicine the      13     A. What page?
   14   way it was dosed.                                        14     Q. 19, Section 8.7 towards the bottom down there.
   15     Q. She didn't have the kidney function of a            15        So this section of the label sets forth what
   16   healthy 30-year-old patient, did she?                    16   we were just talking about, the adjustments that
   17         MS. HOFFMANN: Objection.                           17   should be made with Xarelto dosage based on the
   18     A. I'm not sure I can answer that, unless I do a       18   patient's kidney function; is that correct?
   19   kidney biopsy, which --                                  19     A. You're on 8.7 now, Renal Impairment?
   20     Q. But you don't disagree with the fact that she       20     Q. Yes, sir.
   21   was -- had already been diagnosed with stage 2 chronic   21     A. Okay.
   22   kidney disease?                                          22     Q. And you'll see it has the AFib section, and
   23     A. I have no -- no problem with that statement.        23   then you can turn over, Treatment of DVT and then
   24     Q. And you don't disagree with the fact that she       24   Prophylaxis DVT.
   25   was 67 years old?                                        25     A. Uh-huh.


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    1     Q. And so if you could just look at the                 1     A. There is.
    2   Treatment of DVT section, it says: "In the EINSTEIN       2     Q. And there's not for DVT?
    3   trials patients with CRCL levels less than 30             3     A. That's right.
    4   milliliters per minute at screening were excluded from    4     Q. So DVT, you just wouldn't prescribe the
    5   the studies. Avoid use of Xarelto in patients with        5   patient Xarelto?
    6   CRCL level less than 30 milliliters per minute."          6     A. Not with a creatinine clearance of 30 or less.
    7         Did I read that correctly?                          7     Q. Okay. Ms. Mingo was taking the highest
    8     A. Uh-huh. Yes.                                         8   available dose of Xarelto, wasn't she?
    9     Q. And so if a patient's creatinine clearance is        9        MS. HOFFMANN: Objection.
   10   below 30, you should not prescribe Xarelto to them?      10     A. She was taking the appropriate dose for the
   11     A. Correct.                                            11   diagnosis of DVT.
   12     Q. For DVT?                                            12     Q. All right. That's 15 milligrams twice daily,
   13     A. Correct.                                            13   correct?
   14     Q. But for AFib, if you turn back to page 19, for      14     A. Uh-huh.
   15   AFib, if a patient is below 30, between 15 and 30 --     15     Q. That's 30 milligrams a day?
   16   I'm sorry.                                               16     A. That's what it is.
   17         Let me just ask you this. There is a dose          17     Q. And that's the highest available dose, daily
   18   adjustment for patients on AFib that fall outside of     18   dose of Xarelto that --
   19   the parameters of the -- the parameters set forth for    19     A. I could write it 10 times a day if I wanted
   20   kidney function in the label, correct?                   20   to.
   21     A. I didn't follow that one.                           21     Q. Have you ever done that?
   22     Q. Okay. If -- for a patient taking Xarelto for        22     A. No.
   23   DVT --                                                   23     Q. Okay.
   24     A. Okay.                                               24     A. So it's not the highest dose. I mean, that's
   25     Q. If their creatinine clearance is below 30,          25   the correct dose, that's the dose that she should have


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    1   what do you do?                                           1   been given.
    2     A. All right. You monitor that patient                  2     Q. That's the highest dose -- FDA-approved dose
    3   differently or don't prescribe the drug.                  3   set forth in Xarelto's label?
    4     Q. Okay. For a patient that's being prescribed          4     A. For DVT, yes.
    5   Xarelto for AFib, if their creatinine clearance is        5     Q. For any indication?
    6   below 30, what do you do?                                 6     A. Sure.
    7     A. I'd have to spend some time reading what             7     Q. Okay. So if a patient is taking Xarelto for
    8   the nonvalvular AFib and ROCKET said about renal          8   AFib and has normal renal function, they take
    9   impairment.                                               9   20 milligrams once daily, correct?
   10     Q. Does that -- I mean, does that --                   10     A. That's right. Totally different patient
   11     A. I mean, those things are different. I mean,         11   populations between ROCKET and EINSTEIN.
   12   you've got to understand that --                         12     Q. Okay. But you only relied on ROCKET studies
   13     Q. Okay. And there is a decreased dose for --          13   in forming your opinion in this case, though, right?
   14     A. Sure.                                               14         MS. CONKLIN: Objection.
   15     Q. Okay. And so instead of 20 milligrams a day,        15         MS. HOFFMANN: Objection.
   16   you can give the patient 15 milligrams a day?            16     A. No.
   17     A. For AFib.                                           17     Q. Well, that's the only ones you've listed in
   18     Q. For AFib, yes.                                      18   your report.
   19     A. Right. But it's a different -- whole                19         MS. HOFFMANN: We've been through this,
   20   different pathology, whole different patient, whole      20     Counsel.
   21   different age group, whole different risk factor.        21     A. EINSTEIN or ROCKET, I mean, obviously, I'm
   22     Q. Right.                                              22   aware of the EINSTEIN trials.
   23     A. You can't compare them.                             23     Q. Well, I just want to know why you only
   24     Q. Right. I'm not comparing them. I'm just             24   included ROCKET trials in the documents that you
   25   saying there is a dose adjustment for AFib.              25   relied on to form your opinions in this case?


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    1         MS. HOFFMANN: Objection, Counsel. It's all         1   nonsteroidals or that she developed a slowly oozing
    2     been asked and answered.                               2   gastric ulcer due to the use of nonsteroidals?
    3     Q. Okay. Let's look at page 4 of the label that        3     A. I'm not sure I can separate them. You know,
    4   you have in front of you. I'm sorry. Page 7,             4   she had taken or had listed Anaprox, which is a very
    5   Section 4 on page 7, Contraindications.                  5   good nonsteroidal. You know, when you have hip
    6         The second contraindication listed there is        6   arthroplasties, you have to jump through numerous
    7   severe hypersensitivity reaction to Xarelto.             7   hoops before they approve, hoops: Did they fail
    8         How do you determine if a patient is               8   nonsteroidal therapy first? Yes. Did you try
    9   hypersensitive to Xarelto?                               9   injections with Synvisc? Yes. So, yeah, you qualify
   10     A. That's a big doctor word for allergic.             10   for a hip.
   11     Q. Okay. I mean, how would you know if a patient      11         She was on a full dose of aspirin. Those are
   12   is allergic to Xarelto?                                 12   known to be good medicines but can cause gastric
   13     A. Rash, can't breathe, stridor.                      13   ulcers, and it's a -- it's pretty well known.
   14     Q. Are there any other adverse reactions that         14     Q. Okay. A patient can have a gastric ulcer that
   15   would indicate that a patient is hypersensitive to      15   doesn't bleed; is that correct?
   16   Xarelto?                                                16     A. Yes.
   17     A. Not in my opinion.                                 17     Q. Okay. So is it your opinion that the
   18         THE COURT REPORTER: Say it again.                 18   nonsteroidals caused her to develop a gastric ulcer?
   19     A. No -- not in my opinion.                           19     A. Yes.
   20     Q. Going back to your report, page 7, Opinion B       20     Q. Okay. Is it your opinion that the
   21   that you have there, you state that: "Ms. Mingo's       21   nonsteroidals caused the gastric ulcer to bleed?
   22   deep vein thrombosis was related to her total hip       22     A. I will say it this way. She developed, in my
   23   arthro- " -- I can't pronounce that word.               23   opinion, she developed a gastric ulcer from the stress
   24     A. Arthroplasty.                                      24   of the surgery, the use of nonsteroidals, you can
   25     Q. -- "arthroplasty which was done on January 6,      25   relate smoking into it, although it's way down on my


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    1   2015."                                                   1   radar screen, and the anticoagulant effect of Xarelto
    2         What do you mean by the word "related"?            2   unmasked the gastric ulcer and she had a GI bleed, and
    3     A. So DVTs are either classified as provoked or        3   I think that would have been detected or happened with
    4   unprovoked, and one of the provoking factors for DVT     4   any of the factor Xa's or even Coumadin.
    5   is major orthopaedic surgery and that was her -- she     5          We see it all the time. You will have a
    6   had other risk factors for DVT, I mean, obesity,         6   patient who will have an underlying colon cancer,
    7   things like that, but I think most reasonably trained    7   that's a friable lesion, and it may have a little bit
    8   hospitalists or internists would say that her DVT was    8   of friability, meaning it's fragile, and it may have a
    9   related to her recent hip arthroplasty.                  9   little bit of blood around it, and they may have a
   10     Q. Do you attribute the DVT to the -- what you        10   heme-positive stool. So two weeks later they come in
   11   called failure of Lovenox/Coumadin regimen?             11   and they have a DVT and you anticoagulate them and
   12     A. You know, we classify people who have been         12   then they have a more rapid bleed because the drug is
   13   appropriately prophylaxed as a treatment failure. You   13   doing its job.
   14   know, will it come out that she has breast cancer and   14          So the anticoagulant, in this case the
   15   her hypercoagulable event that caused her to have a     15   Xarelto, unmasked a gastric ulcer that was, in my
   16   DVT despite prophylaxis was from a different cause?     16   opinion, most probably caused from the effects of the
   17   Maybe that's in the future, but common things being     17   nonsteroidals.
   18   common, it was related to her total hip arthroplasty.   18      Q. So the ulcer was caused from the
   19     Q. And your next opinion, Opinion C, says that:       19   nonsteroidals?
   20   "Ms. Mingo's slowly oozing gastric ulcer is most        20      A. That's correct. Uh-huh.
   21   likely the result of her use of nonsteroidals in the    21      Q. Okay. In your opinion, when did her ulcer
   22   preoperative setting, along with her ongoing aspirin    22   start to bleed?
   23   therapy."                                               23      A. That would take a crystal ball.
   24         Okay. Is it your opinion that Ms. Mingo           24      Q. So you have no opinion as to when Ms. Mingo's
   25   developed a gastric ulcer due to the use of             25   ulcer started to bleed?


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    1     A. She could have had it preoperatively, she            1     Q. Do you know how long Ms. Mingo had been taking
    2   could have had it postoperatively. I can't tell you       2   aspirin before she had the GI bleed?
    3   that. That would be an unfair call.                       3     A. It's listed as a home medication, but whether
    4     Q. Have you seen any information in Ms. Mingo's         4   that was prolonged for -- I don't know.
    5   records that would indicate that her ulcer was            5     Q. Did you see any indication in your review of
    6   bleeding before --                                        6   Ms. Mingo's medical records that she ever suffered
    7     A. No.                                                  7   from a GI bleed before she started taking Xarelto?
    8     Q. -- her hip replacement surgery?                      8         MS. HOFFMANN: Objection. You mean a
    9     A. Sorry. No.                                           9     clinically diagnosed?
   10     Q. Okay. Any indication in her records that her        10     Q. I mean what I said.
   11   ulcer was bleeding before she started taking Xarelto?    11         Did you see any indication in her records that
   12     A. No.                                                 12   she suffered from a GI bleed before taking Xarelto?
   13     Q. Do you know -- do you know how long Ms. Mingo       13     A. In the records I reviewed, there was no
   14   had been taking nonsteroidals before she developed a     14   evidence that she had been treated for a GI bleed in
   15   GI bleed?                                                15   the past.
   16     A. Just from looking on her medication list, so,       16     Q. Okay. Is there any data in her records that
   17   you know, she could -- she listed aspirin and Anaprox,   17   you reviewed that would lead you to believe she had
   18   which are two common nonsteroidals. Whether she was      18   been suffering from GI bleeding in the past?
   19   taking them or not, I don't know. They were just on      19         MS. HOFFMANN: Objection.
   20   her med list.                                            20     A. No.
   21     Q. How -- I mean, how long would a person have to      21     Q. And are you aware whether or not Ms. Mingo is
   22   take nonsteroidals for it to attribute to developing a   22   continuing to take nonsteroidals today?
   23   gastric ulcer?                                           23     A. If my memory is right, after her endoscopy,
   24     A. It varies from other comorbidities. Someone         24   the gastroenterologist pretty much fixed her problem
   25   who is taking NSAIDs who is otherwise healthy may        25   and pretty much said she could take the anticoagulant


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    1   never develop an ulcer. Someone who has risk factors      1   of her choice, Xarelto or aspirin. I think they opted
    2   that are different may take an aspirin a day for          2   for aspirin probably based upon the fact that her
    3   10 days and their gastric mucosa responds differently     3   ultrasound came back negative after her GI bleed.
    4   and they have an ulcer that would develop.                4          So, from my recollection, I think she went
    5     Q. What are other potential causes of gastric           5   home on an aspirin and I would assume she's still
    6   ulcers forming?                                           6   taking it.
    7     A. You know --                                          7      Q. And you consider aspirin to be a nonsteroidal?
    8         MS. HOFFMANN: Other than the NSAIDs and the         8      A. Yes.
    9     aspirin? Sorry.                                         9      Q. Is that correct? Not just you but that's what
   10     A. You know, there is a bacteria called                10   it is, it's a nonsteroidal?
   11   Helicobacter pylori, HP, that's been associated with     11      A. (Nodding head.)
   12   ulcers.                                                  12      Q. Okay. So based on your review of Ms. Mingo's
   13         Alcoholism, smoking, stress. When you say          13   records, the only GI bleeding event that she has ever
   14   stress, it's not I'm stressed today because my kid has   14   been diagnosed and treated for occurred while she was
   15   a basketball game. It's the stress response to things    15   taking Xarelto; is that correct?
   16   like surgery. The body releases all these humors, but    16      A. Yes.
   17   those are the main ones. I think H. Pylori is            17      Q. Do you want to take another break?
   18   probably kind of the hot topic in the last 10 or 15      18      A. I'm okay. Don't take a break for me.
   19   years, because you can treat an ulcer now that's not     19      Q. No, we can go, if y'all are ready, I mean, if
   20   actively bleeding with an antibiotic regimen and some    20   y'all are fine.
   21   Pepto-Bismol. It wasn't there 20 years ago.              21          MS. HOFFMANN: Let's go off the record for a
   22     Q. Okay. Do you have any opinion as to how long        22      minute.
   23   Ms. Mingo's ulcer had been present before she started    23          MR. VANZANDT: Okay.
   24   taking Xarelto?                                          24          THE VIDEOGRAPHER: The time now is 7:00 p.m.
   25     A. No, sir.                                            25      We are off the record.


                                                                            39 (Pages 150 to 153)
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    1         (Recess from 7:00 p.m. until 7:06 p.m.)            1   ulcer is the underlying defect?
    2         THE VIDEOGRAPHER: This begins Disk 4 of            2     A. Yes.
    3     today's deposition. The time now is 7:06 p.m.          3     Q. Is that correct? Okay. And it's your opinion
    4         We are back on the record.                         4   that Xarelto didn't cause that ulcer?
    5   BY MR. VANZANDT:                                         5     A. Correct.
    6     Q. Okay. Doctor, referring back to page 7 of           6     Q. Okay. But would you agree that Xarelto played
    7   your report, Opinion D, the first part of that           7   a role in Ms. Mingo's GI bleed?
    8   sentence says: "Ms. Mingo's use of Xarelto for           8     A. Yes.
    9   treatment of a deep vein thrombosis most likely          9     Q. Okay. And what role did Xarelto play?
   10   unmasked the slowly bleeding gastric ulcer."            10     A. Her blood was thinned to prevent extension and
   11         Did I read that correctly?                        11   possible pulmonary emboli in someone with a DVT postop
   12     A. Yes.                                               12   from a knee arthroplasty. The drug did its job, maybe
   13     Q. Okay. And I'm just referencing only the first      13   did its job really well, because the DVT was gone when
   14   part of that sentence.                                  14   they repeated the imaging.
   15         What do you mean by -- let me ask you this.       15         She had an underlying defect. To me, it would
   16   When you say unmasked, do you use unmasked in the       16   be the same thing as you are cutting your vegetables
   17   sense that Xarelto took a nonbleeding asymptomatic      17   to cook a jambalaya and you're not on Xarelto and you
   18   ulcer and turned it into a bleeding ulcer?              18   cut it and you ooze a little bit, but you take Xarelto
   19     A. No.                                                19   because you had a DVT and a PE and you bleed a little
   20     Q. Okay. What do you mean by unmasked?                20   bit more because you're on the appropriate blood
   21     A. The not -- there's not a direct correlation        21   thinner.
   22   between the formation of a gastric ulcer and the use    22         That's what happened with -- in my opinion
   23   of a factor Xa inhibitor. It's the nonsteroidals that   23   with this case. She had risk factors for an ulcer.
   24   caused the gastric irritation.                          24   Any defect, just like if you fall, is going to have
   25         What I mean by unmasked is you have an ulcer      25   some oozing blood. And I'm not saying she had a


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    1   that's present, caused by the nonsteroidals. Whether     1   massive GI bleed from the nonsteroidal, but there was
    2   it's -- bleeding, to me, is several stages of            2   a defect in the lining of her stomach caused, in my
    3   bleeding. You know, if you have an ulcer and you have    3   opinion, by her NSAID use, and clearly, when you
    4   any -- how can I say this -- any breach in the           4   expose somebody to any anticoagulant, different from
    5   integrity of your lining of any organ, let's say         5   an NSAID, on top of that, she bled. So, yes, it
    6   stomach for that matter, there is going to be some       6   contributed to her extent of her bleed.
    7   bleeding. There may be half a teaspoon a month, maybe    7     Q. Did Ms. Mingo bleed while she was taking
    8   20 cells a day. But when you have an ulcer develop       8   Lovenox?
    9   anywhere, same thing as an ulcer in your arm, you may    9     A. I'm not sure I can answer that. I mean, her
   10   not have a symptomatic bleed but you can ooze some      10   hematocrit dropped from her preop to her postop. I
   11   blood from the ulcer.                                   11   mean, I don't have any evidence of that, but I have no
   12          Unmasked means that the medicine did what it     12   evidence to say she wasn't. I mean, her hematocrit
   13   was supposed to do. The patient's blood was thinned.    13   went from 37 to 28 when she was taking the Lovenox and
   14   And when you have a friable ulcer that probably         14   the aspirin. Is it fair to say that it's all from
   15   prior -- if it developed prior to her use of the Xa     15   surgery? Maybe. They didn't transfuse her. Is it
   16   inhibitor, and then you start somebody on               16   fair to say that she had a little bleeding? I don't
   17   anticoagulant, whether it's Coumadin or Xarelto or      17   know the answer to that. I don't see any direct
   18   Pradaxa or whatever drug you want, the unmasking term   18   evidence, but I don't think you can say it didn't
   19   means that that becomes apparent. It will bleed more    19   happen.
   20   obviously than it would bleed if you were not exposed   20     Q. If not for taking Xarelto, the underlying
   21   to an anticoagulant.                                    21   anatomical defect, the ulcer, it may have never been
   22          It's a pretty common term, "unmasked." I         22   revealed or unmasked, correct?
   23   mean, we see it frequently.                             23         MS. HOFFMANN: Object. Objection.
   24      Q. So we can agree that Xarelto didn't cause the     24     A. That's an interesting question. That ulcer
   25   gastric ulcer. Well, let me say this. The gastric       25   could have bled at any time independent of the use of


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    1   a nonsteroidal -- I'm sorry -- of a blood thinner.        1   ulcer before Xarelto, and Xarelto exacerbated it, then
    2        Clearly, it's more likely to bleed if you are        2   what did it turn into? Right. So if it starts off as
    3   on a blood thinner than if you are not, but I've had      3   a slowly oozing gastric ulcer, after Xarelto, what is
    4   several patients who have GI bleeds on nonsteroidals      4   the ulcer?
    5   only. So could it have been undiagnosed for years?        5         MS. CONKLIN: Objection.
    6   Yes. Could she have had a breakaway bleed just on an      6     A. It's an ulcer that's bleeding more than it was
    7   aspirin and/or Anaprox? Yes.                              7   before she -- I mean, again, you have -- you can't
    8      Q. And it's also possible that that ulcer may          8   predict certain things. I mean, you know, why didn't
    9   have never bled; is that correct?                         9   she bleed immediately when they introduced the factor
   10      A. That's in the realm of possibilities too, yes.     10   Xa inhibitor? Something anatomically happened where a
   11      Q. Okay. Is it your opinion that Xarelto              11   blood vessel in this ulcer was exposed to
   12   triggered the bleeding from the gastric ulcer?           12   nonsteroidals. Its integrity was compromised. You
   13        MS. HOFFMANN: Objection.                            13   put them on a blood thinner and they bleed more. I
   14      A. I think she had a slowly oozing gastric ulcer      14   mean there -- that's -- I don't know any other way to
   15   caused by nonsteroidals that was unmasked and made       15   say it. That's what it does.
   16   worse by the appropriate use of a factor Xa inhibitor,   16     Q. I guess I'm just -- it's more about the
   17   and I've said it, like, seven times, but --              17   description of this ulcer. So if it starts off as a
   18      Q. Right. But she had a slowly oozing gastric         18   slowly oozing gastric ulcer, what does it turn into?
   19   ulcer. When you say that, so she had an ulcer that       19         MS. CONKLIN: Objection.
   20   was already bleeding?                                    20     A. It turns in -- it would then have the
   21      A. I think I said that, yes. I think when you         21   characteristics of an ulcer that would bleed more
   22   have any -- again, she had interruption. She had --      22   easily because the patient is on the appropriate dose
   23   her normal gastric mucosa was not -- was impacted by     23   of anticoagulation for a DVT.
   24   the nonsteroidal. So I don't know what your              24     Q. Now, did you review the deposition testimony
   25   interpretation of an ulcer is, but an ulcer isn't like   25   of Dr. Keith, the treating gastroenterologist?


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    1   a thing of blood. I mean, it's -- it's a thinning and     1     A. Yes.
    2   an interruption of the normal gastric mucosa. So it       2     Q. And did you review any of his records of his
    3   would be like me saying if you fell and you scraped       3   treatment of Ms. Mingo?
    4   your arm, are you going to have a little bit of blood     4     A. If that was included, I did.
    5   present? You are. If you fell and you scraped your        5     Q. He is -- and I'm -- Dr. Keith was the
    6   arm and you were on Lovenox or Coumadin or a Xa           6   gastroenterologist --
    7   inhibitor, would you have more bleeding? Yes.             7     A. Yeah, he did the endoscopy.
    8   that's -- that's what it's supposed to do. It's no        8     Q. That's right. That's right.
    9   different than an increase of a nosebleed that you see    9     A. Yes.
   10   more prominently in patients who are on NOACs, DOACs     10     Q. And so he is -- he's the only doctor who has
   11   or Coumadin.                                             11   actually saw the ulcer and the bleeding with his own
   12     Q. So if Ms. Mingo had a slowly bleeding gastric       12   eyes; is that correct?
   13   ulcer, then she starts taking Xarelto, and you say       13     A. Through the scope, yes.
   14   that the Xarelto unmasked the ulcer, how could Xarelto   14     Q. Okay. I mean, do you have any reason to
   15   unmask the ulcer if it didn't either trigger the         15   disagree with Dr. Keith's testimony that the GI bleed
   16   bleeding or exacerbate the bleeding?                     16   that he treated started only after Ms. Mingo started
   17         MS. HOFFMANN: Objection.                           17   taking Xarelto?
   18     A. I've already made it clear, I think, that           18         MS. HOFFMANN: Objection.
   19   there clearly is a direct correlation between the fact   19         MS. CONKLIN: Objection.
   20   that she had an increase in the bleeding once she        20     A. I think the GI bleed and the rate of the GI
   21   started on a Xa inhibitor. I mean, that's what it's      21   bleed happened after Ms. Mingo started the Xarelto.
   22   supposed to do. So it just didn't cause it, it           22   The gastric ulcer, in my opinion, was there prior to
   23   unmasked it, just like you could unmask the ulcer if     23   that.
   24   they were taking Coumadin and her INR was 2.             24     Q. Okay. But you have no reason to disagree with
   25     Q. If she already had a slowly bleeding gastric        25   his testimony that the bleed, not the ulcer, but that


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    1   the bleed -- that the bleed didn't start until after      1   I wasn't. She did not appear to be unstable, to me,
    2   she started Xarelto?                                      2   when she presented to the hospital, but, I mean, her
    3          MS. HOFFMANN: Objection.                           3   H&H were lower than they were in the week before and
    4          MS. CONKLIN: Objection.                            4   lower than they were postoperatively, so yes, I agree
    5      A. My opinion is, is that this lady had a very --      5   with that.
    6   it all depends, again -- we're beating a dead horse --    6     Q. Do you have any reason to agree -- to disagree
    7   on how you want to define bleeding. Do you want to        7   with Dr. Keith's testimony that had he not performed
    8   define the bleeding as a bleed requiring transfusion?     8   the EGD and addressed her gastrointestinal bleeding,
    9   I define exposed blood as exposed blood. I mean, she      9   that Ms. Mingo could have experienced organ damage?
   10   was bleeding 10 days prior when she presented to the     10         MS. HOFFMANN: Objection.
   11   ED and she had a heme-positive stool. That's -- she      11         MS. CONKLIN: Objection.
   12   had a heme-positive bleed. She was bleeding from         12     A. She could have experienced a lot of different
   13   somewhere from her nose to her rectum. Why wasn't she    13   things. She also could have healed, but yeah, I have
   14   bleeding tremendously at that point?                     14   no reason to disagree with that.
   15          I think Dr. Keith did a great job in treating     15         MS. HOFFMANN: Assuming that he's quoting it
   16   this lady appropriately for her gastric ulcer. I         16     correctly.
   17   think it was there for a while, I think it was oozing    17     A. Right. I mean, I don't have what he said in
   18   before, and I think it was unmasked because this drug    18   front of me but that's okay.
   19   did what it was supposed to do. He went in there and     19     Q. Do you disagree with Dr. Keith's testimony
   20   fixed it, she did great.                                 20   that the risk of death and morbidity with GI bleeds is
   21      Q. So you do disagree with his testimony that the     21   significant?
   22   bleed --                                                 22         MS. HOFFMANN: Objection.
   23      A. No.                                                23         MS. CONKLIN: Objection.
   24      Q. -- the ulcer --                                    24     A. I think the risk of a GI bleed and morbidity
   25      A. I believe he went in there -- go ahead. I'm        25   and mortality is directly associated to the


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    1   sorry.                                                    1   presentation. Someone who is exsanguinating blood
    2     Q. So you do disagree with his testimony that the       2   from their mouth and their rectum and has a
    3   ulcer was not bleeding before Xarelto?                    3   prothrombin time of 40 and they are an alcoholic,
    4         MS. HOFFMANN: Objection.                            4   that's trouble.
    5         MS. CONKLIN: Objection.                             5          Somebody presents to the emergency department
    6     A. I'd have to get the whole medical record out.        6   with stable vital signs and an H&H of 6 and 19 after
    7   I'm not even sure I recall what he put in his op note,    7   the orthopaedic surgical history that she had, could
    8   so I don't want to disagree with him, because I think     8   she have died from this GI bleed? Yes, but
    9   he did a fine job of managing the patient. I think        9   statistically, that probably is less than a half of
   10   you're splitting hairs but, I mean, that's -- I know     10   one percent. It's pretty low.
   11   that's your job.                                         11      Q. So do you disagree with Dr. Keith's testimony
   12     Q. Well, do you have any reason to disagree with       12   that the procedure he performed to stop her internal
   13   Dr. Keith's testimony that the EGD he performed on       13   bleeding was a life-saving procedure?
   14   Ms. Mingo was a reasonable and medically necessary       14      A. No, it did. I mean, it's -- I'll tell you, it
   15   procedure?                                               15   stopped her GI bleed. I don't think we can say that
   16     A. It was.                                             16   she would have died from this bleed, but, clearly, he
   17     Q. And do you disagree -- do you disagree with         17   went in there and did what he needed to do, which was
   18   his -- Dr. Keith's testimony that Ms. Mingo's            18   the right thing medically.
   19   hemoglobin and hematocrit levels were critically low     19      Q. Okay. So do you agree or disagree with his
   20   when she arrived at the hospital on February 13th?       20   statement that this was a life-saving procedure?
   21         MS. HOFFMANN: Objection. If you're going to        21          MS. HOFFMANN: Objection.
   22     quote his testimony, I think you should show it to     22      A. It makes it sound a little bit more than what
   23     him.                                                   23   it is, but it's okay. Yes.
   24     Q. You can answer the question.                        24      Q. You --
   25     A. If he used the word "critical," he was there,       25      A. I agree. That's fine.


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    1     Q. You agree with it. Okay.                             1   therapeutic, and then maybe once a week for a month
    2         Going back to Opinion D on page 7, the second       2   after, maybe two, three weeks after that, and then
    3   part of that sentence, it says: "The use of any           3   probably every two to three months once you find the
    4   anticoagulant to treat the deep vein thrombosis would     4   consistent dose.
    5   most likely have resulted in the same oozing of the       5     Q. Okay. So every other day at first, and then
    6   underlying gastric ulcer."                                6   once a week?
    7         So in the first part of this sentence you say       7     A. While they're in the hospital, yeah.
    8   that Xarelto unmasked the slowly oozing gastric ulcer,    8     Q. Right.
    9   and in the second part of the sentence you state that     9     A. Because you have to know when the INR crosses
   10   any anticoagulant would have resulted in the             10   2 so you can stop the Lovenox and expose them
   11   underlying gastric ulcer.                                11   to longer therapy with two agents.
   12         I mean, are -- the term --                         12     Q. Okay. So with warfarin, I mean, you're
   13     A. No. The results of the bleeding from the same       13   testing every other day while they're in the hospital
   14   oozing gastric ulcer. I didn't say it was going to be    14   and then once a week to make -- to --
   15   a causative agent.                                       15     A. For the first week or two.
   16     Q. You state that the -- any other anticoagulant       16     Q. Right. To get their dosage of warfarin and to
   17   would have -- would most likely have resulted in the     17   make sure their blood is in the proper therapeutic
   18   same oozing of the underlying gastric ulcer.             18   range; is that correct?
   19     A. Correct.                                            19     A. Correct.
   20     Q. Can you describe what you mean by that?             20     Q. You can increase the dosage or decrease it,
   21     A. Any other anticoagulant used to treat a DVT,        21   correct?
   22   whether it was Lovenox, Coumadin, or a Xa inhibitor,     22     A. Correct.
   23   Pradaxa, whatever you want, would have put the patient   23     Q. Okay. And that ensures that Ms. Mingo would
   24   at the same risk to expose a previously existing         24   be receiving a properly tailored dose of warfarin
   25   gastric ulcer. So, in my opinion, if this patient was    25   that's proper for her, correct?


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    1   prescribed Coumadin for her DVT two to three weeks        1        MS. HOFFMANN: Objection.
    2   prior to this, and she was therapeutic, I think it        2     A. For Coumadin.
    3   would have done -- this event would have happened         3     Q. Right, if she's on Coumadin.
    4   independent of the drug of choice that was used for       4     A. Correct.
    5   the DVT treatment.                                        5     Q. So all that testing and dose adjustment would
    6     Q. So if -- I mean, if she was in fact                  6   ensure that she's receiving a dose --
    7   prescribed -- well, she was initially started on          7     A. Correct.
    8   Lovenox and Coumadin.                                     8     Q. -- that's properly tailored to her needs,
    9     A. Correct.                                             9   correct?
   10     Q. If she would have stayed on that therapy, did       10     A. Correct.
   11   her initial Lovenox and then continued on Coumadin,      11     Q. Okay. As opposed to Xarelto. You prescribe
   12   and never started Xarelto, as part of that treatment     12   15 milligrams twice daily for 21 days and then do
   13   she would have had to have undergone coagulation         13   nothing, correct?
   14   monitoring; is that correct?                             14     A. No. And then you change it over to the days
   15     A. For Lovenox and Coumadin?                           15   and to the duration the therapy is complete.
   16     Q. Yes, sir.                                           16     Q. Right. For the first 21 days?
   17     A. Correct.                                            17     A. (Nodding head.)
   18     Q. Okay. So, I mean, as part of her course of          18     Q. So after the Xarelto prescription started, she
   19   treatment on Coumadin, she would have undergone PT       19   doesn't have any kind of levels monitored or measured
   20   testing and the INR testing, correct?                    20   every other day like she does on warfarin?
   21     A. Correct.                                            21     A. That's correct.
   22     Q. Okay. And so when would -- how would that           22     Q. Okay. And then they don't -- you don't bring
   23   work? So when would be the first time she would have     23   her in once a week to make sure that her blood is
   24   her INR tested and then how often?                       24   properly anticoagulated?
   25     A. You know, every other day until she's               25     A. Correct.


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    1      Q. Okay. You just prescribe her the dosage in          1   and you just can't predict it based on whether you're
    2   the label and hope she does okay on it?                   2   on a vitamin K antagonist or a factor X inhibitor.
    3         MS. HOFFMANN: Objection.                            3   The bottom line is if you are anticoagulated and you
    4      A. It's well tested, well documented, there is no      4   have a defect in the -- in your belly, you're going to
    5   way to track it, have decreased rates of bleeding when    5   bleed. And I've seen people bleed on Coumadin with
    6   compared to the gold standard, which was Coumadin, so     6   gastric ulcers that have INRs of 1.5, and I've seen
    7   it stands on its own. I really don't --                   7   patients who have gastric ulcers that bleed with an
    8      Q. But, I mean, it's not a properly tailored --        8   INR of 5. I have seen INRs of people come in at 20
    9   or it's not a tailored dose for Ms. Mingo                 9   and they don't bleed. I can't explain why
   10   specifically, is it?                                     10   pathophysiologically it's different but it just is.
   11         MS. HOFFMANN: Objection.                           11     Q. Well, you say that any anticoagulant would
   12      A. I don't think you're going to get a tailored       12   have resulted in the same oozing of the underlying
   13   dose of these for many patients. I mean, there are       13   gastric ulcer?
   14   certain limiting factors. We've already discussed        14     A. That's right.
   15   them. She didn't fit in that category. She got the       15     Q. So, I mean, you're not saying that any
   16   appropriate dose that's FDA approved.                    16   anticoagulant would have caused the same intensity of
   17         I mean, I think every reasonable physician         17   bleeding as Xarelto did, are you?
   18   that practices hospital-based medicine would have --     18        MS. HOFFMANN: Objection. I don't think we've
   19   would have felt good about the treatment and the         19     even defined the intensity of bleeding.
   20   prescribing that Ms. Mingo was given.                    20     A. She -- I don't -- I think any anticoagulant --
   21      Q. Can you say whether or not Ms. Mingo's ulcer       21   and when I say that, I mean the Xa's, the Pradaxa or
   22   would have bled if she would have been taking a          22   the Coumadin, I don't mean another NSAID, like Plavix
   23   properly tailored dose of Coumadin?                      23   or aspirin -- that was taken correctly would have
   24         MS. HOFFMANN: Objection.                           24   resulted in a very similar outcome in this patient.
   25      A. Of Coumadin?                                       25     Q. But you just said, Doctor, that you don't


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    1      Q. Yes, sir.                                           1   know. If she was taking warfarin, you don't know, I
    2      A. I've seen people bleed on Coumadin that have        2   mean, she could have had a worse bleed or --
    3   INRs that are below norm -- below 2. So to answer         3     A. A better one.
    4   your question, I think she would have probably bled,      4     Q. -- a better outcome, correct?
    5   with most reasonable certainty, on Coumadin just as       5     A. That's true.
    6   well as she bled on the factor Xa inhibitor.              6     Q. Okay. Is that the same for any of the other
    7      Q. Would she have bled the same intensity?             7   NOACs?
    8      A. I can't answer that.                                8     A. If they were taken -- if they were prescribed
    9        MS. HOFFMANN: Objection.                             9   in the right way, I think she would have -- I mean,
   10      Q. Okay. Would the bleeding have been the same        10   there is a lot of different trials that compare the
   11   duration as it was on Xarelto?                           11   bleeding between -- but there is no head-to-heads to
   12      A. I can't answer that.                               12   show that one NOAC or DOAC, when it was compared
   13      Q. Would she -- would she have lost the same          13   head-to-head, has a higher bleeding rate than the
   14   volume of blood?                                         14   other one, that I'm aware of. I mean, there may be
   15        MS. CONKLIN: Objection.                             15   but I'm not aware of any.
   16        MS. HOFFMANN: Objection.                            16     Q. You're talking among the NOACs?
   17      A. I can't answer that.                               17     A. I'm aware of no head-to-head trials that
   18      Q. So you can't say --                                18   compare the NOACs to each other for efficacy or side
   19      A. I don't know. I mean --                            19   effect profile.
   20      Q. Right.                                             20     Q. Okay. Have you reviewed any of the
   21      A. It's not predictable.                              21   peer-reviewed medical journals comparing postmarket --
   22      Q. Right.                                             22   postmarket -- let me say this.
   23      A. I mean, it could have been worse on Coumadin,      23         Have you reviewed any of the postmarket
   24   it could have been better. It could have -- where did    24   studies comparing -- indirectly comparing bleeding
   25   she -- could it -- there's a lot of different factors    25   rates associated with the various NOACs?


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    1        MS. HOFFMANN: Objection.                            1     Q. Okay. And so how are you able to say that she
    2     A. I'm aware of a bunch of meta-analysis that          2   would have bled to the same extent if she would have
    3   were done that compared a bunch of the trials            3   been taking any other NOAC?
    4   together, but to say that I've extensively reviewed      4     A. Just based on the pathophysiology. I mean, a
    5   them, at least for this, no.                             5   blood thinner is a blood thinner. I know that sounds
    6     Q. Are those of any value to you?                      6   simple, but the mechanism of action of a Xa inhibitor
    7     A. What?                                               7   is a mechanism of action of a Xa inhibitor, and if
    8     Q. To know how the bleeding rate that patients in      8   they are taking it and their blood is thin and they
    9   the real world are having on these various NOACs.        9   have a gastric ulcer that's already oozing, it's going
   10        MS. CONKLIN: Objection.                            10   to probably bleed no matter what agent they take. I
   11     A. In head-to-head trial, it would be.                11   mean, I think any reasonable clinician would agree
   12     Q. Okay. But data as to what's happening in the       12   with that.
   13   real world, is that informative to you whatsoever?      13     Q. But there is no --
   14        MS. HOFFMANN: Objection.                           14     A. I can't --
   15     A. It needs to be a -- it needs to be a good          15     Q. There is no head-to-head studies out there --
   16   study to have relevance to me as a bedside clinician.   16     A. No. No.
   17   So there are some meta-analysis that do compare all     17     Q. -- that would give you any data --
   18   these trials and -- but, again, it's a noninferiority   18     A. I agree.
   19   comparing the NOACs and DOACs to Coumadin and/or        19     Q. -- to compare what might have happened had she
   20   Coumadin and Lovenox. So that data, from 30,000 feet,   20   taken one of the other NOACs?
   21   has a bleeding rate that's noninferior, or maybe even   21     A. I agree.
   22   better, than the traditional treatment with Coumadin.   22     Q. Okay.
   23        So thinking that way, I would say if she was       23     A. Can we go off the record for a minute?
   24   appropriately treated with Coumadin, she would have     24         MS. HOFFMANN: Yeah.
   25   bled also.                                              25     Q. Yeah. Sure.


                                              Page 175                                                     Page 177
    1      Q. So because there are no peer-reviewed -- well,     1         THE WITNESS: I'll just make sure this
    2   let me say this. Because there are no unblinded          2     isn't --
    3   head-to-head clinical trials comparing the various       3         THE VIDEOGRAPHER: The time is 7:33 p.m.
    4   NOACs, are you saying that you can't compare the         4         We are off the record.
    5   bleeding risks among those various NOACs?                5         (Recess from 7:33 p.m. until 7:34 p.m.)
    6      A. I think you can compare them. I just don't         6         THE VIDEOGRAPHER: The time now is 7:34 p.m.
    7   think that's the best way to compare them. I think       7     We are back on the record.
    8   the best way to compare them would be a head-to-head     8   BY MR. VANZANDT:
    9   trial with similar patient populations for similar       9     Q. Doctor, so we do know that Ms. Mingo took
   10   diagnoses. That's the best way. And again, that's       10   Xarelto and that she suffered a GI bleed while she was
   11   not my wheelhouse, that's somebody smarter than me,     11   taking Xarelto.
   12   but meta-analysis are good, they're a good start, but   12         MS. CONKLIN: Objection.
   13   if I'm going to change the way I manage a patient       13     Q. Is that right?
   14   based on a side effect profile, I would like it to be   14     A. That's correct.
   15   based on a head-to-head between the two drugs in        15     Q. What we don't know is whether or not that
   16   similar patient populations with similar diagnoses.     16   bleed would have happened if she was taking warfarin.
   17      Q. Okay. So -- but to your knowledge, there's --     17         MS. HOFFMANN: Objection.
   18   that data doesn't exist?                                18     A. We don't know because she wasn't taking it,
   19      A. It doesn't --                                     19   but by clinical experience of doing this for 20 years
   20      Q. The head-to-head data doesn't exist?              20   tell me that she would have had a very similar outcome
   21      A. Not that I'm aware of.                            21   on any properly taken anticoagulant. Period. I don't
   22      Q. Okay. And so there is no data out there on        22   know how else to tell you that.
   23   comparative bleeding rates from direct head-to-head     23     Q. But we can't know that?
   24   trials among the various NOACs?                         24     A. No.
   25      A. That's right.                                     25     Q. Okay. And we can't know what would have


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    1   happened if she would have taken Eliquis or Pradaxa?      1   states that: "Increased risk of bleeding is a well
    2     A. We can just presume.                                 2   known and warned about side effect of Xarelto."
    3     Q. Okay. Doctor, it's just speculation to say           3         Now, there is no question that Xarelto has an
    4   that Ms. Mingo would have suffered the exact same GI      4   increased risk of bleeding, correct?
    5   bleed with the exact duration, the exact extent of the    5     A. Correct.
    6   bleed had she taken any other anticoagulant?              6     Q. Okay. And that's well understood by any
    7         MS. CONKLIN: Objection.                             7   doctor who prescribes any anticoagulant, that there is
    8         MS. HOFFMANN: Objection. He's already               8   a risk -- increased risk of bleeding; is that correct?
    9     indicated in his report that the opinions he has        9     A. Compared to placebo, correct.
   10     given are to a reasonable degree of scientific         10     Q. Okay. And there's no question that Xarelto's
   11     certainty.                                             11   label warns about a risk of bleeding; is that correct?
   12     A. So repeat your question.                            12     A. Correct.
   13     Q. It's speculation to say that Ms. Mingo would        13     Q. Okay. Is the risk of bleeding on Xarelto
   14   have -- you just said all we can do is presume, right?   14   identical to the risk of bleeding with other
   15   So it's just -- it's -- I mean, it's just speculation    15   anticoagulants?
   16   to say that Ms. Mingo would have had the exact same      16         MS. CONKLIN: Objection.
   17   bleed had she taken any other anticoagulant?             17     A. Be specific.
   18         MS. HOFFMANN: Objection.                           18     Q. Okay. What about the risk of bleeding
   19         MS. CONKLIN: Objection.                            19   compared to warfarin?
   20         MS. HOFFMANN: You can speak in probabilities.      20     A. Again, the data that I have seen, it actually
   21     A. In my opinion, this event -- I can't say it         21   has a noninferior side effect profile and outcome data
   22   would have happened to -- it may have happened to a      22   as compared to vitamin K and as compared to Coumadin.
   23   worse degree with a different agent or a lesser          23     Q. Okay.
   24   degree, but when you do this and you take care of        24     A. So, you know, I'll have to get the study out
   25   patients like we do on the front line, I have seen       25   and get your medical records out and we can go


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    1   this happen with every agent that's out there.            1   intracranial hemorrhage, retinal hemorrhage, GI bleed,
    2         So my opinion is, is that this would have           2   and every other bleed known to man, but the data, for
    3   happened independent of a Xa or a vitamin K antagonist    3   the most part, says it's noninferior or actually has
    4   if they were therapeutic. Period. I think it would        4   less bleeds than Coumadin.
    5   have happened.                                            5     Q. Okay. What about the data from ROCKET showing
    6         To what degree? Maybe it was a lot worse.           6   that there was a 61 percent increase in
    7   And maybe she would have changed her diet and her INR     7   gastrointestinal bleeds for the patients taking
    8   would have went to 40 and she would have bled a lot       8   Xarelto?
    9   more. I don't know that, but I've seen it happen with     9     A. And I reviewed ROCKET, but the lady had a DVT,
   10   every agent and the unmasking is the clinically          10   so --
   11   relevant part.                                           11     Q. Okay. Right. But you cited all ROCKET
   12      Q. So, I mean, Xarelto, by unmasking the bleed,       12   studies in your report.
   13   it made her bleed clinically relevant?                   13         MS. HOFFMANN: We've been through that,
   14         MS. CONKLIN: Objection.                            14     Counsel.
   15         MS. HOFFMANN: Objection.                           15     A. And I can talk about AFib if you want, too,
   16      A. And I've said that from the beginning.             16   but --
   17      Q. What data or medical literature do you base        17     Q. Right.
   18   your opinion that she would have bled on any             18     A. -- to me it's the -- this lady had a DVT, and
   19   anticoagulant? What --                                   19   the risk of bleeding compared to Coumadin is
   20      A. Twenty years of experience.                        20   noninferior or better with that agent.
   21      Q. Okay. But I'm -- specific -- is there any          21     Q. So a patient taking Xarelto for AFib, which is
   22   specific data or medical -- peer-reviewed medical        22   what was studied in the ROCKET study, would have taken
   23   literature that you rely on for that opinion?            23   20 milligrams daily of Xarelto, right?
   24      A. Nope.                                              24     A. Yeah.
   25      Q. Okay. Moving to Opinion E on your report, it       25     Q. Okay. And Ms. Mingo was taking 30 milligrams


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    1   daily of Xarelto; is that right?                          1   of increased GI bleeds?
    2     A. Fifteen twice a day. Right?                          2         MS. CONKLIN: Objection.
    3     Q. Right. That's a total of 30, right?                  3     A. I was -- I was aware of a higher GI bleeding
    4     A. Uh-huh.                                              4   rate, but I don't have the study in front of me.
    5     Q. Okay. And so the ROCKET study, with patients         5     Q. And are you aware that the US population in
    6   taking 20 milligrams of Xarelto daily, showed a 61        6   the ROCKET study, the patients who were taking just 20
    7   percent increase in GI bleeds compared to the patients    7   milligrams a day, showed a 50 percent increase in
    8   taking warfarin?                                          8   major bleeding events compared to patients taking
    9         MS. CONKLIN: Objection.                             9   warfarin?
   10         MS. HOFFMANN: Objection.                           10     A. Not aware.
   11     Q. Is that correct?                                    11         MS. HOFFMANN: Objection.
   12         MS. HOFFMANN: If you want to show us that. I       12         MS. CONKLIN: Objection.
   13     don't want him testifying from memory.                 13     Q. You're not aware of that?
   14     A. I mean, I agree. We can get the studies out         14     A. No.
   15   and we'll break them down. These are different           15     Q. Okay. Were you aware that as of September
   16   trials, so different patient populations. They           16   2015, that Xarelto's label now includes the US
   17   weren't the same patients. I mean, they had different    17   subpopulation data from ROCKET?
   18   agents, they had different CHAD scores. They are         18         MS. HOFFMANN: Objection.
   19   different. So you're comparing -- you're comparing       19     A. No.
   20   apples to oranges in a way. That's different             20     Q. Okay. Has anyone from Janssen ever told you
   21   diagnoses. It's a different age, different patient       21   that the US population in ROCKET had a 50 percent
   22   population, different comorbidities. I mean, they are    22   increase in major bleeding compared to warfarin?
   23   different patient populations.                           23         MS. HOFFMANN: Objection.
   24         So I don't think you can extrapolate that to       24     A. I can't say yes to none of that, no.
   25   compare it to Ms. Mingo's case. And again, I'm not       25     Q. Had you ever heard that before tonight?


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    1   presenting myself as an expert in the bleeding ratio.     1    A. No.
    2   I can just tell you from a boot-on-the-ground             2    Q. Okay. Likewise, had you ever heard that the
    3   hospitalist's perspective, that we feel very confident    3   US subpopulation data from ROCKET showed a 61 percent
    4   that the bleeding in these agents, all the Xa's, is       4   increase in blood transfusions for patients taking
    5   pretty consistent or better than warfarin. That's         5   Xarelto versus those taking warfarin?
    6   what it is. I mean, you can continue to beat on me        6        MS. HOFFMANN: Objection.
    7   about the AFib trial. The lady had a DVT.                 7        MS. CONKLIN: Objection.
    8     Q. Well, I mean, preparing for your deposition,         8    A. I'm aware of what the study showed but can I
    9   you know, I reviewed the articles that you cited that     9   quote the numbers that you're saying? No.
   10   you relied on, so I thought we were going to talk        10    Q. Have you reviewed any of the post -- well, let
   11   about ROCKET because that's the only articles you        11   me say this.
   12   cited that you relied on.                                12        Have you reviewed any of the peer-reviewed
   13     A. I reviewed them but that's not -- that's not        13   medical articles showing from postmarket studies that
   14   the case. I mean, this lady had a DVT. I mean, I         14   Eliquis is associated with statistically reduced risks
   15   think I needed to be knowledgeable of the indications    15   of major or clinically relevant nonmajor bleeding
   16   for Xarelto or the other Xa inhibitors, but I'm not      16   compared with Xarelto and the other NOACs?
   17   here to profess to be a ROCKET expert because I've       17        MS. HOFFMANN: Objection.
   18   read them.                                               18        MS. CONKLIN: Objection.
   19     Q. Okay. Before tonight were you aware that            19    A. I'm aware in the meta-analysis of some of the
   20   there was a 61 percent increase of GI bleeds in the      20   studies that Eliquis has a decreased rate of bleeding
   21   ROCKET study?                                            21   in those patients, some patient populations, but can I
   22     A. By looking at the -- you know, looking at           22   quote them? No.
   23   ROCKET, I'm aware that -- in the ROCKET trial what the   23    Q. So since Ms. Mingo suffered a GI bleed while
   24   data was, but I can't quote it.                          24   on Xarelto -- well, I mean, that's a loaded question.
   25     Q. But, I mean, you are aware of the 61 percent        25        Ms. Mingo suffered from a GI bleed in February


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    1   of 2015, correct?                                         1     Q. Okay. Xarelto doesn't get rid of DVTs, does
    2     A. Yes.                                                 2   it?
    3     Q. Okay. And she was taking Xarelto at that             3     A. That's correct.
    4   time, correct?                                            4     Q. The actual clot?
    5     A. Yes.                                                 5     A. It's not a clot buster agent, that's correct.
    6     Q. Okay. So since she developed that GI bleed,          6     Q. The body has natural processes that takes care
    7   is she a candidate for anticoagulation treatment in       7   of that?
    8   the future?                                               8     A. Or there's different drugs that you can -- TPA
    9     A. Sure.                                                9   is a clot buster, but yes. So the mechanism of action
   10     Q. Even though she's had a bleed while taking          10   is not for resolution or dissolving of the clot. It's
   11   anticoagulant?                                           11   for stopping the propagation of that clot.
   12     A. Sure.                                               12     Q. Okay. And so, I mean, it's not your opinion
   13     Q. Have you calculated Ms. Mingo's HAS-BLED            13   that Xarelto busted her clot up and --
   14   score?                                                   14     A. No.
   15        MS. HOFFMANN: Objection.                            15     Q. -- made the clot go away?
   16        MS. CONKLIN: Objection.                             16     A. Sorry. No.
   17     A. No, but I can tell you that the                     17     Q. Okay.
   18   gastroenterologist actually recommended that she go      18         MR. VANZANDT: Let's take a quick break and
   19   back on the Xarelto after he fixed the gastric ulcer,    19     let me look over my notes.
   20   and if her DVT would have been there and you would not   20         MS. HOFFMANN: Good.
   21   have treated it, he'd have been sued for a pulmonary     21         THE VIDEOGRAPHER: The time is 7:47 p.m. We
   22   embolism.                                                22     are off the record.
   23        So the fact that you've had a GI bleed does         23         (Recess from 7:47 p.m. until 7:53 p.m.)
   24   not preclude you from taking anticoagulation in the      24         THE VIDEOGRAPHER: The time now is 7:53 p.m.
   25   future. I mean, you may change agents, you may change    25     We are back on the record.


                                              Page 187                                                      Page 189
    1   the dose, you may -- that's ludicrous to say because      1   BY MR. VANZANDT:
    2   you have had a GI bleed and eight years later you have    2      Q. Doctor, just a few more questions for you.
    3   a PE, you can't treat her. I mean --                      3          As you sit here tonight, what is your
    4     Q. Well, that's a factor that's considered. I           4   understanding as to what the EINSTEIN DVT trial
    5   mean, if someone bleeds while on an anticoagulant, I      5   showed, the comparative bleeding rates between Xarelto
    6   mean, is that something that's considered in              6   and warfarin?
    7   calculating the HAS-BLED score for a patient --           7      A. Again, it's a noninferiority trial and I can
    8     A. Sure, it is, but it's about --                       8   look at it and quote the numbers but I didn't think
    9     Q. -- as to whether they can be anticoagulated          9   there was any statistically significant difference in
   10   again?                                                   10   the bleeding rate between those two drugs.
   11     A. It's about that patient at that time and not        11      Q. And that's specifically from the EINSTEIN DVT
   12   opposed -- and not about what happens eight, 10, 12      12   trial, correct?
   13   months later.                                            13      A. That's from my recollection of the study.
   14        I mean, I'm not familiar with any data that         14      Q. Okay. Have you prepared any exhibits in this
   15   says a person who has had a GI bleed or, you know,       15   case that you plan to present at trial?
   16   bleeding in their eye because they have diabetic         16      A. No.
   17   retinopathy, and then has a subsequent event in their    17      Q. Obviously, you prepared your report, right?
   18   coagulation cascade, that they need to be treated by     18      A. Right.
   19   the agents. I mean, that's -- we do it all the time.     19      Q. Have you prepared any other exhibits or
   20     Q. You mentioned earlier that on ultrasound after      20   demonstratives as of today that you plan to use at
   21   her bleed, that there was no DVT seen in her leg         21   trial?
   22   anymore; is that correct?                                22      A. No, sir.
   23     A. On the second one.                                  23      Q. Okay. We talked a lot at the beginning of the
   24     Q. On the second one. Yes, sir.                        24   deposition and at various points about the documents
   25     A. That's what the record indicated.                   25   that you've indicated on Exhibit B of your report. As


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    1   we've talked tonight about this case, any other           1              CERTIFICATE
    2   documents that have come to your mind that you will       2        I, SUSAN D. WASILEWSKI, Registered
    3   review or rely on to support your opinions in this        3   Professional Reporter, Certified Realtime Reporter,
    4   case?                                                     4   Certified Realtime Captioner,do hereby
    5         MS. HOFFMANN: That he will or that he has?          5   certify that, pursuant to notice, the deposition of
    6     I'm sorry. I missed it.                                 6   RANDY ROTH, M.D., was duly taken on Thursday,
    7         MR. VANZANDT: That he will.                         7   February 16, 2017, at 3:58 p.m. before me.
    8     A. I think if I -- I guess if I look into more          8        The said RANDY ROTH, M.D., was duly sworn by
    9   information as it relates to the care that I provide      9   me according to law to tell the truth, the whole truth
   10   to the patients that I see, I guess I will and I can     10   and nothing but the truth and thereupon did testify as
   11   let y'all know what that is, but I don't plan on doing   11   set forth in the above transcript of testimony. The
   12   a whole lot of other extraneous research as it           12   testimony was taken down stenographically by me. I do
   13   pertains to this case.                                   13   further certify that the above deposition is full,
   14     Q. Are there any specific publications or studies      14   complete, and a true record of all the testimony given
   15   or data that comes -- that has -- that's come to your    15   by the said witness, and that a review of the
   16   mind tonight that you plan to review before trial?       16   transcript was requested.
   17         MS. HOFFMANN: For this case?                       17
   18         MR. VANZANDT: For this case.                       18   ______________________________________________________
   19         MS. HOFFMANN: Other than what he does in his       19   Susan D. Wasilewski, RPR, CRR, CCP, CMRS, FPR, CCR(NJ)
   20     normal practice?                                       20   (The foregoing certification of this transcript does
   21         MR. VANZANDT: Yes.                                 21   not apply to any reproduction of the same by any
   22     A. No.                                                 22   means, unless under the direct control and/or
   23         MS. HOFFMANN: Sorry.                               23   supervision of the certifying reporter.)
   24     A. I mean, I'm telling you I am doing a talk on        24
   25   NOACs and DOACs that I will probably look into some      25


                                              Page 191                                                                      Page 193
    1   things, but it will be for that presentation on March     1                INSTRUCTIONS TO WITNESS
    2   the 1st -- April the 1st, I'm sorry, and not for this.    2
    3        MR. VANZANDT: Okay. All right, Doctor.               3
    4     That's all the questions I have for you.                4          Please read your deposition over carefully
    5        THE WITNESS: Thank you.                              5     and make any necessary corrections. You should state
    6        MR. VANZANDT: Thank you very much for your           6     the reason in the appropriate space on the errata
    7     time tonight.                                           7     sheet for any corrections that are made.
    8        THE WITNESS: Thank you. Thank you.                   8
    9        THE VIDEOGRAPHER: Any questions?                     9          After doing so, please sign the errata sheet
   10        MS. HOFFMANN: No.                                   10     and date it. It will be attached to your deposition.
   11        THE VIDEOGRAPHER: The time now is 7:56 p.m.         11
   12     Today's deposition of Randy Roth consisting of four    12          It is imperative that you return the original
   13     disks is now concluded.                                13     errata sheet to the deposing attorney within thirty
   14        (Whereupon, the deposition concluded at             14     (30) days of receipt of the deposition transcript by
   15   7:56 p.m.)                                               15     you. If you fail to do so, the deposition transcript
   16                                                            16     may be deemed to be accurate and may be used in court.
   17                                                            17
   18                                                            18
   19                                                            19
   20                                                            20
   21                                                            21
   22                                                            22
   23                                                            23
   24                                                            24
   25                                                            25


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    1               ------                                                1              LAWYER'S NOTES
    2               ERRATA                                                2   PAGE LINE
    3               ------                                                3   _____ _____ _____________________________________
    4   PAGE LINE CHANGE                                                  4   _____ _____ _____________________________________
    5   ____ ____ _________________________________________               5   _____ _____ _____________________________________
    6   REASON: _____________________________________________             6   _____ _____ _____________________________________
    7   ____ ____ _________________________________________               7   _____ _____ _____________________________________
    8   REASON: _____________________________________________             8   _____ _____ _____________________________________
    9   ____ ____ _________________________________________               9   _____ _____ _____________________________________
   10   REASON: _____________________________________________            10   _____ _____ _____________________________________
   11   ____ ____ _________________________________________              11   _____ _____ _____________________________________
   12   REASON: _____________________________________________            12   _____ _____ _____________________________________
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   14   REASON: _____________________________________________            14   _____ _____ _____________________________________
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   23   ____ ____ _________________________________________              23   _____ _____ _____________________________________
   24   REASON: _____________________________________________            24   _____ _____ _____________________________________
   25                                                                    25


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    1           ACKNOWLEDGMENT OF DEPONENT
    2
    3        I, ______________________________, do hereby
    4   acknowledge that I have read the foregoing pages, 1
    5   through 195, and that the same is a correct
    6   transcription of the answers given by me to the
    7   questions therein propounded, except for the
    8   corrections or changes in form or substance, if any,
    9   noted in the attached Errata Sheet.
   10
   11
   12   ________________________________              ________________
   13   RANDY ROTH, M.D.                               DATE
   14
   15
   16
   17
   18   Subscribed and sworn to before me this
   19   ____ day of ______________, 20___.
   20   My Commission expires: _________________
   21
   22   ________________________________________
   23   Notary Public
   24
   25



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